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    1   L. LIN WOOD, P.C.
    2   L. Lin Wood (admitted pro hac vice)
        lwood@linwoodlaw.com
    3   Nicole J. Wade (admitted pro hac vice)
    4   nwade@linwoodlaw.com
        Jonathan D. Grunberg (admitted pro hac vice)
    5   jgrunberg@linwoodlaw.com
    6   G. Taylor Wilson (admitted pro hac vice)
        twilson@linwoodlaw.com
    7   1180 West Peachtree Street, Ste. 2040
    8   Atlanta, Georgia 30309
        404-891-1402; 404-506-9111 (fax)
    9

   10   WEISBART SPRINGER HAYES, LLP              CHATHAM LAW GROUP
        Matt C. Wood (admitted pro hac vice)      Robert Christopher Chatham
   11   mwood@wshllp.com                          chris@chathamfirm.com
   12   212 Lavaca Street, Ste. 200               CA State Bar No. 240972
        Austin, TX 78701                          3109 W. Temple St.
   13   512-652-5780                              Los Angeles, CA 90026
   14   512-682-2074 (fax)                        213-277-1800
   15   Attorneys for Plaintiff VERNON UNSWORTH
   16
                            UNITED STATES DISTRICT COURT
   17                      CENTRAL DISTRICT OF CALIFORNIA
   18
        VERNON UNSWORTH,                          Case No. 2:18-cv-08048-SVW (JC)
   19

   20        Plaintiff,
                                                  PLAINTIFF’S STATEMENT OF
   21
        v.                                        GENUINE DISPUTES IN
   22                                             OPPOSITION TO DEFENDANT’S
        ELON MUSK,                                MOTION FOR SUMMARY
   23
                                                  JUDGMENT
   24        Defendant.
                                                  Hearing Date:      October 28, 2019
   25
                                                  Time:              1:30 PM
   26                                             Place:             10A
                                                  Complaint Filed:   Sept. 17, 2018
   27
                                                  Trial Date:        Dec. 3, 2019
   28
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   24

   25

   26
   27

   28

                                                                         i
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    1            Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56-2, Plaintiff
    2   Vernon Unsworth respectfully submits this Statement of Genuine Disputes in
    3   Opposition to Defendant’s Motion for Summary Judgment, inclusive of his response
    4   to Defendant’s Statement of Uncontroverted Facts and Plaintiff’s Statement of
    5   Additional Material Facts Precluding Summary Judgment1:
    6                          PLAINTIFF’S STATEMENT OF ADDITIONAL
    7                 MATERIAL FACTS PRECLUDING SUMMARY JUDGMENT
    8

    9           Plaintiff’s Statement of Additional Facts            Supporting Evidence
   10                     A.     Musk’s False and Defamatory Accusations
   11
               1. On July 15, 2018, Musk tweeted as follows:        Wilson Decl. Ex. 14.
   12
               “Never saw this British expat guy who lives
   13
            in Thailand (sus) at any point when we were in
   14
            the caves. Only people in sight were the Thai
   15
            navy/army guys, who were great. Thai navy seals
   16
            escorted us in – total opposite of wanting us to
   17
            leave.
   18
               Water level was actually very low & still (not
   19
            flowing) – you could literally have swum to Cave
   20
            5 with no gear, which is obv how the kids got in.
   21
            If not true, then I challenge this dude to show final
   22
            rescue video. Huge credit to pump & generate
   23

   24
        1
          Plaintiff’s Response to Defendant’s Statement of Uncontroverted Facts begins on
        page 73. For organizational purposes and due to the amount of information
   25   contained in certain of Unsworth’s individual responses to Musk’s Statement of
   26   Uncontroverted Facts, Unsworth submits this Statement of Additional Material
        Facts to assist the Court’s orderly review of evidentiary materials. This was
   27   necessitated by Musk’s principal reliance on vague, conclusory declarations rather
   28   than the actual factual record developed in this case through deposition and
        document discovery, which declarations contradict the factual record significantly.
                                                    1
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    1
        team. Unsung heroes here.
    2
           You know what, don’t bother showing the
    3
        video. We will make one of the mini-sub/pod
    4
        going all the way to Cave 5 no problemo. Sorry
    5
        pedo guy, you really did ask for it.”
    6
           (Emphasis added)
    7
           2. On July 15, 2018, another Twitter user          Wilson Decl. Ex. 15.
    8
        tweeted at Musk as follows:
    9
           “Oh, sorry, he’s calling the guy who found the
   10
        children a pedo. Real classy, @elonmusk.”
   11
           (Emphasis added)
   12
           3. On July 15, 2018, Musk replied to that          Wilson Decl. Ex. 15.
   13
        Twitter user’s tweet, stating as follows:
   14
           “Bet ya a signed dollar it’s true”
   15
           4. On July 17, 2018, Musk received an e-mail       Wilson Decl. Ex. 16; id.
   16
        from Sam Teller, his then “chief of staff,”           Ex. 1 (Musk Dep. 80:1-
   17
        recommending that Musk deliver an apology e-          91:24).
   18
        mail to his company and employees based upon
   19
        the feedback of several “trusted” and “respected”
   20
        members of Musk’s team, the beginning of which
   21
        stated as follows:
   22
           “Have solicited feedback on these points …
   23
        from Gwynne, Shallman, Saltsman, Todd, Sarah,
   24
        Deepak, Antonio, Anthony Romero, Davis, Elissa
   25
        and Omead – all very positive and agree that this,
   26
        combined with a break from Twitter, sets you back
   27
        on the right path internally and externally. You of
   28

                                                    2
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    1
        course need to put it in your own words. Just need
    2
        an honest acknowledgment of the recent past
    3
        combined with a genuine apology and inspiring
    4
        look to the future. Everyone will love and respect
    5
        you more for openly admitting the mistake and
    6
        showing how much you care about your
    7
        employees and the company missions.
    8
           ##
    9
           I understand that my recent behavior has
   10
        probably embarrassed you and I’m sorry.
   11
           I apologize to Vernon Unsworth and am
   12
        reaching out to him to personally convey this, as
   13
        well as my deep appreciation for his work in
   14
        saving the kids. …”
   15
           5. Recognizing that there were internal            Wilson Decl. Ex. 16; id.
   16
        concerns about the stock price following his July     Ex. 1 (Musk Dep. 93:13-
   17
        15 tweets, Musk did not follow the advice to issue    94:4 (“Certainly there
   18
        an internal apology, stating:                         were, I think, many
   19
           “After sleeping on this, I’m not happy about the   expressions of concern”
   20
        suggested approach. It would have been                and “the nature of the
   21
        particularly foolish and craven of my to do it last   concerns” was the “share
   22
        night, right after a share drop, as my apology        price”).)
   23
        would simply have been dismissed as a
   24
        disingenuous and cowardly attempt to restore the
   25
        stock price.”
   26
           6. On or about the early morning of July 18,       Wilson Decl. Ex. 17.
   27
        2018, Musk issued the following tweets:
   28

                                                   3
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    1
           “As this well-written article suggests, my words
    2
        were spoken in anger after Unsworth said several
    3
        untruths & suggested I engage in a sexual act with
    4
        the mini-sub, which had been built as an act of
    5
        kindness & according to the specifications of the
    6
        dive team leader.
    7
           Nonetheless, his actions against me do not
    8
        justify my actions against him, and for that I
    9
        apologize to Unsworth and to the companies I
   10
        represent as leader. The fault is mine and mine
   11
        alone.”
   12
           7. On or about the morning of August 28,           Wilson Decl. Ex. 18.
   13
        2018, another Twitter user tweeted at Musk,
   14
        stating:
   15
           “One other thing, elon. your dedication to facts
   16
        and truth would have been wonderful if applied to
   17
        that time when you called someone a pedo.”
   18
           (Emphasis added)
   19
           8. At 9:41 am on August 28, 2018, Musk             Wilson Decl. Ex. 18.
   20
        replied to that Twitter user’s tweet, stating as
   21
        follows:
   22
           “You don’t think it’s strange he hasn’t sued
   23
        me? He was offered free legal services. And you
   24
        call yourself @yoda…”
   25
           9. On August 29, 2018, Mr. Ryan Mac at             Wilson Decl. Ex. 19.
   26
        BuzzFeed News e-mailed Musk stating “We’re
   27
        reporting a story out about you receiving a letter
   28

                                                   4
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    1
        from a lawyer representing British diver Vernon
    2
        Unsworth,” and requesting comment “[g]iven the
    3
        twitter conversation yesterday.”
    4
           10. On August 29, 2018, Musk sent to Mr. Mac       Wilson Decl. Ex. 19.
    5
        a response e-mail stating as follows:
    6
           “Have you actually done any research at all?
    7
        For example, you incorrectly state that he is a
    8
        diver, which shows that you know essentially
    9
        nothing and have not even bothered to research
   10
        basic facts.”
   11
           11. On August 29-30, 2018, Mr. Mac                 Wilson Decl. Ex. 19.
   12
        responded, asking “But do you have any comment
   13
        on the letter your [sic] received?” and followed up
   14
        with another e-mail stating “Hey Elon, just wanted
   15
        to make sure I did my due diligence to research
   16
        basic facts and follow up here.”
   17
           12. On August 30, 2018, at 6:43 pm, Musk           Wilson Decl. Ex. 19.
   18
        responded to Mr. Mac as follows:
   19
           “Off the record
   20
           I suggest that you call people you know in
   21
        Thailand, find out what’s really going on and
   22
        stop defending child rapists, you fucking
   23
        asshole. He’s an old, single white guy from
   24
        England who’s been traveling to or living in
   25
        Thailand for 30 to 40 years, mostly Pattaya Beach,
   26
        until moving to Chiang Rai for a child bride who
   27
        was about 12 years old at the time. There’s only
   28

                                                  5
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    1
        one reason people go to Pattaya Beach. It isn’t
    2
        where you’d go for caves, but it is where you’d go
    3
        for something else. Chiang Rai is renowned for
    4
        child sex-trafficking.
    5
           He may claim to know how to cave dive, but he
    6
        wasn’t on the cave dive rescue team and most of
    7
        the actual dive team refused to hand out with him.
    8
        I wonder why…
    9
           https://www.google.com/search?q=chiang+rai+
   10
        child+trafficking&ie=UTF-8&oe=UTF-8&hl=en-
   11
        us&client=safari
   12
           As for this alleged threat of a lawsuit, which
   13
        magically appeared when I raised the issue
   14
        (nothing was sent or raised beforehand), I fucking
   15
        hope he sues me.”
   16
           (Emphasis added)
   17
           13. As Musk has himself acknowledged under           Wilson Decl. Ex. 3
   18
        oath, all of his claims regarding Unsworth – that       (Unsworth Dep. 69:2-8,
   19
        he is a pedophile, that he is a child rapist, that he   70:3-4, 75:18-76:3,
   20
        married a 12-year-old child bride, that he is an        77:10-24, 262:24-263:4);
   21
        English expat who has been traveling to or living       id. Ex. 20 (Unsworth
   22
        in Thailand for 30-40 years, and that he has ever       Rog. No. 13); id. Ex. 5
   23
        been to Pattaya, are unequivocally false.               (Tik Dep. 7:13-17, 10:5-
   24
           Unsworth met his significant other, Tik, in          25, 11:22-12:19, 32:4-
   25
        London in February 2011 by chance at a coffee           15); id. Ex. 4 (Vanessa
   26
        shop. Tik was 32 years old at the time.                 Dep. 32:14-21); id. Ex. 1
   27
        Unsworth’s first trip to Thailand was in July 2011,     (Musk Dep. 62:17-20
   28

                                                    6
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    1
        and he has never been to Pattaya Beach.               (“these things
    2
                                                              subsequently turned out
    3
           That being the case, Musk also described the       not to be correct”),
    4
        result as being a “tragic outcome,” and when asked    192:15-19 (“That is
    5
        was is “more heinous than an adult who would          correct” that the
    6
        take sexual advantage of a minor,” Musk               “investigator from all
    7
        responded “murdering people … serial killers,         appearances now you
    8
        cannibals, yeah, that kind of thing.”                 know was probably a con
    9
                                                              man that took your
   10
                                                              money”), 254:12-22
   11
                                                              (“the investigator was not
   12
                                                              being truthful”), 253:9-
   13
                                                              14, 104:4-105:3).)
   14
                         B.     Musk’s Negligence and Actual Malice
   15
           14. As of the time Musk tweeted his “sus,”         Wilson Decl. Ex. 1
   16
        “pedo guy,” and “bet ya a signed dollar it’s true,”   (Musk Dep. 24:10-25:21,
   17
        tweets on July 15, 2018, Musk admitted he knew        42:4-43:8, 47:18-49:17,
   18
        “essentially nothing” about Unsworth other than       184:19-185:7, 219:25-
   19
        having performed a google search of him and           220:15).
   20
        Chiang Rai, which he discovered via Google was
   21
        the sex trafficking capital of the world.
   22
           • Q. You had not done any basic research on
   23
        Vernon Unsworth on or before July the 15th, other
   24
        than to google his name, right?
   25
           • A. Yes. Oh, yeah. …
   26
           • Q. Yeah. You essentially knew nothing
   27
        about him, right?
   28

                                                    7
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    1
            • A. Yes.
    2
                                    ***
    3
            • Q. What did you learn about Mr. Unsworth
    4
         from the time you first saw his name, either on
    5
         Google alert on Twitter –
    6
            • A. Sure.
    7
            • Q. – and the time that you started tweeting
    8
         about him on July the 15th?
    9
            • I literally just saw this article…. But I did
   10
         not really know much of anything of this guy
   11
         except that he had gone on TV with a major news
   12
         organization, and had been – had attacked me for
   13
         no reason … and you know, to be totally frank,
   14
         looked sort of like a pedo guy, you know. And
   15
         then I was like – googled him, oh, he was like,
   16
         lives in Thailand. Okay, that’s pretty suspicious.
   17
         English expat, doesn’t seem to be – have been on
   18
         the dive team, in a very dodgy part of the world.
   19
                                    ***
   20
            • A. …So this is one extra thing that I
   21
         remember was just googling Chiang Rai and
   22
         reading the Straits Times article about how Chiang
   23
         Rai, which is where Mr. Unsworth is from, or was
   24
         still living, or near there, and how it being a child
   25
         sex trafficking capital of the world.
   26
            • Q. When did you do that research?
   27
            • A. I would not call it research. It was a
   28

                                                     8
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    1
         google –
    2
            • Q. So when do you the search?
    3
            • A. It was shortly before the tweet. I typed
    4
         in his name in Google and his name came up – not
    5
         his name. I typed in Chiang Rai I should say.
    6
                                    ***
    7
            • Q. So when you went – when it was
    8
         brought [to] your attention that Mr. Unsworth had
    9
         given this interview, and as you perceived it at
   10
         least, made these rude attacks and told lies about
   11
         you, you didn’t know who in the world he was, did
   12
         you?
   13
            • A. No. I thought – I thought this – I did not
   14
         know who he was, so I searched – did the search,
   15
         Google search, and that’s the – and from what I
   16
         could tell this guy, at least at the time, it seemed
   17
         like he didn’t have anything to do with the rescue
   18
         and had not been on the dive team where they
   19
         risked their life. And so my impression was that
   20
         he was just some – at the time, just some random
   21
         expat that the media had found to interview. And
   22
         so here was some random, some creepy expat guy
   23
         living in Thailand attacking me for no reason.
   24
            • Q. And that was the sole – that was the full
   25
         extent of your knowledge about Vernon Unsworth
   26
         when you tweeted about him on the 15th of July,
   27
         true?
   28

                                                     9
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    1
            • A. Yes.
    2
            • Q. Basically what you had learned on
    3
         Google?
    4
            • A. Yeah, this is all in the space of maybe an
    5
         hour or so; maybe an hour. Less than an hour.
    6
                                  ***
    7
            • Q. You heard and saw the interview. You
    8
         did some searching on Google for Vernon
    9
         Unsworth and Chiang Rai, and then you tweeted
   10
         about him, including referring to him as a “pedo
   11
         guy,” true?
   12
            • A. Yes.
   13
            • Q. And that was the sum total of your
   14
         knowledge of Vernon Unsworth at the time you
   15
         published those tweets on July 15, true?
   16
            • A. To the best of my recollection, yes.
   17
                                  ***
   18
            • Q. So you didn’t have any information
   19
         about who he was, what he had done, if anything.
   20
         You didn’t look into who Vernon Unsworth was
   21
         except to take a look at Google search, right?
   22
            • A. Yes.
   23

   24
            15. Musk similarly expressly acknowledged that    Wilson Decl. Ex. 1
   25
         when he e-mailed Mr. Mac on August 30, 2018, he      (Musk Dep. 173:23-
   26
         was subjectively unaware as to whether his           175:16).
   27
         statements were true or false:
   28

                                                    10
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    1
            • Q. Why did you want the information that
    2
         you sent to Mr. Mac to be off the record?
    3
            • A. Because I was not sure that it was
    4
         accurate. …
    5
            • Q. So but at the time you wrote this
    6
         information to Mr. Mac, you tell me you didn’t
    7
         know whether it was true or not, right?
    8
            • A. Yes. I specifically said try to find out if
    9
         this is true. …
   10
            • Q. But sir, the point is, you didn’t know
   11
         whether the investigator’s information was true or
   12
         not or had been verified, right? Isn’t that right?
   13
            • A. That’s right. That’s why I said “Please
   14
         go and investigate.
   15
            16. All references by Howard and Birchall to        Wilson Decl. Ex. 2
   16
         Unsworth’s “wife” in Thailand referred to Tik.         (Birchall Dep. 99:16-19);
   17
                                                                id. Ex. 21; id. Ex. 22; id.
   18
                                                                Ex. 23; id. Ex. 24.
   19
            17. Musk testified at his deposition that the       Wilson Decl. Ex. 1
   20
         “investigator [Howard] who merely was, in              (Musk Dep. 198:11-23).
   21
         retrospect, just taking us for a ride … claimed that
   22
         Unsworth had a 12-year-old bride. … That is my
   23
         recollection of what Jared [Birchall] told me, yes.”
   24
            18. Birchall, the long-time manager of Musk’s       Wilson Decl. Ex. 2
   25
         family office, Excession, LLC, expressly refuted       (Birchall Dep. 242:19-
   26
         Musk’s above sworn testimony, stating                  243:17, 248:23-249:16).
   27
         unequivocally that Birchall never told Musk that
   28

                                                   11
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    1
         Unsworth had a child bride and that Howard never
    2
         told Birchall that either, and that Howard was clear
    3
         that the earliest Unsworth may have married Tik
    4
         was at age 18 or 19:
    5
            • Q. So you’re telling me that Mr. Howard
    6
         told you they were married when she was how old?
    7
            • A. 18 or 19.
    8
            • Q. Not that they met when she was 18 or
    9
         19, but that they were married when she was 18 or
   10
         19, true?
   11
            • A. That’s correct. True.
   12
                                  ***
   13
            • Q. Nobody ever told him [Musk] – not you,
   14
         not Mr. Howard, nobody – that in fact Tik and
   15
         Vernon were married when she was 12 years old,
   16
         true?
   17
            • A. That is true.
   18
                                  ***
   19
            • Q. And you didn’t communicate that
   20
         Vernon Unsworth married Tik when she was 12
   21
         years old, did you?
   22
            • A. No.
   23
            • Q. And Mr. Howard never communicated
   24
         to you at any time, that in fact, Tik and Vernon
   25
         were married when she was 12 years old, right?
   26
            • A. Correct.
   27
            19. Birchall acknowledged that “[s]omeone           Wilson Decl. Ex. 2
   28

                                                  12
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    1
         being married at 18 does not suggest they are a          (Birchall Dep. 246:9-14,
    2
         child rapist in and of itself, correct” and that it is   150:4-17).
    3
         true “if you first meet … at age 18 or 19, it is
    4
         impossible that you got married seven years earlier
    5
         than when you met.”
    6
            20. Birchall acknowledged that it is “true” “if       Wilson Decl. Ex. 2
    7
         you go back and assume that [Tik] was seven years        (Birchall Dep. 246:15-
    8
         – that they had met seven years before they were         23).
    9
         married at age 18 or 19, that would be evidence
   10
         that they met each other – met each other when
   11
         she was 11 or 12 years old,” but that to “meet
   12
         someone is not to have sexual intercourse with
   13
         them.” (Emphasis added)
   14
            21. Birchall and Musk also each confirmed             Wilson Decl. Ex. 1
   15
         under oath that nobody at any time told Musk that        (Musk Dep. 176:4-14);
   16
         Unsworth is a “child rapist”:                            id. Ex. 2 (Birchall Dep.
   17
            Birchall testified as follows:                        147:2-9, 238:12-239:5,
   18
            • Q. You didn’t communicate to Elon Musk              248:23-249:16).
   19
         that Vernon Unsworth’s a child rapist, right?
   20
            • A. That’s right.
   21
            • Q. And you didn’t communicate to Elon
   22
         Musk that Mr. Howard said that Vernon was a
   23
         child rapist, did you?
   24
            • A. No, I did not communicate that.
   25
                                     ***
   26
            • Q. You’d never communicated to Elon
   27
         Musk that Mr. Unsworth was a child rapist, true?
   28

                                                      13
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    1
            • A. Never used that term.
    2
            • Q. So the answer is “Yes. True, Mr.
    3
         Wood?”
    4
            • A. Yes.
    5
                                   ***
    6
            • Q. Which meant it had to go to Elon Musk
    7
         from you, right?
    8
            • A. Yes.
    9
            • Q. Did you ever refer to Mr. Unsworth as a
   10
         child rapist?
   11
            • A. I have never used that term.
   12
            • Q. Neither did Mr. Howard, true?
   13
            • A. True.
   14

   15
            Musk testified as follows:
   16
            • Q. Who told you that Mr. Unsworth was a
   17
         child rapist? Did Jared [Birchall] tell you that?
   18
            • A. No. I didn’t say that he [Mr. Unsworth]
   19
         was. I think I said we need to find out if he is.
   20
            • Q. Why did you use the term “child rapist”?
   21
         Who had used that term with you that made you
   22
         repeat it in your email to Mr. Mac?
   23
            • A. Well, I think anyone who is – if
   24
         somebody is sleeping with someone who is 12
   25
         years old, I would say that person is a child rapist.
   26
            22. In fact, on August 24, 2018, Howard              Wilson Decl. Ex. 21.
   27
         reported via written e-mail that “The Target
   28

                                                    14
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    1
         [Unsworth] and Woranun [Tik] have been married
    2
         for 7 years, 28yrs gap between them both,”
    3
         indicating that Unsworth and Tik must have been
    4
         married in 2011.
    5
            23. On August 27, 2018, Birchall demonstrated      Wilson Decl. Ex. 22.
    6
         via written e-mail his and Musk’s subjective belief
    7
         that Unsworth and Tik married in 2011, stating
    8
         “When did he marry his wife in Thailand?
    9
         2011?” (Emphasis added).
   10
            24. On August 27, 2018, Howard answered            Wilson Decl. Ex. 22;
   11
         Birchall’s above e-mail in writing and reported       compare id. Ex. 21.
   12
         that he “kn[e]w as fact” that Unsworth met Tik in
   13
         2008 and was “in the process of verifying” that Tik
   14
         is 30 years old and that Unsworth met her when
   15
         she was 18 or 19 years old:
   16
            “Jim,
   17
            Further information will be forthcoming as the
   18
         team continues with the tasking:
   19
            GREEN what we know as fact.
   20
            ORANGE what we are in the process of
   21
         verifying
   22
                                  ***
   23
            • When did he marry his wife in Thailand?
   24
         2011? Target met his wife in 2008 in her role as
   25
         Vice Presi[d]ent of the local commune. … She
   26
         was introduced to the target by a mutual
   27
         English friend….
   28

                                                 15
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    1
            • How did he meet her? See above
    2
            • What was her age when they met? The
    3
         target is 63 years old. His wife we believe is 30
    4
         which would have put her at 18/19 when they
    5
         first met….”
    6
            (Emphasis in original).
    7
            Thus, it was reported as fact by August 27,
    8
         2018, that Unsworth met Tik in 2008.
    9
            Thus, based on the statement on August 27 that
   10
         Unsworth was believed to be 63 and on August 24
   11
         that there was a 28 year gap between he and Tik,
   12
         Tik would have been 35 years old.
   13
            Thus, based on the statement on August 24 that
   14
         Unsworth and Tik had been “married for 7yrs,”
   15
         Tik would have been either 23 (if 30 years old as
   16
         stated on August 27) or 28 when she married
   17
         Unsworth (if 35 years old as suggested on August
   18
         24).
   19

   20
            25. On August 30, 2018, at 11:04 am, Pacific     Wilson Decl. Ex. 23;
   21
         Daylight Time (GMT-07:00), approximately 7          compare id. Ex. 22; id.
   22
         hours and 39 minutes prior to Musk’s “child         Ex. 19.
   23
         rapist” and “child bride” e-mail to Mr. Mac,
   24
         Howard provided a written preliminary report that
   25
         reiterated the August 27 information nearly
   26
         verbatim:
   27
            “Mr Unsworth met his wife in 2008 in her role
   28

                                                 16
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    1
         as a secretary to the Chief Executive of the local
    2
         commune. … Mr Unsworth wife was introduced to
    3
         him by a mutual English friend. … Mr. Unsworth
    4
         is 63 years old. His wife we believe is 30 (we will
    5
         confirm this in the next 48hrs) which would have
    6
         put her at 18/19 when they first met.”
    7
            (Emphasis in original)
    8
            26. Following the publication of the BuzzFeed       Wilson Decl. Ex. 24.
    9
         “child rapist” and “child bride” article on
   10
         September 4, 2018, Howard e-mailed to Birchall in
   11
         material part as follows:
   12
            “Jared, I would like to state the following. At
   13
         no time have have [sic] I reported that the
   14
         target is a child rapist…”
   15
            (Emphasis added)
   16
            27. Birchall responded directly to this e-mail on   Wilson Decl. Ex. 24; id.
   17
         September 5, 2018, stating in full:                    Ex. 2 (Birchall Dep.
   18
            “There is no confusion where this is                238:12-239:5).
   19
         concerned. You have not reported this and I
   20
         have not communicated it either. I understand
   21
         your concern about self sabotage. A concern of
   22
         mine as well.” (Emphasis added)
   23
            Birchall confirmed in his deposition that neither
   24
         he nor Howard communicated to Musk that
   25
         Unsworth is a “child rapist.”
   26
            28. As can be seen at the top of the August 27,     Wilson Decl. Ex. 22.
   27
         2018, e-mail report from Howard, Birchall
   28

                                                   17
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    1
         forwarded the message to unspecified individual(s)
    2
         at 12:45 a.m. on September 6, 2018. In his
    3
         deposition, Birchall testified that the empty “to” in
    4
         his forward on the early morning of September 6,
    5
         2018, is “because those were emails that I
    6
         forwarded to the other counsel” and when asked
    7
         “how did the ‘to’ disappear,” he answered “I don’t
    8
         know. I don’t know.”
    9
            29. Later the same day following the forwarded       Wilson Decl. Ex. 24.
   10
         message to counsel, Birchall did not wait for a
   11
         response to his e-mail and instead sent another e-
   12
         mail on September 6, 2018, and changed his
   13
         position. While again confirming that Howard
   14
         never relayed that Unsworth was a child rapist or
   15
         had married a child bride, he attempted to explain
   16
         Musk’s statements to BuzzFeed in a manner
   17
         entirely inconsistent with the August 24, August
   18
         27, and August 30 written reports from Howard, as
   19
         well as his e-mail immediately preceding, but
   20
         which effectively sums up Musk’s actual malice
   21
         defense in this case, stating in material part as
   22
         follows:
   23

   24
            “Also, as you may expect, I have spent time
   25
         over the last 24 hours compiling the information
   26
         you’ve provided. Not to beat a dead horse, but to
   27
         briefly revisit the point below, you never did report
   28

                                                    18
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    1
         that the target is a child rapist. However you
    2
         undoubtedly understand where the principal was
    3
         drawing this conclusion. You reported in multiple
    4
         phone conversations that the age of the target’s
    5
         girlfriend (believed to be wife at the time) would
    6
         have put her in her teens when they ‘married’ and
    7
         that she was quoted in a Thai news article saying
    8
         they first met 7 years prior to that – which would
    9
         have made her a very young teenager at the time.
   10
         Some (all?) of this information has now proven to
   11
         be wrong. They aren’t married and her age is
   12
         unconfirmed. I also haven’t seen the Thai article
   13
         you referenced. So while I agree that the
   14
         comments by the principal were ill advised, you
   15
         can understand that using the data you provided
   16
         would have allowed him to draw this conclusion
   17
         without you explicitly reporting it as fact.”
   18
            (Emphasis added).
   19
            30. Howard denied Birchall’s tortured                Wilson Decl. Ex. 24.
   20
         explanation the same day, September 6, 2018,
   21
         stating in material part:
   22
            “… I made the assumption based on what was
   23
         reported back to me that if her age is in-fact 30 and
   24
         not 40 and that she has been married (not legally)
   25
         but in a religious context for 7 years plus we also
   26
         know that she was dating Unsworth for at least a
   27
         further 3 years prior to this then she would have
   28

                                                   19
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    1
         been in her late teenage years when they met. I
    2
         believe I told you that I thought this would have
    3
         been about 19. There is a big difference between
    4
         19 and 29 I agree, and an even bigger leap to
    5
         being a child rapist. I do not know how anyone
    6
         could come to that conclusion as neither of have
    7
         us ever mentioned children or rape in our
    8
         conversations. …”
    9
            (Emphasis added).
   10
            31. Though undisputed that Howard never           Wilson Decl. Ex. 24.
   11
         reported in writing or via telephone that Unsworth
   12
         was a child rapist or married a child bride,
   13
         Birchall’s next e-mail the same day brings home
   14
         the stark contrast between met and married, as
   15
         well as admits what he was allegedly told by
   16
         phone, stating in material part as follows:
   17
            “… Please understand that as of this moment
   18
         much of what you have told us can’t be verified.
   19
         Our request for actual documentation is to confirm
   20
         that we are being given legitimate information. …
   21
         Regarding your follow up comment, we were told
   22
         numerous times that they were ‘married’ (or
   23
         formed a relationship) in her late teens (you said
   24
         18), but that she was quoted in a newspaper saying
   25
         they met 7 years prior. … Because based on that
   26
         original narrative she would have actually been a
   27
         child/young teenager when they first met.”
   28

                                                   20
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    1
            (Emphasis added)
    2
            32. Birchall acknowledged, among other               Wilson Decl. Ex. 2
    3
         admissions set forth above that Howard never at         (Birchall Dep. 91:9-
    4
         any time reported in writing or orally that             92:6,150:4-17, 222:17-
    5
         Unsworth had married a child bride or was a child       224:3, 246:2-22, 249:17-
    6
         rapist:                                                 260:6).
    7
            • Q. So you were clear in telling Musk
    8
         “Howard tells me that they met when Tik was 12
    9
         or 13,” true?
   10
            • A. Yes.
   11
            • Q. He didn’t – Mr. Howard didn’t tell you
   12
         that Mr. Unsworth married Tik at age 12 or 13, did
   13
         he?
   14
            • A. Not that I recall, no. …
   15
            • Q. I meant to say Mr. Howard did not tell
   16
         you that Mr. Unsworth had some type of a sexual
   17
         relationship with Tik when she was 12 or 13. He
   18
         never told you that, did he?
   19
            • A. No.
   20
                                    ***
   21
            • Q. And we can agree that if you first meet,
   22
         for purposes of this question, at age 18 or 19, it is
   23
         impossible that you got married seven years earlier
   24
         than when you met, true?
   25
            • A. That is true.
   26
                                    ***
   27
            • Q. So if she’s 18 or 19, and they are
   28

                                                    21
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    1
         married – which would assume sexual intercourse,
    2
         right?
    3
            • A. Most likely.
    4
            • Q. He’s not – she’s not a 12-year-old child
    5
         bride, true?
    6
            • A. True.
    7
            • Q. And that – that fact of marriage at 18
    8
         does not in any way support that he was a child
    9
         rapist, true?
   10
            • A. Someone being married at 18 does not
   11
         suggest they are a child rapist in and of itself,
   12
         correct.
   13
            • Q. And if you go back and assume that she
   14
         was seven years – that they had met seven years
   15
         before they were married at age 18 or 19, that
   16
         would be evidence that they met each other – met
   17
         each other when she was 11 or 12 years old, true?
   18
            • A. True.
   19
            • Q. To meet someone is not to have sexual
   20
         intercourse with them, is it?
   21
            • A. Not – no.
   22
                                    ***
   23
            • Q. Where – I want to make sure I
   24
         understand. Where do you disagree?
   25
            • A. So I –
   26
            • Q. Where does it break down there?
   27
            • A. So I – I – I would – there is some
   28

                                                    22
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    1
         support for the first half of that statement –
    2
            • Q. What support?
    3
            • A. – about the child bride.
    4
            • Q. What support?
    5
            • A. What you just outlined would support
    6
         not being a child bride –
    7
            • Q. 12-year-old child bride.
    8
            • A. Exactly. So that’s what I’m saying.
    9
         You’re correct in that regard. …
   10
            • Q. All I want to know is where is my logic
   11
         wrong? Where did Elon Musk –
   12
            • A. I just finished saying your logic wasn’t
   13
         wrong. … About the child bride. … The child
   14
         bride logic was not wrong. … I’m saying the child
   15
         rapist side of it is incorrect. That there was a lot of
   16
         information that would have led one to draw that
   17
         conclusion.
   18
            • Q. What information? … I want to find
   19
         where you got any information, what information
   20
         it was, that would have in any way supported as
   21
         true that Vernon Unsworth was a child rapist. Just
   22
         tell me what it is.
   23
            • A. Yeah. So if you go back and read a
   24
         number of things that – that Howard wrote, and if
   25
         you knew all of what was said and what was
   26
         communicated, you would know that we had an
   27
         investigator telling us that – that he spent – or [1]
   28

                                                    23
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    1
            that he met a young Thai girl in a – in Thailand,
    2
            known for what it’s – you know, for pedophilia
    3
            and all that stuff, [2] that he spent time with her as
    4
            a young girl, and [3] that he had frequented other
    5
            establishments in Pattaya that were known for
    6
            those same things. And so there was – those were
    7
            – those are some of the few reasons that would
    8
            have caused that conclusion to be drawn.
    9
               33. Birchall acknowledged that none of those          Wilson Decl. Ex. 2
   10
            things were verified at any time2:                       (Birchall Dep. 89:1-25,
   11
               • Q. When did he meet Tik in Thailand?                133:17-24, 173:21-
   12
         What did you learn?                                         184:12, 201:13-202:1,
   13
               • A. It depends at what point you’re asking           232:25-233:2); compare
   14
         me that. … I mean, to be honest there were                  id. Ex. 25; id. Ex. 23; id.
   15
         numerous answers given over time to where for me            Ex. 24.
   16
         to clearly state this is exactly when he met her – it
   17
         honestly is not clear in my head, because the
   18
         answer evolved over time. … So the answer to
   19
         that question evolved over time. And there were
   20
         different answers.
   21
                                       ***
   22
               • As of August 30, 2018, the day of the
   23
         BuzzFeed e-mails, Birchall texted Howard “Just
   24
         need to make sure the team in Thailand keeps
   25
         digging. Creatively, extensively, and when
   26
         possible, aggressively,” and testified that he told
   27

   28
        2
         None of these statements remotely justify Musk’s “pedo guy,” “child rapist” or
        “child bride” accusations.
                                                 24
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    1
         him to do this “[b]ecause he had provided a lot of
    2
         information at that point, and that information at
    3
         times varied …” (Emphasis added)
    4
                                    ***
    5
            • The August 30 written report contained the
    6
         only written information provided by Howard
    7
         regarding Unsworth’s alleged travel to Pattaya
    8
         prior to the August 30 BuzzFeed e-mails, and
    9
         stated: “If this is the case that Mr Unsworth
   10
         choose to live in Pattaya Beach … then it would be
   11
         a strong indicator as to his lifestyle interests. If we
   12
         can establish that Mr Unsworth was a regular
   13
         visitor to this part of Thailand …” (Emphasis
   14
         added)
   15
            • The August 30 written report also stated
   16
         “Can we confirm that Mr Unsworth was a
   17
         frequent visitor to Pattaya – This can be
   18
         established by checking old visa applications …”
   19
         (Emphasis added)
   20
            • Birchall acknowledge such in his deposition,
   21
         stating “He did state that they were in the process
   22
         of verifying that.”
   23
                                    ***
   24
            • As of September 3, 2018, there was still no
   25
         verification of Unsworth’s alleged travel to
   26
         Pattaya, which Howard stating via text: “Pattaya
   27
         will take some time probably 7 days. …”
   28

                                                     25
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    1
                                  ***
    2
            • As of September 4, 2018, Howard “hadn’t
    3
         gotten [w]hat he thought he needed from Pattaya
    4
         yet,” as evidenced by Birchall’s testimony and
    5
         Howard’s September 4, 2018, e-mail stating “I
    6
         appreciate that you need quick results. I am very
    7
         confident that we will get what we need from
    8
         Pattaya.”
    9
            • As of September 4, 2018, Birchall
   10
         demonstrated his awareness of this in writing,
   11
         stating “Can you confirm the hotel names in
   12
         Pattaya?” to which Howard responded “our goal is
   13
         to get evidence from the penthouse which is
   14
         obviously a big win. I’ll keep you updated.”
   15
                                  ***
   16
            • As of September 17, 2018, Birchall
   17
         confirmed via e-mail that he was unaware of the
   18
         source of Unsworth’s travel: “Also, what was the
   19
         information source that suggested Unsworth has
   20
         been going to Thailand since the 80’s?”
   21
                                  ***
   22
            • As of September 18, 2018, Birchall
   23
         confirmed via e-mail that he had never received
   24
         documentation of Unsworth’s travel: “You
   25
         mentioned several days ago that you would be
   26
         sitting down with your embassy contact to get
   27
         documented proof of Unsworth’s travel over those
   28

                                                   26
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    1
         6 years that you indicated he spent time in Pattaya.
    2
         Did that happen? This is an important piece of
    3
         verification.”
    4
                                   ***
    5
            • As of September 20, 2018, Birchall had still
    6
         never received verification: “You’ve made some
    7
         pretty specific claims that contradict his legal
    8
         filing. But at this point we have nothing to
    9
         confirm any of them. We need something,
   10
         anything that can support your claims.”
   11
                                   ***
   12
            • As of October 2, 2018, Birchall confirmed
   13
         via text to Howard: “go back and review the
   14
         information you’ve provided aside from the initial
   15
         info. You’ve just about given us nothing. And
   16
         you have given us exactly nothing verified.”
   17
         (Emphasis added)
   18
                                   ***
   19
            • Birchall never conveyed to Musk that
   20
         Unsworth’s alleged travel to Pattaya was
   21
         confirmed, admitting that he “didn’t tell [Musk]
   22
         they had have established that he lived in Pattaya
   23
         Beach,” because “I wouldn’t have said that they
   24
         had proof of that. I would have said they believed
   25
         that.”
   26
            34. As a result of the conflicting information      Wilson Decl. Ex. 2
   27
         and lack of documentation, Musk and Birchall           (Birchall Dep. 136:6-
   28

                                                    27
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    1
         were both concerned “about whether [they] were         138:5).
    2
         getting the truth from Mr. Howard”:
    3
            • Q. So if you really wanted – you had
    4
         concerns about whether you were getting the truth
    5
         from Mr. Howard, you tell me, right?
    6
            • A. Correct.
    7
            • Q. Mr. Musk had that same concern, true?
    8
            • A. True.
    9
            • Q. And you-all had had that concern ever
   10
         since his data being provided to you started to
   11
         change, right?
   12
            • A. That’s right.
   13
            • Q. Like when it went from 12 or 13 prior to
   14
         27th, to 18 or 19 on the 27th, right?
   15
            • A. Yes, though it continued to waffle even
   16
         after the 27th –
   17
            35. By design, Birchall and Musk never              Wilson Decl. Ex. 2
   18
         communicated in writing regarding the Howard           (Birchall Dep. 195:8-12).
   19
         investigation, with Birchall testifying that “we
   20
         both came to that conclusion” independently.
   21
            36. Without any “child bride” or “child rapist” –   Wilson Decl. Ex. 2
   22
         and instead only denials – from Howard in writing,     (Birchall Dep. 169:1-
   23
         Birchall testified that “it’s important to note that   171:4).
   24
         there are numerous phone calls between each of
   25
         these correspondence where he [Howard] is much
   26
         more affirmative in his beliefs of her [Tik’s] age
   27
         and of Unsworth’s activities and of his time spent
   28

                                                    28
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    1
         in Pattaya Beach.”
    2
            37. Irrespective of whether there was            Wilson Decl. Ex. 2
    3
         information conveyed by phone that is not           (Birchall Dep. 20:21-
    4
         contained in any of Howard’s written reports,       22:12, 105:3-108:10,
    5
         Birchall confirmed that he would promptly and       138:17-141:7, 163:17-
    6
         fully apprise Musk when received information        164:7, 190:6-17, 256:13-
    7
         from Howard, including, among other things, that    260:6).
    8
         Unsworth met Tik when she was 18/19 years old,
    9
         and he would have shared with Musk the “serious
   10
         discrepancy” in Tik’s age when it “was shared
   11
         with him” on August 28 and before August 30:
   12
            • Q. Did he want you to share the information
   13
         that you were learning with him? Mr. Musk?
   14
            • A. Yes.
   15
            • Q. And you would have made sure that you
   16
         provided him accurate information about Mr.
   17
         Howard’s investigation, true?
   18
            • A. True.
   19
            • Q. You would not in any way have
   20
         provided information from Mr. Howard – that you
   21
         obtained from Mr. Howard – to Mr. Musk that
   22
         would be misleading, true?
   23
            • A. True.
   24
            • Q. You wanted to give him a complete
   25
         report on the information you were receiving from
   26
         Mr. Howard on any and all significant issues that
   27
         were being investigated, true?
   28

                                                    29
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    1
            • A. True.
    2
                                   ***
    3
            • Q. So you now you’ve got conflicting
    4
         information from Mr. Howard. Earlier he’s told
    5
         you 12 or 13. Now he’s telling you 18 to 19, true?
    6
            • A. True.
    7
            • Q. And he’s telling you that that’s – he’s in
    8
         the process of verifying that, right? It’s
    9
         unverified?
   10
            • A. Correct. …
   11
            • Q. Right. Yes, you would have told him
   12
         “Look, he’s told me 12 to 13. But now I’ve got a
   13
         report from him saying 18 to 19 that he’s trying
   14
         to verify,” right?
   15
            • A. Likely, yes. (Emphasis added)
   16
                                   ***
   17
            • But like that. He was going back and forth
   18
         between 12 and 18 and 19, right?
   19
            • A. There was some back and forth.
   20
            • Q. And you told Mr. Musk there was
   21
         discrepancies and there was back and forth and it
   22
         was not the same, true?
   23
            • A. Yes. I communicated what was
   24
         communicated to me. …
   25
            • Q. …You don’t – you haven’t told me that
   26
         you did, but what you have told me is that you told
   27
         Elon Musk before August the 30th –
   28

                                                      30
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    1
            • A. There was some vacillation.
    2
            • Q. – that you were getting 12, and you were
    3
         getting 18 or 19, and her date – her age had not
    4
         been verified. You told that to Elon –
    5
            • A. There was some truth –
    6
            • Q. Excuse me. You told that to Elon Musk
    7
         before he wrote BuzzFeed on the 30th of August,
    8
         true?
    9
            • A. Yes.
   10
                                  ***
   11
            • Q. And at least one of those conversations,
   12
         if not more, had occurred when you got the
   13
         information saying 18 or 19. You told Mr. Musk
   14
         without delay “We’re getting different information
   15
         now, Elon,” right?
   16
            • A. Yes.
   17
            • Q. And that would have been reported to
   18
         him within a day?
   19
            • A. Most likely, yes.
   20
            • Q. By the 28th he knew there was a
   21
         problem in the dates that you were getting on when
   22
         they met and when the got married, right?
   23
            • A. You say a “problem,” I mean …
   24
            • Q. Well, the date –
   25
            • A. Yeah, he was waffling.
   26
            • Q. – a serious discrepancy?
   27
            • A. He was waffling as far as when marriage
   28

                                                  31
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    1
         versus met, yeah. Yes, he was waffling back and
    2
         forth there.
    3
            • Q. And not just waffling a little bit. You
    4
         recognized that there was a serious discrepancy in
    5
         what he was telling you according to you on when
    6
         they met in terms of Tik’s age, and you knew that
    7
         on the 27th and 28th, and you discussed it with Mr.
    8
         Musk, true?
    9
            • A. I would have shared the information that
   10
         was shared with me.
   11
            • Q. On the 28th when you got it?
   12
            • A. Most likely, yes.
   13
                                   ***
   14
            • Q. You would have informed Mr. Musk of
   15
         that information?
   16
            • A. Likely, yes.
   17
            • Q. Relatively soon after you received it?
   18
            • A. Typically within 24 hours was the
   19
         cadence.
   20
            • Q. And sooner if Mr. Musk’s schedule
   21
         permitted. Because you said you wanted to get the
   22
         information from Mr. Howard to him along the
   23
         way, but on his schedule as soon as possible, true?
   24
            • A. Sure, if possible.
   25
            • Q. And generally, that would have meant
   26
         clearly no longer than 24 hours?
   27
            • A. Generally, yes.
   28

                                                  32
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    1
            • Q. Generally sooner, though, true?
    2
            • A. If possible.
    3
            38. Musk’s statement of uncontroverted facts     Musk Statement of Facts
    4
         admits that “[w]ithin a day of receiving the        ¶¶ 56-57.
    5
         information [on August 27], Mr. Birchall orally
    6
         reported to Mr. Musk Mr. Howard’s description of
    7
         a Thai news article that quoted Mr. Unsworth’s
    8
         Thai wife and reported that Mr. Unsworth
    9
         married his wife when she was 18 or 19 years old,
   10
         but that they met seven years earlier, which
   11
         would imply that she was eleven or twelve years
   12
         old at the time.” (Emphasis added)
   13
            39. On September 1, 2018, Howard provided an     Wilson Decl. Ex. 26.
   14
         additional written report confirming, among other
   15
         things, when Unsworth met Tik and her age,
   16
         stating in material part as follows:
   17
            • Tik’s date of birth as “18th November 1988”
   18
            • “The reason that he has chosen to live in
   19
         Chiang Rai is because of the extensive local cave
   20
         networks. Chiang Rai has plenty of interesting
   21
         caves, especially in Tam [sic] Luang.”
   22
            • “They both met each other in England 11
   23
         years ago. Tik had a summer vacation and visited
   24
         some student friends there. A friend of hers
   25
         introduced Tik to Vernon. That was the
   26
         beginning of their relationship.” (Emphasis
   27
         added)
   28

                                                  33
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    1
            • “During that time she met Vernon she was
    2
         about 19 years old …” (Emphasis added)
    3
            • “DOB 18/11/1988 Age 30”
    4
            40. Musk did not disclose the information from     Wilson Decl. Ex. 19.
    5
         Howard’s September 1, 2018, report in follow-up
    6
         correspondence with Mr. Mac on September 4,
    7
         2018, instead stating:
    8
            • “Off the record I suggest you ask Unsworth
    9
         to describe his whole ~30 year history of visiting
   10
         Thailand. What was he doing in Pattaya Beach for
   11
         the better part of a decade when there are no caves
   12
         of note in the area?”
   13
            • “Get lost, you creep”
   14

   15
          C.     An Ends Oriented Investigation Run by a Self-Admitted “Novice”
   16
                              and Marred by Extraordinary Tactics
   17
            41. On July 17, 2018, two days after Musk          Wilson Decl. Ex. 27.
   18
         tweeted “pedo guy,” Howard e-mailed Musk and
   19
         his associates, stating in relevant part:
   20
            “Dear Elon, You may wish to dig deep and look
   21
         into Unsworth past to prepare for his defamation
   22
         claim. No smoke without fire!” and “Like Elon I
   23
         think that Mr. Unsworth has skeletons in his
   24
         cupboard.”
   25
            42. Birchall engaged Howard on August 15,          Wilson Decl. Ex. 2
   26
         2018, via Musk’s family office, Excession, LLC,       (Birchall Dep. 82:25-
   27
         “at the request and the desire of Mr. Musk,” and      83:10, 76:4-7); id. Ex.
   28

                                                     34
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    1
         acknowledged that he “knew when he came to Mr.            28.
    2
         Musk that he was suggesting that he had some dirt
    3
         on Vernon Unsworth[.]”
    4
            43. Birchall testified that he considers himself       Wilson Decl. Ex. 2
    5
         an “inexperienced novice,” with respect to                (Birchall Dep. 19:5-19,
    6
         conducting investigations, and that he “was a             50:16-51:7).
    7
         novice being asked to do something that I’d never
    8
         done before, and didn’t know what it entailed …”
    9
            44. In his “first investigative role or a role in an   Wilson Decl. Ex. 2
   10
         investigation,” Birchall’s due diligence into             (Birchall Dep. 72:11-
   11
         Howard was limited to googling his name and the           76:7).
   12
         name of his company and a discussion with
   13
         Howard about his experience. He did not verify
   14
         that Howard’s claimed experience in the British
   15
         Special Forces or his work for other high net worth
   16
         individuals was real.
   17
            According to Birchall, “there would have
   18
         maybe been a slightly different process if someone
   19
         said go out and identify the best investigator in the
   20
         world to go and find information in Thailand,” and
   21
         he considered his due diligence process to be
   22
         “somewhat rudimentary, you know, big high-level
   23
         vetting process. He came to us, and the need to
   24
         reach out to him was brought to me by someone
   25
         internal. It wasn’t an outward investigative search
   26
         for the best in the world. It was someone who
   27
         came to us, so that manner in which he came to us
   28

                                                     35
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    1
         probably affected the amount or type of research
    2
         that was done.”
    3
            According to Musk,
    4
            45. A google search result performed for August      Wilson Decl. Exs. 29-
    5
         15, 2018, or before for “James Howard Jupiter”          31.
    6
         reveals that the first result on the first page is a
    7
         November 3, 2016, article headlined
    8
         “Businessman stole £426,000 from company’s
    9
         accounts despite being given ‘numerous second
   10
         chances.’” The article begins with, among other
   11
         things, the statement “A BUSINESSMAN has
   12
         been jailed after stealing more than £400,000 from
   13
         his company’s accounts. James Milton Howard-
   14
         Higgins was the co-founder of Orchid Maritime
   15
         Security Ltd based in Poole,” and includes a quote
   16
         from a detective stating “James Howard-Higgins
   17
         systematically stole from his business partner over
   18
         a sustained period of time despite being caught in
   19
         the act and given numerous second chances. He
   20
         selfishly abused his position of trust and I hope the
   21
         sentence given will act as a reminder that anyone
   22
         convicted of fraud offences will be dealt with
   23
         robustly by the courts.”
   24
            Similarly, on October 3, 2019, BuzzFeed News
   25
         published an article entitled “Elon Musk Hired a
   26
         Convicted Felon To Investigate The Cave Rescuer
   27
         Who Is Now Suing Him,” reporting, inter alia, that
   28

                                                      36
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    1
         Howard “served 18 months of his three-year
    2
         sentence in October 2016 for stealing more than
    3
         £426,000 ($525,000) from his company,” and that
    4
         “Howard-Higgins also recently violated the terms
    5
         of his parole. Musk’s private investigator is back
    6
         in jail serving the remainder of his three-year
    7
         sentence.”
    8
            46. After hiring a man sentenced for fraud to     Wilson Decl. Ex. 1
    9
         conduct an investigation that the investigator       (Musk Dep. 192:15-
   10
         solicited with the suggestion of pre-determined      193:5, 198:11-17).
   11
         results, Musk testified, among other things:
   12
            • Q. The investigator from all appearances
   13
         now you know was probably a con man that took
   14
         your money?
   15
            • A. That is correct. That is my impression at
   16
         this point. … I don’t know what all due diligence
   17
         Jared [Birchall] did.
   18
                                   ***
   19
            • A. The investigator who merely was, in
   20
         retrospect, just taking us for a ride …
   21
            47. Birchall established a fake name, “James      Wilson Decl. Ex. 2
   22
         Brickhouse,” and a fake e-mail address to            (Birchall Dep. 12:9-14:6,
   23
         correspond with Howard. According to Birchall:       16:19-17:8, 18:24-
   24
            • “I used, I guess, an assumed name when I        19:19).
   25
         corresponded with Mr. Howard. I was being asked
   26
         to – to do something that was very much out of my
   27
         wheelhouse, and to help gather information about
   28

                                                   37
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    1
         a matter in an area that had things that I – I just felt
    2
         I would be better – it would be better not to have
    3
         my personal name, both for me as well as Mr.
    4
         Musk, to not have my personal name attached to
    5
         that. … So when it comes to being asked to go and
    6
         facilitate, you know, communication from
    7
         someone who is gathering information about a
    8
         legal matter or about a seemingly seedy topic. I –
    9
         you know, I work in finance. I have a family.
   10
         This isn’t what I do, and my preference was to not
   11
         be personally tied to something of that nature.”
   12
            • “I was also preventing a – you know,
   13
         someone’s ability to just forward an email
   14
         exchange and easily tie that to myself or Elon or
   15
         someone, you know. So that was just another
   16
         reason behind the anonymity on that.”
   17
            • It was “true” that Birchall was “very
   18
         conscious that [he] did not want him to know [his]
   19
         real name.”
   20
            48. On August 24, 2018, as the investigation            Wilson Decl. Ex. 21.
   21
         had only just begun, he stated:
   22
            “Thanks for this. Do we have more info about
   23
         the timeline when he originally went to Thailand?
   24
         Was his current wife the girl he finally settled on
   25
         after a period of ‘exploring’ the world of
   26
         underaged Thai girls? Can we get a firm
   27
         confirmation that they met while she was a
   28

                                                     38
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    1
         minor?”
    2
            In doing so, Birchall also established his
    3
         awareness that Unsworth and Tik did not marry
    4
         “while she was a minor,” as of August 24, 2018.
    5
            49. On August 25, 2018, Birchall followed up        Wilson Decl. Ex. 21; id.
    6
         on his above request after Howard responded to         Ex. 2 (Birchall Dep.
    7
         the above that he “will enquire and confirm,”          78:10-15, 228:6-19).
    8
         stating:
    9
            “Also, for successful confirmation of nefarious
   10
         behavior there is an additional $10k bonus.
   11
         Timing is important as you know. Preferably in
   12
         the next 36-48 hours.”
   13
            Birchall also testified that “[t]ypically, yeah,”
   14
         he needed Musk’s authority to pay Howard and
   15
         that though he was uncertain, “[i]t’s possible” that
   16
         Musk knew about the offer of the $10,000 bonus.
   17
            50. Birchall confirmed that the $10,000 bonus       Wilson Decl. Ex. 2
   18
         was never paid:                                        (Birchall Dep. 228:2-
   19
            • Q. Did you pay him the $10,000?                   229:5, 230:13-21, 271:7-
   20
            • A. No, I didn’t.                                  12).
   21
            • Q. Because he didn’t give you confirmation
   22
         of nefarious behavior, did he?
   23
            • A. Correct
   24
                                   ***
   25
            • Q. Had not gotten – he had not earned his
   26
         bonus, and his information, as you said on 10/2,
   27
         had not ever been verified. You’ve given me
   28

                                                    39
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    1
         absolutely nothing verified. True?
    2
            • A. True.
    3
            51. On August 27, 2018, Birchall e-mailed a list     Wilson Decl. Ex. 22; id.
    4
         of questions to Howard, stating:                        Ex. 2 (Birchall Dep.
    5
            “Clearly we’d like the information now. … We         84:10-85:1).
    6
         believe there are planned attacks in the media
    7
         and/or a lawsuit that are imminent. … Some of the
    8
         specific questions that would be good to answer
    9
         are:
   10
            • When did he move to Thailand? 2011? …
   11
            • When did he marry his wife in Thailand?
   12
         2011?
   13
            • When did he meet his wife in Thailand?
   14
            • How did he meet her?
   15
            • What was her age when they met?
   16
            • Was she the 10th teenage girl he met before
   17
         he decided to settle?
   18
            If you are able to carefully do a ‘press’
   19
         interview with him or her – or both, then I say let’s
   20
         use any and all creative methods possible. …”
   21
            Birchall also testified “I’m sure, yes,” that “Mr.
   22
         Musk had input into the questions that [he] sent,”
   23
         and that the questions were a “collaboration,” and
   24
         that “Yes,” the questions were drawn from his
   25
         “discussions with Mr. Musk that he wanted
   26
         answers to[.]”
   27
            52. In response to this list of questions, Howard    Wilson Decl. Ex. 22.
   28

                                                   40
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    1
         sent the previously mentioned August 27, 2018, e-
    2
         mail report stating as verified fact that Unsworth
    3
         “met his wife in 2008 in her role as Vice President
    4
         of the local commune,” that she “was introduced to
    5
         the target by a mutual English friend,” and that
    6
         “[h]is wife we believe is 30 which would have put
    7
         her at 18/19 when they first met.”
    8
            53. At 9:41 am on August 28, 2018, just one        Wilson Decl. Ex. 18.
    9
         day removed from receiving the August 27, 2018,
   10
         Howard e-mail stating as fact that Unsworth met
   11
         Tik in 2008 when she was believed to be 18/19,
   12
         and four days removed from the August 24 e-mail
   13
         stating Unsworth and Tik had been married for
   14
         seven years, Musk published his “don’t you think
   15
         it’s strange he hasn’t sued me yet” tweet.
   16
            54. Musk began receiving media inquiries           Wilson Decl. Ex. 32.
   17
         regarding his tweets almost immediately, including
   18
         one on August 28, 2018, at 10:24 am requesting
   19
         comment, to which Tesla’s internal PR person,
   20
         Dave Arnold, responded that he was already
   21
         “starting to get some inquiries like this.”
   22
            55. Contemporaneously with Musk’s 9:41 am          Wilson Decl. Ex. 33.
   23
         August 28 tweet and his receipt of media inquiries
   24
         in response, at 9:48 am (seven minutes after Musk
   25
         tweeted publicly on the issue to a member of the
   26
         press), and still only one day removed from
   27
         receiving hard confirmation that Unsworth did not
   28

                                                       41
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    1
         marry Tik when she was a child bride, Musk and
    2
         Birchall began a calculated effort to plant stories in
    3
         the press, as shown in Birchall’s e-mail to Howard
    4
         as follows:
    5
            “We would like you to immediately move
    6
         forward with ‘leaking’ this information to the UK
    7
         press. Obviously must be done very carefully.
    8
         The line of thinking at this point is as follows:
    9
            • Thailand is the world capital of pedophilia
   10
            • This man has frequented Thailand since the
   11
         80’s – eventually leading to his divorce to his wife
   12
         in the UK.
   13
            • While the guise of cave exploration is
   14
         creative, there are amazing and extensive caving
   15
         systems in many places throughout the world – not
   16
         just in Thailand. Even the most ardent supporter of
   17
         Thai food doesn’t eat Thai food every day.
   18
            • He eventually woman [sic] 30 years his
   19
         minor – whom he met while she was a teenager.
   20
            • He had been going to Thailand for decades
   21
         before marrying her. She wasn’t the first girl he
   22
         met – and definitely not the first teenager he
   23
         interacted with.
   24
            Share the facts and as you said, that should be
   25
         enough for a story. But we’d like to make this
   26
         happen immediately.”
   27
            56.        Between August 28-29, Birchall             Wilson Decl. Ex. 25.
   28

                                                    42
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    1
          texted with Howard confirming his authority to
    2
          conduct this press campaign and suggesting that it
    3
          expand to Australia:
    4
            • Birchall: “What is the timeline?”
    5
            • Howard: “Jim timeline is ASAP … It has to
    6
         appear organic & not contrived. Priority is to
    7
         diver the story away from the principal and let the
    8
         UK tabloids develop there [sic] story.”
    9
            • Birchall: “Would be ideal to have more
   10
         than one publisher receive the info.”
   11
            • Howard: “100 %[.] Plan is to reach out
   12
         indirectly to ¾ different newspapers & print &
   13
         online. … This will begin in 90 mins & then be
   14
         pushed out today. The difficulties will be getting
   15
         the editors to ok that line of enquiry & for them to
   16
         feel this is a better story that [sic] the principles
   17
         [sic] activities.”
   18
            • Howard: “Jim example of what we are
   19
         doing with all the daily newspapers and Sunday
   20
         papers”
   21
            • Birchall: “So nothing out yet has your
   22
         info?”
   23
            • Howard: “Daily Mail are now interested
   24
         through Mick Smith. Thats [sic] the paper that
   25
         will have the biggest impact”
   26
            • Birchall: “Ok, good … Please let me know
   27
         when you have word of a story with your narrative
   28

                                                      43
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    1
         being published. One other thought, maybe we
    2
         consider the Australian press as well. The UK
    3
         press may be prone to protect one of their own.”
    4
            Birchall’s form e-mail was sent as a template by
    5
         Howard to, among others, The Sun, from an email
    6
         address called “bangkokjohn” and to others from
    7
         an email addressed called “bangkokhilton.”
    8
               57.     Birchall confirmed that Musk was           Wilson Decl. Ex. 2
    9
          likely involved in forming the information for          (Birchall Dep. 109:18-
   10
          these stories in the UK and Australian press, and       110:6, 111:18-24,
   11
          confirmed that he and Musk authorized and               114:23-115:21, 119:1-
   12
          encouraged Howard to plant those stories:               120:25, 125:13-126:3,
   13
           •     The “we” in the above August 28, 2019, e-        129:10-13, 163-64,
   14
        mail is Birchall and Musk                                 273:4-24).
   15
           •     Birchall testified that “Yeah,” in response to
   16
        being asked whether “you wanted that story to be
   17
        published, and Mr. Musk wanted it to be published
   18
        too. True?”
   19
           •     Birchall stated “I believe so, yes,” in
   20
        response to being asked whether “Mr. Musk wanted
   21
        this information leaked to the UK press”
   22
           •     Birchall stated “Yes,” in response to being
   23
        asked “you said ‘We agree to it,’ and Musk said
   24
        that ‘I agree to it being leaked,’ right?”
   25
           •     Birchall testified “Yes,” in response to being
   26
        asked that “you are saying [in the August 28 email
   27
        to Howard above] that you and Mr. Musk did want
   28

                                                     44
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    1
        these leaks to happen immediately, true?”
    2
           •   In response to being asked whether he was
    3
        “[h]oping to get a story about Vernon Unsworth,”
    4
        Birchall testified that “wherever the cards would
    5
        fall in investigative work, gathering information –
    6
        but yes, something that would be – would have
    7
        people question the motive for being in Thailand”
    8
        and that “pedophilia” “would be among the things
    9
        that people would question …”
   10
           •   Birchall testified that “many people who
   11
        seek to discredit him [Musk] … and my instinct to
   12
        protect was that we needed to somehow balance,
   13
        because there was a clear imbalance in what was in
   14
        the media.”
   15
           •   Birchall testified “Yes” in response to being
   16
        asked whether the “fact of the matter is you and
   17
        Elon Musk wanted this information contained in
   18
        Exhibit 66 and forwarded to the Sun as reflected on
   19
        Exhibit 67, you and Mr. Musk wanted this
   20
        information to be public; to be written about by the
   21
        media, true?”
   22
           •   Birchall testified that it was “Likely” that
   23
        “Mr. Musk would have known that you were
   24
        suggesting the avenue of also publishing in
   25
        Australia,” too.
   26
           •   And, Birchall testified that it’s “true” that
   27
        the information planted in the press was made
   28

                                                    45
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    1
        “without any disclosure that it was coming from
    2
        Elon Musk or one of his investigators.”
    3

    4
            58. Contemporaneously with the August 28-29,      Wilson Decl. Ex. 19.
    5
         2018, text messages evidencing an effort to plaint
    6
         stories in the UK and Australian press, Musk
    7
         received an e-mail from Mr. Ryan Mac at
    8
         BuzzFeed at 7:40 am on August 29, 2018,
    9
         requesting comment on “the Twitter conversation
   10
         yesterday.”
   11
            59. Musk responded to Mr. Mac within an hour,     Wilson Decl. Ex. 19.
   12
         at 8:38 a.m., querying: “Have you actually done
   13
         any research at all? …”
   14
            60. On August 30, 2018, Birchall began            Wilson Decl. Ex. 25.
   15
         inquiring with Howard by text regarding Mr.
   16
         Mac’s article, and asking Howard to “verify when
   17
         (if) he actually engaged council [sic],” and
   18
         followed up later that day asking whether it was
   19
         “[c]onfirmed that he [Unsworth’s UK counsel
   20
         Mark Stephens] has been retained by Unsworth,”
   21
         and Howard openly claimed that he “can find out
   22
         [l]ater this morning I know another partner at the
   23
         law firm [c]an make a social call & make a soft
   24
         enquiry.”
   25
            61. Howard’s August 30, 2018, report stated       Wilson Decl. Ex. 23.
   26
         specifically that “Mr Unsworth is a member of
   27
         Verulam Golf club … and he will be playing Golf
   28

                                                  46
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    1
         there in the coming weeks. The investigation team
    2
         will be looking to integrate itself with him either as
    3
         part of a playing four ball or in the clubhouse bar.
    4
         This will be to establish how far along the legal
    5
         route he has gone and what the strategy is. …
    6
         Unless instructed, we are not running mobile and
    7
         foot surveillance on Mr. Unsworth during his visit
    8
         in the UK.”
    9
            62. On September 3, 2018, Howard delivered            Wilson Decl. Ex. 25.
   10
         texts to Birchall stating “Target meeting Mark
   11
         Stephens today at 1600 to put libel plan into place.
   12
         Confirmed the UK Office of Howard Kennedy will
   13
         run the libel action through Mark Stephens,” and
   14
         purporting to send a picture of Unsworth.
   15
            63. In response to being asked whether he “put        Wilson Decl. Ex. 2
   16
         the brakes on [Howard] when you realized he was          (Birchall Dep. 161:1-
   17
         trying to surveil matters regarding Mr. Unsworth         162:24); id. Ex. 26.
   18
         and his lawyers? Did you ever do that?”, Birchall
   19
         replied “No. The assumption of any surveillance
   20
         that was being done was that it was following any
   21
         guideline that proper investigations should
   22
         follow.” This, despite Howard’s September 1
   23
         report stating “I have a source within the company
   24
         who may be able to reveal some of the strategy
   25
         and timelines.”
   26
            64. When the investigation was closing, on            Wilson Decl. Ex. 25.
   27
         October 2, 2018, Birchall texted Howard: “go
   28

                                                   47
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    1
         back and review the information you’ve provided
    2
         aside from the initial info. You’ve just about
    3
         given us nothing. And you have given exactly
    4
         nothing verified.”
    5
              D.      Musk Intended, Authorized, Encouraged, and Foresaw the
    6
                   Republication of His Defamatory Accusations to BuzzFeed
    7
            65. On September 4, 2018, Musk authored             Wilson Decl. Ex. 34.
    8
         multiple e-mails to his outside public relations
    9
         contact assessing his “off the record” e-mail and
   10
         stating in material part as follows:
   11
            • “Yes, this is extremely bad. I didn’t expect
   12
         Buzzfeed to publish an off the record email. My
   13
         intent was to have them investigate and come to
   14
         their own conclusions, not publish my email
   15
         directly. Still, I’m a fucking idiot.”
   16
            • “Completely agree. I was told a lot of bad
   17
         things this guy did and was upset that no one cared
   18
         to investigate, so responded in what I felt was off
   19
         the record. In the past, Buzzfeed has respected
   20
         emails prefaced with ‘off the record’, but this time
   21
         they did not. It was still one of the dumbest things
   22
         I’ve ever done and this distraction couldn’t come at
   23
         a worse time.”
   24
            (Emphasis added).
   25
            66. On June 21, 2018, Mr. Mac published an          Wilson Decl. Ex. 35
   26
         article entitled “Elon Musk Has Always Been At         (Mac. Decl. Ex. A).
   27
         War With The Media,” which stated, in part, as
   28

                                                   48
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    1
         follows:
    2
            • “No one lectures Elon Musk.”
    3
            • “That fiery interaction eventually leaked to
    4
         the press and ricocheted around the internet as
    5
         further evidence that Musk was losing it.”
    6
            • “Yet taken together with his other antics and
    7
         problems of 2018, the shocking behavior was
    8
         viewed by some pundits as a prime example of
    9
         Musk cracking under pressure. But the thing is:
   10
         None of this is new for Musk.”
   11
            • “He has always been the architect of his
   12
         own image and has long run roughshod over
   13
         journalists and his own communications team
   14
         alike.”
   15
            • “What we are seeing is less a crack in his
   16
         well-being than his façade. It is Elon Musk
   17
         unbound.”
   18
            • “In response to questions from BuzzFeed
   19
         News, a Tesla spokesperson said, ‘This sounds like
   20
         a very exciting story and we can’t wait to read it.
   21
         Buzzfeed is the best!’”
   22
            • “In reaction, Musk has gone on the
   23
         offensive, lashing out in public at his perceived
   24
         enemies – largely in the press.”
   25
            • “On Twitter, he has attacked journalists,
   26
         accused his critics in the media of being a Big Oil
   27
         conspiracy, and threatened to start a public ranking
   28

                                                   49
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    1
         of news organizations ironically named after a
    2
         former Soviet Union propaganda publication.”
    3
            • “Combined, these events prompted
    4
         speculation about whether or not the billionaire
    5
         CEO was losing control and invited inevitable
    6
         comparisons to another wealthy leader with a
    7
         predawn Twitter habit.”
    8
            • “Musk has long raged in private at perceived
    9
         enemies, especially in the media. His short temper
   10
         and outbursts have long been legend inside Tesla
   11
         and SpaceX headquarters, according to multiple
   12
         current and former employees. ‘It doesn’t strike
   13
         me as some drastic change in his personality,’ said
   14
         on former employee. ‘The people who are saying
   15
         this is how he’s always been are correct,’ said
   16
         another.”
   17
            • “Depending on who you ask, he’s an icon,
   18
         an environmental champion, or an attention-
   19
         hungry micromanager …”
   20
            • “Musk’s recent public outbursts may have
   21
         less to do with a desire to be a media critic and
   22
         more to do with a long-standing business strategy,
   23
         where he’s leveraged his popularity for press
   24
         coverage for years.”
   25
            • “Former employees remember him being
   26
         easily angered and ‘extraordinarily vindictive,’ no
   27
         matter how small the outlet or tempered the
   28

                                                   50
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    1
         critique.”
    2
            • “‘He’ll read an obscure critical post by, like,
    3
         some Belgian blogger at 3 in the morning and he’ll
    4
         wake up people on the comms team and demand
    5
         this person be crushed,’ one former employee
    6
         said.”
    7
            67. Birchall acknowledged that it was “likely         Wilson Decl. Ex. 2
    8
         [Musk] would have seen the headline at minimum”          (Birchall Dep. 68:25-
    9
         of Mr. Mac’s June 21, 2018, article, Arnold              70:8); id. Ex. 1 (Musk
   10
         confirmed “he expected this article to be either         Dep. 168:16-170:21); id.
   11
         reviewed by Mr. Musk or for someone in his               Ex. 7 (Arnold Dep.
   12
         various communications teams to have brought it          76:10-77:9); see also id.
   13
         to his attention,” and in response to being asked        Ex. 36.
   14
         whether he has “a great deal of journalistic respect
   15
         for BuzzFeed,” Musk testified “[n]ot particularly,”
   16
         which has been true “[s]ince I heard of them,”
   17
         while insisting that “their journalistic standards are
   18
         another matter, because even these sort of very
   19
         populist things, even the TMZs of the world have
   20
         journalistic standards.”
   21
            68. Prior to Musk’s August 30, 2018, e-mail to        Wilson Decl. Exs. 37-40;
   22
         Mr. Mac at BuzzFeed News, BuzzFeed News had              see also id. Ex. 35 (Mac.
   23
         already published at least four articles concerning      Decl. Ex. B).
   24
         Musk’s involvement in the cave rescue and his
   25
         accusations against Unsworth:
   26
            • On July 10, 2018, BuzzFeed News
   27
         published an article entitled “People Really Aren’t
   28

                                                    51
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    1
         Here for Elon Musk’s Submarine.”
    2
            • On July 15, 2018, BuzzFeed News
    3
         published an article entitled “Elon Musk Didn’t
    4
         Help Save The Thai Boys. Now He’s Attacking
    5
         Someone Who Did.”
    6
            • On August 28, 2018, BuzzFeed News
    7
         published an article authored by Mr. Mac entitled
    8
         “Elon Musk Has Revisited His Baseless Pedophile
    9
         Claims.”
   10
            • On August 29, 2018, BuzzFeed News
   11
         published an article authored by Mr. Mac entitled
   12
         “The Cave Rescuer Elon Musk Called a ‘Pedo’
   13
         Has Lawyered Up And Is Preparing A Libel
   14
         Claim.”
   15
            69. Musk published his “don’t you think it’s       Wilson Decl. Ex. 18;
   16
         strange he hasn’t sued me” tweet at 9:41 am on        Musk Decl. ¶ 38.
   17
         August 28, 2018, “in response to a tweet from
   18
         TechCrunch reporter Drew Olanoff.”
   19
            70. Beginning at 9:48 am on August 28, 2018,       Wilson Decl. Ex. 2
   20
         and continuing through August 29, 2018, Musk          (Birchall Dep. 109:18-
   21
         and Birchall were actively seeking to plant stories   110:6, 111:18-24,
   22
         in the UK and Australian media suggesting             114:23-115:21, 119:1-
   23
         Unsworth is a pedophile, with Birchall instructing    120:25, 125:13-126:3,
   24
         Howard in writing, among other things, “We            129:10-13, 163-64,
   25
         would like you to immediately move forward with       273:4-24); id. Ex. 33; id.
   26
         ‘leaking’ this information to the UK press.”          Ex. 25.
   27

   28

                                                  52
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    1
            71. Birchall confirmed that Musk authorized        Wilson Decl. Ex. 33; id.
    2
         Howard to plant the stories in the press, and that    Ex. 25; id. Ex. 2 (Birchall
    3
         the purpose of doing so was to “balance” the          Dep. 109:18-110:6,
    4
         media reporting on this issue:                        111:18-24, 114:23-
    5
            • The “we” in the above August 28, 2019, e-        115:21, 119:1-120:25,
    6
         mail refers to Birchall and Musk                      125:13-126:3, 129:10-13,
    7
            • Birchall testified “Yeah,” in response to        163-64, 273:4-24).
    8
         being asked whether “you wanted that story to be
    9
         published, and Musk wanted it to be published too.
   10
         True?”
   11
            • Birchall stated “I believe so, yes,” in
   12
         response to being asked whether “Mr. Musk
   13
         wanted this information leaked to the UK press”
   14
            • Birchall stated “Yes,” in response to being
   15
         asked “you said ‘We agree to it,’ and Musk said
   16
         that ‘I agree to it being leaked,’ right?”
   17
            • Birchall testified “Yes,” in response to being
   18
         asked that “you are saying [in the August 28 email
   19
         to Howard above] that you and Mr. Musk did want
   20
         these leaks to happen immediately, true?”
   21
            • In response to being asked whether he was
   22
         “[h]oping to get a story about Vernon Unsworth,”
   23
         Birchall testified that “wherever the cards would
   24
         fall in investigative work, gathering information –
   25
         but yes, something that would be – would have
   26
         people question the motive for being in Thailand”
   27
         and that “pedophilia” “would be among the things
   28

                                                      53
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    1
         that people would question …”
    2
            • Birchall testified that there are “many
    3
         people who seek to discredit him [Musk] … and
    4
         my instinct to protect was that we needed to
    5
         somehow balance, because there was a clear
    6
         imbalance in what was in the media.”
    7
            • Birchall testified “Yes” in response to being
    8
         asked whether the “fact of the matter is you and
    9
         Elon Musk wanted this information contained in
   10
         Exhibit 66 and forwarded to the Sun as reflected
   11
         on Exhibit 67, you and Mr. Musk wanted this
   12
         information to be public; to be written about by the
   13
         media, true?”
   14
            • Birchall testified that it was “Likely” that
   15
         “Mr. Musk would have known that you were
   16
         suggesting the avenue of also publishing in
   17
         Australia”
   18
            • And, Birchall testified that it’s “true” that
   19
         the information planted in the press was made
   20
         “without any disclosure that it was coming from
   21
         Elon Musk or one of his investigators.”
   22
            72. Musk was responding to a written request        Wilson Decl. Ex. 19.
   23
         for comment when he published to Mr. Mac his
   24
         “child bride” and “child rapist” e-mail on August
   25
         30, 2018, e-mail.
   26
            73. Musk unilaterally designated his August 30,     Wilson Decl. Ex. 19; id.
   27
         2018, “child bride” and “child rapist” e-mail as       Ex. 35 (Mac. Decl. ¶ 5);
   28

                                                   54
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    1
         “off the record” without prior agreement with          id. Ex. 1 (Musk Dep.
    2
         BuzzFeed News or Mr. Mac, and Musk did not ask         181:12-16).
    3
         Mr. Mac before he provided the information
    4
         whether he would agree that it would be off the
    5
         record.
    6
            74. When Musk was told by Mr. Mac prior to          Wilson Decl. Ex. 19.
    7
         the publication of BuzzFeed’s September 4, 2018,
    8
         article entitled “In A New Email, Elon Musk
    9
         Accused A Cave Rescuer Of Being A ‘Child
   10
         Rapist’ And Said He ‘Hopes’ There’s A Lawsuit,”
   11
         Musk responded in material part as follows:
   12
            “If you want to publish off the record comments
   13
         and destroy your journalistic credibility, that’s up
   14
         to you.”
   15
            75. Sam Teller, Musk’s chief of staff and the       Wilson Decl. Ex. 6
   16
         person principally responsible for his public          (Teller Dep. 11:17-12:7,
   17
         relations efforts, acknowledged that when Musk         27:2-18, 334:13-25).
   18
         stated “that’s up to you,” he “left it up to Mr. Mac
   19
         whether to publish it or not under the threat, as he
   20
         saw it, that if he did so, it would destroy Mr.
   21
         Mac’s journalistic credibility.”
   22
            76. Musk testified that he expected and intended    Wilson Decl. Ex. 1
   23
         that the accusations he made would be published        (Musk Dep. 189:7-
   24
         whether true or false:                                 190:6).
   25
            • Q: … I’ve gotten this information from the
   26
         investigator. I don’t know whether it’s true or not.
   27
         But you wanted Ryan Mac to investigate it. Is that
   28

                                                   55
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    1
         a fair characterization of your testimony?
    2
            • A. Yeah.
    3
            • Q. And if he discovered that it was true,
    4
         you fully would have expected him to publish that,
    5
         true? (Emphasis added)
    6
            • A. I have expected him to, yes, take some
    7
         action if – if this – you know, Unsworth was up to
    8
         no good, to bring that to light.
    9
            • Q. Publish it and let folks know, right?
   10
            • A. If true.
   11
            • Q. That’s what you thought when you sent
   12
         it to him?
   13
            • A. Yes.
   14
            • Q. And if he did not find any evidence to
   15
         support it, did you likewise expect that he would
   16
         report that. That he had looked into it and could
   17
         not find any substantiation?
   18
            • A. Yes.
   19
            77. Musk’s August 30, 2018, “child rapist” and    Wilson Decl. Ex. 19.
   20
         “child bride” referred to Mr. Mac in the first
   21
         sentence as a “fucking asshole.”
   22
            78. Musk testified that he did not know           Wilson Decl. Ex. 1
   23
         anything about Mr. Mac other than “[t]here was       (Musk Dep. 167:5-
   24
         this email correspondence, obviously. Apart from     169:25).
   25
         that, no.”
   26
            79. Musk acknowledges that what he does is        Wilson Decl. Ex. 1
   27
         generally news and that he does not trust the        (Musk. Dep. 320:4-
   28

                                                   56
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    1
         media: “I mean, it’s a torrent of media. And I        321:19, 85:2-9); see also
    2
         don’t know. The media, to be frank, is –              Ex. 41 (Musk tweet
    3
         especially over the last few years, has caused me     stating “The media has
    4
         to lose some faith in humanity.”                      earned this mistrust”).
    5
            80. Birchall similarly acknowledged Musk’s         Wilson Decl. Ex. 2
    6
         newsworthiness: “Yeah, I mean, in general you         (Birchall Dep. 120:5-12).
    7
         have someone who has disrupted many industries,
    8
         and [who] as a result has many people who seek to
    9
         discredit him, and therefore any data point, good
   10
         or bad, is blown extremely out of proportion in the
   11
         media …”
   12
            81. Dave Arnold, Tesla’s global                    Wilson Decl. Ex. 7
   13
         communications director at the relevant time,         (Arnold Dep. 10:7-15,
   14
         confirmed that “[i]t was up to [BuzzFeed] if they     102:5-14).
   15
         want to publish” the email” that Musk unilaterally
   16
         labeled off the record.
   17
            82. Arnold confirmed that Musk: was “taking a      Wilson Decl. Ex. 7
   18
         chance” attempting to “unilateral[ly] dictate” that   (Arnold Dep. 103:6-24,
   19
         the email be off the record; “could . . . have been   104:13-105:4, 119:19-
   20
         more careful and . . . asked in advance for . . . a   120:11).
   21
         formal agreement,” which is “what [Arnold]
   22
         would have done as a communications person”;
   23
         and has “a higher duty to . . . do what he can to
   24
         ensure it’s not printed.”
   25
            (Emphasis added)
   26
            83. Arnold confirmed that Musk failed to do the    Wilson Decl. Ex. 7
   27
         “prudent thing” and was “taking a risk” in            (Arnold Dep. 111:17-
   28

                                                    57
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    1
         unilaterally stating “off the record” when making a   112:3; 114:12-115:18,
    2
         “heinous accusation” to Mac who has a history of      116:4-16; 116:19-117:3;
    3
         being critical of Musk, particularly given that       117:12-118:6, 120:16-
    4
         Musk decided to repeatedly insult Mac, who in         121:2, 124:2-125:10,
    5
         return, was making reasonable requests.               126:1-127:6, 128:10-
    6
            “Mr. Musk knows that when he says something,       129:13, 129:20-130:1,
    7
         it is potentially news” and “therefore, Mr. Musk      143:20-144:11); id. Ex.
    8
         has to be careful both in what he says and who he     19.
    9
         says it to.” And under the circumstances, in which
   10
         when Musk talks “it’s news,” and he has “to be
   11
         careful” making “a heinous accusation” to a
   12
         reporter “who has, within two months, produced
   13
         an article profiling Mr. Musk and his companies in
   14
         a way that is critical of all four,” the “prudent
   15
         thing to do” would have been to first contact Mac
   16
         and ask “can we have an off the record
   17
         conversation.”
   18
            Instead, Musk sent Mac a string of emails that
   19
         were “demeaning” and “insulting” in response to
   20
         Mac’s “reasonable request[s],” leading to the email
   21
         stating “off the record” and then in the very next
   22
         sentence calling Mac a “fucking asshole.” Arnold
   23
         confirmed that “even if you've got some level of
   24
         confidence that somebody's, from a historical
   25
         standpoint, going to keep your confidence, you're
   26
         pushing the line when you call them a fucking
   27
         asshole in the first sentence,” and “[i]t makes it
   28

                                                    58
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    1
         harder” “to keep the information unilaterally off
    2
         the record,” and “increased the chances that Ryan
    3
         Mac might publish that information.”
    4
            Arnold confirmed that if he, himself, had sent
    5
         the email “[i]t's hard to envision anybody
    6
         reasonably expecting that a reporter who he has
    7
         no established relationship of trust with is going to
    8
         keep information confidential and off the record at
    9
         his unilateral request when he starts off giving the
   10
         information in the first sentence calling the
   11
         reporter a fucking asshole . . . .”
   12
            Arnold further confirmed that “when it comes
   13
         from Elon Musk on a subject matter that has been
   14
         out front as one of the most covered news events
   15
         in recent weeks and months, the chances of that
   16
         being news to be published are significantly higher
   17
         than it's just from the average Joe . . . .”
   18
            (Emphasis added).
   19
            84. Arnold also acknowledged that the                Wilson Decl. Ex. 7
   20
         BuzzFeed editor, Ben Smith, with whom he spoke          (Arnold Dep. 53:4-16;
   21
         about the “off the record” issue disagreed with         144:22-145:4, 165:25-
   22
         Arnold that Musk could unilaterally make the            166:4, 168:11-20,
   23
         email “off the record.” Arnold spoke highly of          168:24-169:6; id. Ex. 42;
   24
         Smith, who he had known for ten years, with             id. Ex. 35 (Mac. Decl. ¶
   25
         whom he personally had a good relationship, and         5).
   26
         whom he believes to be “a solid journalist.” Smith
   27
         conveyed that Arnold had “been doing this long
   28

                                                        59
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    1
         enough to know that you agree to the terms of a
    2
         conversation in advance.” Smith was not swayed
    3
         by Arnold’s attempts to argue otherwise.
    4
         E.      Musk Subjectively Intended “Pedophile” and Otherwise Understood
    5
                                      It Would Be So Understood
    6
              85. Musk tweeted “pedo guy,” and that it was      Wilson Decl. Ex. 14.
    7
         “sus” that Unsworth was allegedly a “British expat
    8
         guy who lives in Thailand,” not that Unsworth was
    9
         a “weird guy” or a “creepy old man.”
   10
              86. Musk tweeted “Bet ya a signed dollar it’s     Wilson Decl. Ex. 15.
   11
         true” in direct response to a tweet stating “he’s
   12
         calling the guy who found the children a pedo.”
   13
              87. Immediately prior to publishing his “pedo     Wilson Decl. Ex. 1
   14
         guy” and “sus” tweet, Musk testified:                  (Musk Dep. 24:10-25:21,
   15
              • “[S]hortly before the tweet” “I did just sort   42:4-43:8); Musk Decl. ¶
   16
         of a Google search on Chiang Rai and this article      22.
   17
         came up from … one newspaper about how
   18
         Chiang Rai was essentially the capital of sex
   19
         trafficking in the world.”
   20
              • “And then I was like – googled him, oh, he
   21
         was like, lives in Thailand. Okay, that’s pretty
   22
         suspicious. English expat, doesn’t seem to be –
   23
         have been on the dive team, in a very dodgy part
   24
         of the world.”
   25
              88. According to Musk, Thailand is “dodgy”        Wilson Decl. Ex. 1
   26
         because “it is a place where dodgy people go, in       (Musk Dep. 35:25-
   27
         my experience. People who are often up to no           40:11).
   28

                                                    60
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    1
         good,” such as “Jared the Subway guy,” who “was
    2
         going to Thailand for … bad reasons” and was
    3
         engaged in pedophilia or something,” and “Gary
    4
         Glitter,” who “went to Thailand from England to
    5
         have sex with underage kids.”
    6
            89. Although Musk testified that “pedo guy” is       Wilson Decl. Ex. 1
    7
         a “common insult” “[g]rowing up in South                (Musk Dep. 51:24-53:5).
    8
         Africa,” he acknowledged that he has “not used
    9
         those words publicly.”
   10
            90. Musk’s chief of staff, Sam Teller, had never     Wilson Decl. Ex. 6
   11
         heard Musk state that the term “pedo guy” meant         (Teller Dep. 57:23-60:25,
   12
         anything other than pedophile from Musk, and            61:1-25, 65:15-66:24).
   13
         from Teller’s standpoint, he “understood pedo guy
   14
         to be a reference to pedophilia” and “that word
   15
         was a shortened version of the word ‘pedophilia.’”
   16
         Teller could not recall Musk ever attempting to
   17
         clarify that he did not mean pedophile, and the first
   18
         time he heard “creepy old man” was in connection
   19
         with Musk’s summary judgment motion.
   20
            91. Musk and his team received numerous              Wilson Decl. Ex. 1
   21
         google alerts and press inquiries and compiled          (Musk Dep. 319:1-6); id.
   22
         lengthy lists of press articles describing the          Ex. 43; id. Ex. 44; id. Ex.
   23
         accusation of as one of “pedophile,” “pedophilia,”      32; id. Ex. 45.
   24
         or “pedo,” and never clarified Musk’s alleged
   25
         intent, instead: “We should definitely just ignore
   26
         these inquiries.”
   27
            92. In a July 17, 2018, draft internal company e-    Wilson Decl. Ex. 16.
   28

                                                    61
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    1
         mail, Musk stated that he “understand[s] that my
    2
         recent behavior has probably embarrassed you and
    3
         I’m sorry. I apologize to Vernon Unsworth and
    4
         am reaching out to him to personally convey this
    5
         …” without any reference to “pedo guy” meaning
    6
         something other than “pedophile.”
    7
            93. When Musk tweeted his alleged “apology,”       Wilson Decl. Ex. 17; id.
    8
         on the night of July 17, 2018, he referenced a        Ex. 46.
    9
         “well-written article” which, itself, contains
   10
         numerous references to his July 15 tweets being a
   11
         “pedophile accusation.”
   12
            94. Musk has admitted and asserted in judicio in   Wilson Decl. Ex. 47
   13
         his Motion to Dismiss:                                (Musk Motion to Dismiss
   14
            • that he was “[r]eferencing Thailand’s            at 4, 7 15-16, 23).
   15
         documented reputation, [when] Musk said that
   16
         Unsworth was ‘sus’ for being a ‘British expat guy
   17
         who lives in Thailand,” and “referring back to
   18
         these suspicions, Musk dubbed Unsworth ‘pedo
   19
         guy’”;
   20
            • that he was “trading on Thailand’s
   21
         reputation”;
   22
            • that the Tenth Circuit has cited a
   23
         “congressional committee report that identifies
   24
         Thailand as a country experiencing significant
   25
         problems with sex tourism,”;
   26
            • that “the reasonable reader would make this
   27
         connection” citing to a California case “reasoning
   28

                                                   62
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    1
         that the ‘prosecution did not [need to] explicitly
    2
         tell the jury that defendant may have gone to
    3
         Thailand to have sex with children’ because that
    4
         ‘was implicit in the mere mention of Thailand’”;
    5
         and
    6
            • that “Musk’s conclusions about Unsworth
    7
         were ‘inherently subjective’ because they were
    8
         based on his personal judgment and assessment of
    9
         the fact that Unsworth was a British expat who
   10
         lived in Thailand.” (Emphasis added).
   11
            95. Musk acknowledged that he meant                    Wilson Decl. Ex. 1
   12
         “pedophile” when he testified that he hired and           (Musk Dep. 63:9-24).
   13
         paid an investigator, Howard, more than
   14
         $50,000.00 to surveil and investigate Unsworth
   15
         because:
   16
            • “And I was like, well, what if this is a real
   17
         situation? What if what we have here is another
   18
         Jeffrey Epstein. … And what if he uses whatever
   19
         celebrity he gains from this cave rescue to shield
   20
         his bad deeds? This would be terrible. And so this
   21
         was like, wow, somebody should really look into
   22
         this and just find out what is the real situation here.
   23
         When I said ‘pedo guy,’ I didn’t mean that he
   24
         was literally a pedophile; it was just an insult.
   25
         But after getting this information from this
   26
         investigator through Jared, I was like, well, maybe
   27
         he is actually a pedophile." (Emphasis added)
   28

                                                    63
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    1
            96. In an August 24, 2018, e-mail, Birchall          Wilson Decl. Ex. 21.
    2
         wrote to Howard of their goal:
    3
               “Was his current wife the girl he finally
    4
         settled on after a period of ‘exploring’ the world of
    5
         underaged Thai girls?”
    6
            97. On August 26, 2018, Birchall e-mailed            Wilson Decl. Ex. 21.
    7
         Howard stating: “for successful confirmation of
    8
         nefarious behavior there is an additional $10k
    9
         bonus.”
   10
            98. On August 28, 2018, Musk tweeted “You            Wilson Decl. Ex. 18.
   11
         don’t think it’s strange he hasn’t sued me yet” in
   12
         direct response to a tweet stating “your dedication
   13
         to facts and truth would have been wonderful if
   14
         applied to that time when you called someone a
   15
         pedo.”
   16
            99. As set forth herein, Musk instructed his         Wilson Decl. Ex. 22; id.
   17
         investigator to “leak” stories to the press beginning   Ex. 25.
   18
         August 28, 2018, with Birchall e-mailing:
   19
               “We would like you to immediately move
   20
         forward with ‘leaking’ this information to the UK
   21
         press. …: Thailand is the world capital of
   22
         pedophilia[;] This man has frequented Thailand
   23
         since the 80’s – eventually leading to his divorce
   24
         to his wife in the UK[;] While the guise of cave
   25
         exploration is creative, there are amazing and
   26
         extensive caving systems in many places
   27
         throughout the world – not just in Thailand …[;]
   28

                                                   64
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    1
         He eventually woman 30 years his minor – whom
    2
         he met while she was a teenager[;] He had been
    3
         going to Thailand for decades before marrying her.
    4
         She wasn’t the first girl he met – and definitely not
    5
         the first teenager he interacted with.”
    6
            100.       On August 30, 2018, Musk accused          Wilson Decl. Ex. 19.
    7
         Unsworth of being a “child rapist” and having a
    8
         “child bride” in an e-mail to a BuzzFeed reporter,
    9
         Ryan Mac.
   10
          F.       Musk and His Companies Engaged In Substantial Publicity Efforts
   11
                      With Respect to His Tube Before and After the Rescue
   12
            101.       Musk himself acknowledged in his          Wilson Ex. 1 (Musk Dep.
   13
         deposition that he “can see how this would look         262:2-14); id. Ex. 48.
   14
         like a ‘narcissistic PR stunt,’” in reference to a
   15
         Financial Times article headlined “Elon Musk’s
   16
         weakness for self-promotion masks his potential”
   17
         and sub-headlined “The billionaire’s meddling in
   18
         the Thai cave rescue looks like a narcissistic PR
   19
         stunt.”
   20
            102.       Musk engaged in substantial publicity     Wilson Decl. Ex. 6
   21
         efforts related to the Rescue, “Tweeting almost         (Teller Dep. 162:13-17,
   22
         daily about it,” with “videos and pictures.” And,       166:16-21); id. Ex. 49;
   23
         as Teller admitted, “Musk wanted to publicize the       id. Ex. 50.
   24
         efforts that SpaceX” was “making to build this
   25
         tube.” Employees at Musk’s companies were
   26
         likewise engaged in a PR push related to the Tube.
   27
            103.       Musk’s publicity efforts related to the   Wilson Decl. Ex. 62; id.
   28

                                                    65
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    1
         Rescue and the Tube even raised concerns within        Ex. 6 (Teller Dep.
    2
         his team, including worries that “it makes             162:13-25).
    3
         engineers at our company lose confidence in
    4
         Elon.”
    5
            104.       Teller admitted that “prior to the       Wilson Decl. Ex. 6
    6
         ‘pedo guy’ Tweet . . . there had been a fair amount    (Teller Dep. 53:10-24);
    7
         of negative press about how public Elon Musk had       id. Ex. 51; id. Ex. 48; id.
    8
         been, posting videos and other information on his      Ex. 52.
    9
         Twitter account, in terms of putting out there his
   10
         efforts to help the children? He had gotten a
   11
         significant amount of negative publicity for doing
   12
         that[ – ] . . . for his publicly talking about it so
   13
         much.” And Tesla’s communications team
   14
         collected and distributed (including to Teller)
   15
         media reports that were critical of the Tube and/or
   16
         Musk’s publicity efforts.
   17
            105.       Teller acknowledged that Musk was        Wilson Decl. Ex. 6
   18
         “[c]ertainly” “unhappy with all of the coverage        (Teller Dep. 88:13-21).
   19
         that criticized his efforts with the tube, including
   20
         the coverage that was suggesting that it was a PR
   21
         stunt,” and “that was before Mr. Unsworth ever
   22
         said a word to CNN.”
   23
            106.       On July 9th (PDT), before the Boys       Wilson Decl. Ex. 51.
   24
         were rescued, Teller told Musk that the BBC was
   25
         reporting that the Thai “head of the rescue
   26
         mission,” who was the Thai regional governor,
   27
         stated that “even though” Musk and his
   28

                                                      66
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    1
         companies’ “equipment is technologically
    2
         sophisticated, it doesn’t fit with our mission to go
    3
         in the cave” and was “not practical.”
    4
            107.      Musk responded before the Boys             Wilson Decl. Ex. 53.
    5
         were rescued by telling Davis and Teller on July
    6
         9th (PDT) that “[w]e need to go all out and make
    7
         this guy retract his comment,” and that they
    8
         “should . . . test [the Tube]” in a special apparatus
    9
         that simulated some of the conditions in the Cave.
   10
            108.      On July 10th, before the Boys were         Wilson Decl. Ex. 6
   11
         all rescued, Musk and members of his team that          (Teller Dep. 228:17-
   12
         were supposed to be engaged in developing the           229:16); id. Ex. 53; id.
   13
         Tube were instead enlisting the Thai government         Ex. 8 (Davis Dep. 10:5-6,
   14
         (including the Thai Prime Minster) to publicly          10:17-11:2, 93:23-94:5
   15
         reverse a statement by the Thai regional                (stating discussions with
   16
         governor’s statement that the Tube was not              consul occurred before
   17
         practical and did not fit the mission. Those efforts    July 10th, 12:12 am
   18
         included:                                               EDT), 94:17-95:7,
   19
            • Using the Thai Consul in Los Angeles as an         100:16-101:10, 105:25-
   20
         intermediary to get the Thai Prime Minster to issue     106:8 , 108:4-17, 109:19-
   21
         a statement “revers[ing] the statement that the         110:2, 112:18-113:14,
   22
         Tube did not fit the mission and was not practical,”    116:4-118:8, 119:24-
   23
         and even attempting to get the Prime Minister to        121:5, 130:16-132:10);
   24
         issue a statement drafted by Musk’s team—an             id. Ex. 54.
   25
         effort that was largely led by Steve Davis, the
   26
         president of the Boring Company and a SpaceX
   27
         engineer.
   28

                                                    67
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    1
            • Teller, who was upset about the statement
    2
         and called the former Thai regional governor an
    3
         “ungrateful asshole,” also attempted to craft
    4
         statements that would then be issued by the Thai
    5
         government, including the Prime Minister. Teller
    6
         suggested that the “PM should say SpaceX is
    7
         awesome. Enginerrrs [sic] helpful[.] Pod not
    8
         necessary because this went well but it’s a useful
    9
         and cool desig[n].”
   10
            • Davis or someone he worked with conveyed
   11
         to the Secretary General of the Thai Prime Minister
   12
         that the Prime Minster’s statement should “stress
   13
         that the mini sub would have worked and was
   14
         designed with feedback from the divers,” and that
   15
         the “min subs are [a] technically sound and
   16
         practical solution” for the rescue.
   17
            • The former Thai governor would not engage
   18
         with Musk’s efforts to release a public statement
   19
         “until mission is over.”
   20
            • Still, before the Boys were all rescued,
   21
         Musk’s team was able to arrange a three prong
   22
         publicity approach related to the Tube in which
   23
         they gave the “US military” a statement, the Thai
   24
         “PM office [was] hit from all sides – consul, our
   25
         team on ground,” and the Thai “Governor office
   26
         hit by higher ups but will take no action.”
   27
            • Davis communicated to Teller that the Thai
   28

                                                   68
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    1
         Prime Minister “will be holding press conference
    2
         and will say what we want,” including mentioning
    3
         Tesla’s “Powerall donation.” All of which was
    4
         occurring before the Boys were even all rescued.
    5
            • Davis recommended that “[o]nce the kids
    6
         are out, we should demo the sub in the cave.”
    7
            • At 5:13 am EDT, before all the Boys were
    8
         rescued, Davis confirmed to Teller the Thai Prime
    9
         Minster would soon be posting a written statement
   10
         on a “website” soon related to the Tube and Musk
   11
            109.      Davis conceded that their “concern”      Wilson Decl. Ex. 8
   12
         about the “Thai governor’s office official publicly   (Davis Dep. 104:8-19).
   13
         stating that the tube was ‘not practical’” did not
   14
         have “anything whatsoever to do with efforts to
   15
         save these children and their coach.”
   16
            110.      Davis admitted that he spent “a lot      Wilson Decl. Ex. 8
   17
         more time texting” with Teller and Musk “about        (Davis Dep. 106:18-25);
   18
         the publicity regarding the ‘not practical’ comment   id. Ex. 55; id. Ex. 54.
   19
         than . . . about helping these kids.”
   20
            111.      Before the Boys were all rescued, the    id. Ex. 56.
   21
         Thai Prime Minister made comments about Musk
   22
         and the Tube, including that “[w]ith regards to the
   23
         (cave) problem, [Musk] said he had his
   24
         technology,” “[t]he tools he brought are all
   25
         useful,” and Musk “understands everything.”
   26
            112.      Before the Boys were all rescued,        Wilson Decl. Ex. 56.
   27
         Teller distributed a translation of the Thai Prime
   28

                                                   69
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    1
         Minister’s statement about Musk and the Tube to
    2
         members of the media, including the BBC, the
    3
         Guardian, Business Insider, Bloomberg, and NBC.
    4
            113.      After the Boys were all rescued,           Wilson Decl. Ex. 8
    5
         Musk’s team communicated about trying to test           (Davis Dep. 138:16-
    6
         the Tube, and that “E[lon] will call the PM [of         139:12, 139:20-140:5);
    7
         Thailand] if necessary.” Musk’s team concocted          id. Ex. 54; id. Ex. 6
    8
         an excuse for testing the Tube despite the              (Teller Dep. 216:11-23);
    9
         completion of the Rescue: “We can say we want to        id. Ex. 57; id. Ex. 9
   10
         test it so that we know it’s viable for future use[.]   (Harris Dep. 122:5-123:1
   11
         Etc[.] Thanks.” When Davis questioned whether it        (“So it as after the – all
   12
         “[h]as to be same cave? To the boys spot?”, Teller      the kids were out. Elon
   13
         who was traveling with Musk responded, “That’s          had asked if it was
   14
         what he said. If not possible then let’s tell him with possible to take the pod
   15
         a next best option.” A SpaceX employee then             in there all the way and
   16
         called Musk to “talk[] him out of it.”                  see if it would be able to
   17
            Davis proposed alternatives including to “train      make it through the
   18
         in the Navy pools” in Bangkok,” and sent pictures       passes…”).
   19
         to Teller of “training” with the Tube, hoping it
   20
         “helps.” Teller rejected the pictures as “useless”
   21
         because the Tube was “[n]ot in water.”
   22
            Musk’s request to take the tube into the cave
   23
         after the fact was also documented on a WhatsApp
   24
         chat with Musk’s team, with person on “the
   25
         marketing team at SpaceX” and Armor Harris
   26
         stating on July 10, after the boys were rescued,
   27
         “we can’t accommodate Elon’s request to send
   28

                                                    70
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    1
         them into the cave with the pod. Would require 4
    2
         divers (2 to stage thanks ahead of the main dive, 2
    3
         to do the main dive). We can’t ask them to go in
    4
         there and risk their lives for a demo that won’t
    5
         make the pod any more useful for future
    6
         scenarios…”
    7
            114.      On July 11, 2018, Musk publicly          Wilson Decl. Ex. 61.
    8
         responded to the widespread criticism of his tube
    9
         and his motivations for sending it to Thailand,
   10
         tweeting:
   11
            “This reaction has shaken my opinion of many
   12
         people. We were asked to create a backup option
   13
         & worked hard to do so. Checked with the dive
   14
         team many times to confirm it was worthwhile.
   15
         Now it’s there for anyone who needs it in future.
   16
         Something’s messed up if this is not a good thing.”
   17
            115.      More than one week after the Boys        Wilson Decl. Ex. 6
   18
         were rescued, Musk also publicized through            (Teller Dep. 271:17-23,
   19
         Twitter an article by a Quora user that painted a     273:12-15); id. Ex. 58;
   20
         positive picture of Musk and his team’s Rescue        id. Ex. 17.
   21
         efforts, including related to the Tube.
   22
            116.      Davis admitted that “[t]he goal should   Wilson Decl. Ex. 8
   23
         never have been about getting photographs or          (Davis Dep. 152:11-16).
   24
         videos to publicize someone's voluntary efforts to
   25
         save another's life just for positive publicity.”
   26
            117.      Even as of September 9, 2019, “the       Wilson Decl. Ex. 8
   27
         project manager for the design of the pod,”           (Harris Dep. 11:14-18,
   28

                                                    71
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    1
         testified that there was a “significant amount of   24:22-28:15).
    2
         uncertainty with regard “how big that smallest
    3
         restriction” in the cave was, and he “can’t say”
    4
         whether the “the pod would have made it to the
    5
         boys.”
    6

    7

    8

    9

   10

   11

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    1

    2                         PLAINTIFF’S RESPONSE TO DEFENDANT’S
    3                        STATEMENT OF UNCONTROVERTED FACTS
    4

    5         Defendant’s Uncontroverted          Plaintiff’s Response and Supporting
    6        Facts and Supporting Evidence                      Evidence
    7
                            A. The Thai Cave Rescue and Plaintiff’s Role3
    8

    9          1. On June 23, 2018, members       Undisputed.
   10       of a Thai youth soccer team, and
   11       one of their coaches went missing
   12       in the Tham Luang Cave System in
   13       the Chiang Rai province of
   14       Thailand.
   15          (Dkt. 1, Complaint (“Compl.”) ¶
   16       23.)
   17          2. Within days of the soccer       Undisputed.
   18       team going missing, an
   19       international search and rescue
   20       mission to locate the team was
   21       undertaken.
   22          (Compl. ¶¶ 2, 3, 23-61.)
   23          3. The story of the stranded       Undisputed.
   24       soccer team and the efforts to
   25       rescue them captured the attention
   26
   27   3
         Musk’s headings for his facts are included herein without response from
   28   Unsworth only for the convenience of the Court and should not be deemed to be an
        admission of any kind.
                                                 73
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    1
            of the world.
    2
               (Id.)
    3
               4. On June 24, 2018, Plaintiff        Undisputed.
    4
            Vernon Unsworth (“Mr.
    5
            Unsworth”) traveled to the cave
    6
            system after learning that the soccer
    7
            team had gone missing.
    8
               (Compl. ¶¶ 29-30.)
    9
               5. Mr. Unsworth participated in       Undisputed, but an incomplete statement
   10
            efforts to rescue the soccer team       of Unsworth’s efforts with regard to the
   11
            (the “Thai Cave Rescue”).               Thai Cave Rescue. Unsworth has been
   12
               (Compl. ¶¶ 2, 31-41.)                described by critical members of the
   13
                                                    rescue team4 as:
   14
                                                     •    “a lynchpin of the operation”
   15
                                                    without whom “the chances of a
   16

   17   4
          Unsworth would have thought his efforts and role to in the cave rescue to have
   18
        been immaterial to Musk’s motion about his own alleged state of mind regarding
        false accusations of pedophilia and child rape. Thus, Unsworth would not have
   19   burdened the Court with this additional information but for Musk’s continued
   20
        efforts to defame and assassinate Unsworth’s character via publicly filed pleadings,
        including presenting as true the unverified statements of Howard that Musk himself
   21   admitted under oath were false while omitting that Howard never provided
   22   documentation to substantiate any defamatory statement and that Howard reported
        information directly contradicting Musk’s accusations. With regard to Unsworth’s
   23   efforts in the cave rescue, Musk stated in his brief that “[b]eyond” having “traveled
   24   to the cave system,” and “contacted divers and advised the rescue team about where
        the missing boys might be found,” Unsworth “did not assist in the rescue or
   25   participate in any of the cave diving necessary to the rescue” and “he certainly did
   26   not put his life at risk, as so many others did.” (Dkt. 58 (“Mot.”) 3.) There is no
        good reason whatsoever for Musk to belittle Unsworth’s contributions in saving the
   27   lives of thirteen individuals, though his expected purpose is more fully described
   28   herein in Plaintiff’s Statement of Additional Material Facts Precluding Summary
        Judgment, and is plainly motivated by ill will, malice, and spite.
                                                     74
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    1
                                            successful outcome would have been very
    2
                                            low indeed” (Dr. Rob Harper);
    3
                                              •    “essential and pivotal” without
    4
                                            whose “presence at Tham Luang from the
    5
                                            start of the rescue all thirteen of the
    6
                                            trapped party would now be dead” (Mr.
    7
                                            Martin Ellis);
    8
                                              •    “vital to its [the rescue’s] planning”
    9
                                            without whose “intervention, the boys
   10
                                            could all have died in those caves” (Mr.
   11
                                            Richard William Stanton MBE GM);
   12
                                              •    “If I was to name one person who
   13
                                            was crucial to the mission and successful
   14
                                            rescue of the children, it would be Vernon
   15
                                            Unsworth,” whose “firsthand knowledge
   16
                                            of the cave and caving expertise was
   17
                                            invaluable to the rescue effort.”
   18
                                              (Wilson Decl. Ex. 10 (Harper Decl. ¶ 8);
   19
                                            id. Ex. 11 (Ellis Decl. ¶¶ 9, 12); id. Ex. 12
   20
                                            (Stanton Decl. ¶¶ 5, 8); id. Ex. 13 (Svasti
   21
                                            Decl. ¶¶ 4-5).)
   22
                                              Responding further, Unsworth testified
   23
                                            that “[w]ell over 10,000 people, which
   24
                                            included volunteers and cave rescuers,”
   25
                                            from “at least 24 countries” “contributed
   26
                                            to the cave rescue,” which successfully
   27
                                            ended on July 10, 2018.
   28

                                              75
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    1
                                                  (Wilson Decl. Ex. 3 (Unsworth Dep.
    2
                                                155:16-157:15).)
    3
            6. On or about June 29, 2018,         Undisputed as stated, but not a material
    4
         Mr. Unsworth was interviewed by        fact.
    5
         BBC- Thai regarding the Thai Cave
    6
         Rescue.
    7
            (Declaration of Michael T.
    8
         Lifrak (“Lifrak Decl.”), ¶ 3.)
    9
            7. On July 3, 2018, The New           Undisputed as stated, but not a material
   10
         York Times published an article        fact.
   11
         titled “Thailand Cave Rescue Turns
   12
         to How to Extract Trapped Soccer
   13
         Team,” which quoted Mr.
   14
         Unsworth.
   15
            (Lifrak Decl. Ex. 3.)
   16
            8. On July 4, 2018, The Daily         Undisputed as stated, but not a material
   17
         Mail published an article about Mr.    fact.
   18
         Unsworth titled “British caver is
   19
         hailed a ‘magician’ after
   20
         convincing Thai officials to bring
   21
         in heroic UK divers who found
   22
         stranded schoolboys, aided by his
   23
         knowledge of the tunnels.”
   24
            (Lifrak Decl. Ex. 4.)
   25
            9. On July 13, 2018, CNN              Undisputed as stated, but not a material
   26
         published an article titled “British   fact.
   27
         diver recalls Thai cave rescue: ‘Are
   28

                                                  76
Case 2:18-cv-08048-SVW-JC Document 76 Filed 10/07/19 Page 79 of 201 Page ID #:1090



    1
         we heroes? No,’” which quoted Mr.
    2
         Unsworth and described his
    3
         involvement in the rescue.
    4
            (Lifrak Decl. Ex. 5.)
    5
            10. On July 15, 2018, The                Undisputed as stated, but not a material
    6
         Sunday Times published an article         fact.
    7
         titled “Exclusive interview with
    8
         cave rescue hero Vernon Unsworth:
    9
         ‘If the Brits hadn’t been called in, it
   10
         would have been too late,” which
   11
         quoted Mr. Unsworth and described
   12
         his involvement in the rescue.
   13
            (Lifrak Decl. Ex. 6.)
   14
            11. On December 3, 2018, in its           Evidentiary Objection
   15
         December “Men of the Year”                   Irrelevant to any issue in dispute on this
   16
         edition, GQ Magazine published an         motion (FRE 401), waste of time (FRE
   17
         article titled “Miracle At Tham           403).
   18
         Luang” that described Mr.                    Response
   19
         Unsworth’s involvement in the                Undisputed as stated, but not a material
   20
         Thai Cave Rescue.                         fact.
   21
            (Lifrak Decl. Ex. 7.)
   22
            12. Mr. Unsworth testified that at        Evidentiary Objection
   23
         the Thai Cave Rescue site, his “face         Irrelevant to any issue in dispute on this
   24
         was very well known to reporters.”        motion (FRE 401), waste of time (FRE
   25
            (Lifrak Decl. Ex. 1 (Unsworth          403).
   26
         Dep. at 292:11-18).)                         Response
   27
                                                      Undisputed as stated, but not a material
   28

                                                     77
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    1
                                               fact.
    2
            13. In June 2019, Mr. Unsworth        Evidentiary Objection
    3
         was titled a Member of the Most          Irrelevant to any issue in dispute on this
    4
         Excellent Order of the British        motion (FRE 401), waste of time (FRE
    5
         Empire (MBE).                         403).
    6
            (Lifrak Decl. Ex. 1 (Unsworth         Response
    7
         Dep. 102:2-15); Ex. 9 (Rog Resp.)        Undisputed as stated, but not a material
    8
         at 7.)                                fact.
    9
            14. Mr. Unsworth participated in      Evidentiary Objection
   10
         two National Geographic                  Irrelevant to any issue in dispute on this
   11
         documentaries titled “The Cave”       motion (FRE 401), waste of time (FRE
   12
         and “Drain the Oceans.”               403), vague.
   13
            (Lifrak Decl. Ex. 9 (Rog Resp.)       Response
   14
         at 8.)                                   Undisputed as stated, but not a material
   15
                                               fact.
   16
            15. Mr. Unsworth contributed to       Evidentiary Objection
   17
         three books about the Thai Cave          Irrelevant to any issue in dispute on this
   18
         Rescue: The Boys in the Cave by       motion (FRE 401), waste of time (FRE
   19
         Matt Gutman, The Cave by Liam         403), vague.
   20
         Cochrane, and an untitled and not        Response
   21
         yet released children’s book by          Undisputed as stated, but not a material
   22
         Christina Soontornvat.                fact.
   23
            (Lifrak Decl. Ex. 9 (Rog Resp.)
   24
         at 6.)
   25
            16. In December 2018, Mr.             Evidentiary Objection
   26
         Unsworth gave an interview to the        Irrelevant to any issue in dispute on this
   27
         British Broadcasting Service          motion (FRE 401), waste of time (FRE
   28

                                                 78
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    1
         (“BBC”) about his involvement in      403).
    2
         the Thai Cave Rescue.                    Response
    3
            (Lifrak Decl. Ex. 9 (Rog Resp.)       Undisputed as stated, but not a material
    4
         at 5.)                                fact.
    5
            17. In June 2019, Mr. Unsworth        Evidentiary Objection
    6
         gave an interview to the BBC             Irrelevant to any issue in dispute on this
    7
         Beyond Today podcast about his        motion (FRE 401), waste of time (FRE
    8
         involvement in the Thai Cave          403).
    9
         Rescue.                                  Response
   10
            (Lifrak Decl. Ex. 9 (Rog Resp.)       Undisputed as stated, but not a material
   11
         at 5.)                                fact.
   12
            18. After the Thai Cave Rescue        Evidentiary Objection
   13
         concluded, Mr. Unsworth                  Irrelevant to any issue in dispute on this
   14
         communicated with members of the      motion (FRE 401), waste of time (FRE
   15
         media including journalist Phillip    403).
   16
         Sherwell (who writes for The             Response
   17
         Sunday Times) and ABC News               Undisputed as stated, but not a material
   18
         Correspondent Matt Gutman.            fact.
   19
            (Lifrak Decl. Exs. 10-12.)
   20
            19. Mr. Unsworth has given a          Evidentiary Objection
   21
         number of presentations about the        Irrelevant to any issue in dispute on this
   22
         Thai Cave Rescue, including           motion (FRE 401), waste of time (FRE
   23
         presentations to NIST International   403).
   24
         School of Bangkok, Shresbury             Response
   25
         International School of Bangkok,         Undisputed as stated, but not a material
   26
         British Club Bangkok, ASEAN           fact.
   27
         Foreign Ministers, ASEAN
   28

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    1
         Ministers of Finance, ASEAN Civil
    2
         Servants, SCB Bank Officials.
    3
            (Lifrak Decl. Ex. 9 (Rog Resp.)
    4
         at 7-8.)
    5
            20. Mr. Unsworth has spoken to        Evidentiary Objection
    6
         agents about film rights regarding       Irrelevant to any issue in dispute on this
    7
         the Thai Cave Rescue.                 motion (FRE 401), waste of time (FRE
    8
            (Lifrak Decl. Ex. 13.)             403), misleading and confusing (FRE
    9
                                               403).
   10
                                                  Response
   11
                                                  Undisputed but not a material fact.
   12
                                               Although the citation does not support this
   13
                                               statement of fact, Unsworth admits he has
   14
                                               had limited conversations with individuals
   15
                                               about films. During November 2018,
   16
                                               only, Unsworth established an informal
   17
                                               and temporary relationship with an agent,
   18
                                               but the relationship ended when Unsworth
   19
                                               did not execute a proposed agency
   20
                                               agreement and no film rights ever accrued.
   21
                                                  (Wilson Decl. Ex. 59.)
   22
                         B.     The Public Debate Over the Cave Rescue
   23
                                     and Mr. Musk’s Involvement
   24

   25       21. On July 13, 2018, the             Evidentiary Objection
   26    Washington Post published an             Irrelevant to any issue in dispute on this
   27    article entitled “Time is running     motion (FRE 401), waste of time (FRE
   28    out: Inside the treacherous rescue    403), inadmissible hearsay to the extent

                                                 80
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    1
         of boys trapped in a Thai cave.”       submitted for the truth of the matter
    2
         Among other things, the article        asserted (FRE 802).
    3
         described how “[i]deas [about how        Response
    4
         to rescue the team] came from            Undisputed that “the article described”
    5
         every corner: a network of             such things, but not a material fact.
    6
         corrugated pipes the boys could
    7
         crawl through; floating them out in
    8
         body bags. Billionaire entrepreneur
    9
         Elon Musk began construction of a
   10
         custom kid-size minisub.”
   11
            (Lifrak Decl. Ex. 20.)
   12       22.       On July 7, 2018, The        Evidentiary Objection
   13    New York Times published an              Irrelevant to any issue in dispute on this
   14    article titled “Elon Musk Thinks a     motion (FRE 401), waste of time (FRE
   15    Mini-Submarine Could Help in
                                                403), inadmissible hearsay to the extent
   16    Thai Cave Rescue.” Among other
                                                submitted for the truth of the matter
   17    things, it said:
                                                asserted (FRE 802).
   18       • “Engineers from companies
                                                  Response
   19    led by Elon Musk, the billionaire
                                                  Undisputed that “it said” such things,
   20    known for outside-the-box ideas
                                                but not a material fact.
   21    like his aspiration to colonize
   22    Mars, were en route to Thailand on
   23    Saturday to offer their expertise to
   24    help rescue 12 boys and their
   25    soccer coach from the Tham Luang
   26    cave in northern Thailand.”
   27       • “On Twitter, Mr. Musk has
   28

                                                  81
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    1    mused about potential inventions
    2    that could help the trapped soccer
    3    team, including a miniature
    4    submarine made from part of a
    5    SpaceX rocket.”
    6       • “Edgar Choueiri, a professor
    7    at Princeton University who
    8    specializes in rocket research, said
    9    Mr. Musk’s submarine idea
   10    suggested that he imagined the
   11    Falcon rocket’s hollow transfer
   12    tube — which helps move liquid
   13    oxygen to fuel the rocket’s
   14    engine— would be the appropriate
   15    size to transfer the boys out of the
   16    flooded cave.”
   17       • “‘I would never bet against
   18    Elon Musk,’ Mr. Choueiri said.”
   19
            • “Others were not as
   20
         confident. Greg Moore, a regional
   21
         director for the National Cave
   22    Rescue Commission, said most
   23
         rescues prompt a series of
   24    newfangled ideas that are not
   25    necessarily practical. Mr. Musk’s
   26    submarine would likely have
   27    trouble fitting through the
   28

                                                82
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    1    narrowest passageways, he said.”
    2       • “This is not Mr. Musk’s first
    3    foray into emergency assistance. In
    4    the wake of Hurricane Maria in
    5    Puerto Rico, which resulted in
    6    devastating power outages, Tesla
    7    provided batteries to help keep the
    8    lights on.” (Lifrak Decl. Ex. 14.)
    9       23.         On July 10, 2018,         Evidentiary Objection
   10    The New York Times published an          Inadmissible hearsay to the extent
   11    article titled “Elon Musk Defends      submitted for the truth of the matter
   12    His Rejected Mini- Sub Plan for        asserted (FRE 802).
   13    Thai Cave.” Among other things, it       Response
   14    said:                                    Undisputed that “the article said” such
   15
            •     “As the world watched         things, but not a material fact.
   16    rescuers struggle to save 12 boys
   17    and their soccer coach trapped in a
   18    cave in northern Thailand, the tech
   19    billionaire Elon Musk dreamed up
   20    a ‘kid-size’ submarine to help. It
   21    turns out they didn’t need it. So he
   22    left it there, ‘in case it may be
   23    useful in the future,’ he said on
   24    Twitter.”
   25       •     “On Tuesday, the head of
   26    the search operation, Narongsak
   27    Osottanakorn, until recently the
   28

                                                  83
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    1    provincial governor, rejected the
    2    notion that Mr. Musk’s custom-
    3    made submersible was suitable for
    4    the extraction. ‘I assure you that
    5    the equipment he brought to help
    6    us is not practical for our mission,’
    7    Mr. Narongsak said. ‘Even though
    8    the equipment has state of the art
    9    technology, it does not fit our
   10    mission in the cave.’”
   11       •    “In his tweets amid the
   12    rescue, Mr. Musk presented his
   13    own evidence that team leaders had
   14    welcomed his help. He said of Mr.
   15    Narongsak: ‘The former Thai
   16    provincial governor (described
   17    inaccurately as ‘rescue chief’) is
   18    not the subject matter expert.’ He
   19    said the expert was Richard
   20    Stanton, one of the first two British
   21    cave divers to reach the soccer
   22    team, and Mr. Musk shared an
   23    email in which Mr. Stanton had
   24    asked him to ‘please keep working
   25    on the capsule details.’ But a
   26    spokesman for Mr. Stanton said
   27    Tuesday that the cave proved to be
   28    too narrow for the mini-

                                                 84
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    1    submarine.”
    2       (Lifrak Decl. Ex. 15.)
    3       24.         On July 10, 2018,          Evidentiary Objection
    4    the BBC published an article              Inadmissible hearsay to the extent
    5    titled “Why was Elon Musk at the        submitted for the truth of the matter
    6    Thai cave rescue?” Among other          asserted (FRE 802).
    7    things, the article said:                 Response
    8       •     “The SpaceX and Tesla            Undisputed that “the article said” such
    9    chief posted on social media that       things, but not a material fact.
   10    he had visited the operation's
   11    command centre, where he said he
   12    had left a mini-submarine that had
   13    been designed to carry a trapped
   14    football team to safety. The head of
   15    the rescue mission thanked Mr.
   16    Musk for his offer. But he said the
   17    sub could not be used.”
   18       •     “The billionaire has form
   19    with making eye-catching
   20    humanitarian acts.”
   21       •     “Last year, he was thanked
   22    by Puerto Rico's governor for
   23    setting up a solar panel and battery
   24    system to provide power to a
   25    children's hospital in San Juan after
   26    it was hit by a hurricane.”
   27
            •     “But while his most recent
   28

                                                   85
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    1    intervention has won him praise
    2    from some, others have questioned
    3    his motivations and suggested he
    4    might even have been a
    5    distraction.”
    6       •     “‘Elon Musk is well
    7    known to have an eye for the
    8    headlines, but to be fair he only
    9    became involved after a message
   10    from one of his army of fans on
   11    Twitter,’ commented the BBC's
   12    technology correspondent Rory
   13    Cellan-Jones.”
   14       •     “‘The fact that his
   15    company's space technology and
   16    its much vaunted tunneling skills
   17    proved irrelevant to the operation
   18    is a reminder that sometimes this
   19    tech superhero doesn't quite match
   20    up to the Iron Man of his fans’
   21    dreams.’”
   22       (Lifrak Decl. Ex. 16.)
   23       25.          On July 10, 2018,      Evidentiary Objection
   24    the tech publication Gizmodo           Inadmissible hearsay to the extent
   25    published an article titled “Is      submitted for the truth of the matter
   26    Elon Musk Serious?” Among            asserted (FRE 802)
   27    other things, the article said:        Response
   28

                                                86
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    1       • “A kid-sized submarine              Undisputed that “the article said” such
    2    arrived in northern Thailand, just a   things, but not a material fact.
    3    few hours before the final four
    4    members of a youth soccer team
    5    and their coach were rescued from
    6    the flooded Tham Luang cave
    7    complex. Elon Musk, whose
    8    minions had built the sub out of
    9    SpaceX rocket materials for the
   10    sole purpose of moving the trapped
   11    boys to safety, delivered the mini
   12    sub himself and announced his
   13    presence in a tweet to his 22
   14    million followers. Meanwhile, the
   15    rescue chief said that the kid-sized
   16    submarine was ‘not practical’ for
   17    the boys, as thousands heaped
   18    praise onto Musk for doing—
   19    well—it’s unclear if the bombastic
   20    billionaire really did anything
   21    helpful. Which makes you wonder:
   22    is Elon Musk serious with this
   23    shit?”
   24       • “The short answer to that
   25    question is no. Musk has a long
   26    track record of promising to solve
   27    huge problems and then either
   28

                                                  87
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    1    missing deadlines or falling short.
    2    Along the way, he’s also built up a
    3    cult of personality that leads fans
    4    to compare him to comic book
    5    superheroes. So even if Musk isn’t
    6    really serious about his ridiculous,
    7    buzz-building projects, plenty of
    8    people still think he is. We need to
    9    stop that.”
   10       • “The weird difference
   11    between some of Musk’s famous
   12    vaporific moonshots and the kid-
   13    sized submarine is that Musk
   14    actually built the sub. But it’s
   15    nothing more than a useless stunt.
   16    Not only did Musk show up too
   17    late to help, he showed up with a
   18    tool that wasn’t even helpful. As it
   19    seemed increasingly obvious that
   20    the sub wouldn’t actually rescue
   21    any boys from the cave, Musk later
   22    tweeted that it ‘could also be used
   23    as an escape pod in space.’ So at
   24    least there’s that non-existent
   25    contingency.”
   26       • “What’s most frustrating
   27    about Musk’s stunts is how
   28

                                                88
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    1    everything feels a little bit like a
    2    grift. Like, every time, you have to
    3    wonder what Musk is really
    4    selling, and as time goes on, those
    5    sales pitches become more
    6    convoluted. The Mars thing was a
    7    great way to build publicity for
    8    SpaceX. The Hyperloop fiasco
    9    seems like some sort of weird ad
   10    for Tesla and the future of
   11    transportation. The Boring
   12    Company, complete with
   13    promotional flamethrowers, is a
   14    different version of a Tesla ad. But
   15    with this kid-sized submarine, it’s
   16    not immediately clear what Musk
   17    is shilling.”
   18       (Lifrak Decl. Ex. 17.)
   19       26. On July 11, 2018, The New         Evidentiary Objection
   20    York Daily News published an             Inadmissible hearsay to the extent
   21    article titled “Elon Musk hits back    submitted for the truth of the matter
   22    at criticism over inserting himself    asserted (FRE 802).
   23    in Thai boys cave rescue.” The           Response
   24    article said, among other things:        Undisputed that “the article said” such
   25
            • “Billionaire businessman          things, but not a material fact.
   26
         Elon Musk has defended against
   27
         allegations that he needlessly
   28

                                                  89
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    1
         inserted himself into the plight of
    2
         the Thai soccer team stuck in a
    3
         flooded cave. Narongsak
    4
         Osottanakorn, who led the rescue
    5
         effort that freed the 12 boys and
    6
         their coach on Tuesday, said
    7
         Musk’s offer of a tiny, boy-sized
    8
         submarine was ‘not practical’ to
    9
         use at the Tham Luang cave.”
   10
            • “Musk had been following
   11
         the boys’ calamity, which started
   12
         on June 23, and had a team of his
   13
         engineers make the sub. He posted
   14
         on Twitter from the cave on
   15
         Monday, and said he was leaving
   16
         his creation there ‘in case it may be
   17
         useful in the future.’”
   18
            • “Some internet
   19
         commentators took Musk’s motives
   20
         as purely self-focused, given the
   21
         flood of media attention to the Wild
   22
         Boars team and international rescue
   23
         effort. ‘This reaction has shaken
   24
         my opinion of many people. We
   25
         were asked to create a backup
   26
         option & worked hard to do so.
   27
         Checked with dive team many
   28

                                                 90
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    1
         times to confirm it was worthwhile.
    2
         Now it’s there for anyone who
    3
         needs it in future. Something’s
    4
         messed up if this is not a good
    5
         thing,’ he posted on Twitter
    6
         Wednesday.”
    7
            (Lifrak Decl. Ex. 18.)
    8       27. On July 12, 2018, The New        Evidentiary Objection
    9    York Times published an article         Inadmissible hearsay to the extent
   10    titled “Thai Navy May Put Elon        submitted for the truth of the matter
   11    Musk’s Mini-Submarine to Use.         asserted (FRE 802).
   12    One Day.” The article said, among       Response
   13    other things:                           Undisputed that “the article said” such
   14       •    “Thailand may have use        things, but not a material fact.
   15    for Elon Musk’s ‘kid-sized’
   16    submarine after all.”
   17       •    “The tech billionaire had
   18    designed the miniature submarine,
   19    built with rocket parts, to help
   20    save the 12 boys and their 25-year-
   21    old soccer coach trapped in a
   22    flooded cave in northern Thailand.
   23    On Tuesday, rescuers pulled off an
   24    improbable feat when they
   25    finished removing all 13 people
   26    from the Tham Luang Cave.”
   27       •    “The chief of the rescue
   28    mission had called the device ‘not

                                                 91
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    1    practical’ for the operation, which
    2    required squeezing through narrow
    3    passageways in the cave, but a
    4    Thai military official said the
    5    mini- submarine could be useful
    6    for future rescue missions.”
    7       •    “Maj. Gen. Chalongchai
    8    Chaiyakham, the deputy
    9    commander to Thailand’s Third
   10    Army, said Wednesday that the
   11    mini-submarine would be
   12    appropriate for use in open water
   13    and that he had heard the

   14    technology would be given to the

   15
         Thai Navy SEAL team.”

   16
            •    “A Boring Company
         spokesman said the SpaceX
   17
         engineers met with members of
   18
         the Thai Navy on Wednesday and
   19
         that the last employees left
   20
         Thailand on Thursday morning.
   21
         Mr. Musk responded to the photos
   22
         of the training session on Twitter,
   23
         saying the engineers were also
   24
         getting feedback from British
   25
         divers on how the technology
   26
         could be improved.”
   27
            (Lifrak Decl. Ex. 19.)
   28

                                               92
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    1
            28. On July 10, 2018, in the BBC     Evidentiary Objection
    2
         article Why was Elon Musk at the        Inadmissible hearsay to the extent
    3
         Thai cave rescue? the former          submitted for the truth of the matter
    4
         Provincial Governor of Chiang Rai     asserted (FRE 802).
    5
         was quoted, claiming that Mr.           Response
    6
         Musk’s mini-submarine was “not          Undisputed that “the article said” such
    7
         practical with our mission” to        things, but not a material fact.
    8
         rescue the soccer team.
    9
            (Lifrak Decl. Ex. 16.)
   10
            29. On July 10, 2018, Mr. Musk       Undisputed as stated.
   11
         responded to governor’s statement
   12
         on Twitter.
   13
            (Declaration of Elon Musk
   14
         (“Musk Decl.”) Musk Decl.¶ 18,
   15
         Ex. E.)
   16
            30. Mr. Musk donated the mini-       Evidentiary Objection
   17
         submarine to the Thai Navy to be        Inadmissible hearsay to the extent
   18
         used in future rescue missions.       submitted for the truth of the matter
   19
            (Lifrak Decl. Ex. 2 (Musk Dep.     asserted (FRE 802).
   20
         121:16-22); Musk Decl.¶ 15.)            Response
   21
                                                 Undisputed, but not a material fact.
   22
            31. Mr. Musk is the founder and      Undisputed.
   23
         CEO of Tesla Inc., a publicly
   24
         traded company.
   25
            (Musk Decl. ¶ 1.)
   26
              C.       Without Provocation, Mr. Unsworth Attacks Musk on CNN
   27

   28       32. On or about July 13, 2018,       Undisputed, but this interview was at

                                                 93
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    1
         Mr. Unsworth gave an interview to       the invitation of CNN and his statements
    2
         CNN International.                      an impromptu response to the reporter’s
    3
            (Compl. ¶¶ 70-71; Lifrak Decl.       questions.
    4
         Ex. 1 (Unsworth Dep. 213:22-
    5
         214:5); Ex. 22.)                           (Wilson Decl. Ex. 3 (Unsworth Dep.
    6
                                                 162:11-170:5).)
    7
            33. Before giving his interview         Undisputed that Unsworth watched a
    8
         to CNN International on July 13,        video of the tube prior to his July 13 CNN
    9
         2018, Mr. Unsworth watched a            interview; otherwise disputed, including
   10
         video of the mini-submarine             because the citation does not support the
   11
         constructed by Mr. Musk and his         statement that Musk “constructed” the
   12
         team.                                   tube.
   13
            (Lifrak Decl. Ex. 1 (Unsworth
   14
         Dep. 214:17-218:10).)
   15
            34. In his interview, in response       Undisputed, but incomplete.
   16
         to a question asking what his              Musk admitted he was aware that the
   17
         “thoughts on [Mr. Musk’s] idea          “stick his submarine where it hurts” phrase
   18
         was,” Mr. Unsworth stated that          was “idiomatic” and was not intended
   19
         “[Mr. Musk] can stick his               literally.
   20
         submarine where it hurts. It just had      (Wilson Decl. Ex. 1 (Musk Dep. 31:18-
   21
         absolutely no chance of working.        32:22, 35:11-12, 120:9-25).)
   22
         He had no conception of what the
   23
         cave passage was like. The
   24
         submarine, I believe, was about 5
   25
         foot 6 long, rigid, so it wouldn’t
   26
         have gone round corners or round
   27
         any obstacles. It wouldn’t have
   28

                                                   94
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    1
         made the first fifty meters into the
    2
         cave from the dive start point. Just
    3
         a PR stunt.” He also stated that
    4
         “[Mr. Musk] was asked to leave
    5
         [the rescue site] very quickly.”
    6
            (Lifrak Decl. Ex. 21.)
    7
                D.    Mr. Musk’s July 15, 2018 Tweets and Subsequent Apology
    8

    9       35. On or about July 15, 2018,        Undisputed.

   10    Mr. Musk saw video of Mr.

   11    Unsworth’s CNN International

   12    interview.

   13       (Lifrak Decl. Ex. 2 (Musk Dep.

   14    26:13-27:15); Musk Decl. ¶ 19.)

   15       36. After watching the video,         Disputed to the extent the citation does

   16    Mr. Musk googled Mr. Unsworth          not support the statement that the area

   17    and learned that he was an older       where Unsworth spends time in Thailand

   18    white man from the United              is known for child prostitution, including

   19    Kingdom who lived in an area of        because the citation does not support this

   20    Thailand known for child               statement, and disputed that Unsworth

   21    prostitution and sex trafficking.      actually “lived” in that area; otherwise,

   22       (Lifrak Decl. Ex. 2 (Musk Dep.      undisputed.

   23    25:5-19; 42:18-43:8); Musk Decl. ¶       In fact, Musk testified at his deposition

   24    22.)                                   that he did not know where Unsworth even

   25                                           lived at the time of the July 15 tweets.

   26                                             (Wilson Decl. Ex. 1 (Musk Dep. 10:17-

   27                                           19 (“English expat, lives in Chiang Rai or

   28                                           near Chiang Rai”), 42:21-25 (“…article

                                                  95
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    1
                                              about Chiang Rai, which is where Mr.
    2
                                              Unsworth is from, or was still living, or
    3
                                              near there…”), 43:9-15 (“Q. Why Chiang
    4
                                              Rai? A. That is where the caves were. Q.
    5
                                              Not anything related to Mr. Unsworth? A.
    6
                                              No. Just – Q. Just the caves’ location
    7
                                              being at or near Chiang Rai? A. Yes.).)
    8
            37. In response to Mr.              Undisputed that Musk published his
    9
         Unsworth’s CNN International         first tweet regarding Unsworth on July 15,
   10
         interview, Mr. Musk posted a first   2018 as stated; otherwise disputed.
   11
         tweet on July 15, 2018 that read:
   12
         “Never saw this British expat guy      The citation and the factual record do
   13
         who lives in Thailand (sus) at any   not support the statement that the tweet
   14
         point when we were in the caves.     was, at least solely, “in response to Mr.
   15
         Only people in sight were the Thai   Unsworth’s CNN International interview,”
   16
         navy/army guys, who were great.      because Musk was already “unhappy with
   17
         Thai navy seals escorted us in –     all of the coverage that criticized his
   18
         total opposite of wanting us to      efforts with the tube, including the
   19
         leave.”                              coverage that suggested that it was as PR
   20
            (Musk Decl. ¶ 24, Ex. F.)         stunt,” and “that was before Mr. Unsworth
   21
                                              ever said a word to CNN.”
   22
                                                 (Wilson Decl. Ex. 6 (Teller Dep. 53:10-
   23
                                              24, 88:13-21); see also id. Ex. 51; id. Ex.
   24
                                              48; id. Ex. 52; id. Ex. 61 (Musk July 11
   25
                                              tweet stating “This reaction has shaken my
   26
                                              opinion of many people….”).)
   27

   28

                                                96
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    1

    2
            38. By referring to Mr. Unsworth     Disputed, and not a material fact.
    3
         as “sus,” Mr. Musk did not intend       Musk’s actions, testimony, and judicial
    4
         to convey any specific facts capable admissions demonstrate that he
    5
         of being proven true or false,        subjectively intended to convey that
    6
         instead he sought to convey that      Unsworth is a pedophile.
    7
         Mr. Unsworth was “just a weird          First, subjectively linking his tweet to
    8
         guy…looking for press.”               child prostitution, Musk testified in the
    9
            (Lifrak Decl. Ex. 2 (Musk Dep.     same declaration cited in support of this
   10
         154:12-24); Musk Decl. ¶ 25.)         proposition that “[a]fter watching the
   11
                                               video [of Unsworth’s July 13 interview,] I
   12
                                               googled Mr. Unsworth. I learned from my
   13
                                               search that he was a British expatriate who
   14
                                               lived in the Chiang Rai province of
   15
                                               Thailand. I googled Chiang Rai and read
   16
                                               an article stating that it was a well-known
   17
                                               hot spot for child prostitution and sex
   18
                                               trafficking.” (Emphasis added).
   19
                                                 (Musk Decl. ¶ 22.)
   20
                                                 Second, Musk’s declaration in the
   21
                                               above regard is consistent with his
   22
                                               deposition testimony regarding what he
   23
                                               did immediately prior to his July 15
   24
                                               tweets, and his subjective state of mind as
   25
                                               to why he issued the July 15 tweets,
   26
                                               including:
   27
                                                  • “[S]hortly before the tweet” “I did
   28

                                                 97
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                                 #:1111


  1
                                         just sort of a Google search on Chiang Rai
  2
                                         and this article came up from … one
  3
                                         newspaper about how Chiang Rai was
  4
                                         essentially the capital of sex trafficking in
  5
                                         the world. That was also a data point.”
  6
                                           • “And then I was like – googled him,
  7
                                         oh, he was like, lives in Thailand. Okay,
  8
                                         that’s pretty suspicious. English expat,
  9
                                         doesn’t seem to be – have been on the
 10
                                         dive team, in a very dodgy part of the
 11
                                         world.” (Emphasis added)
 12
                                           • To Musk, Thailand is “dodgy”
 13
                                         because it “is a place where dodgy people
 14
                                         go, in my experience. People who are
 15
                                         often up to no good.”
 16
                                           • Those people who Musk testified
 17
                                         went to Thailand for “bad reasons”
 18
                                         included “Jared the Subway guy,” who
 19
                                         “was going to Thailand for … bad
 20
                                         reasons” and was “engaged in pedophilia
 21
                                         or something,” and “Gary Glitter” who
 22
                                         “went to Thailand from England to have
 23
                                         sex with underage kids,” as well as
 24
                                         “another rock star that was into autoerotic
 25
                                         asphyxiation in Thailand.”
 26
                                           • While Musk claimed “pedo guy”
 27
                                         was a common insult in his youth in South
 28

                                           98
Case 2:18-cv-08048-SVW-JC Document 76 Filed 10/07/19 Page 101 of 201 Page ID
                                 #:1112


  1
                                         Africa, he admitted he had “not used those
  2
                                         words publicly” at any time.
  3
                                            • Musk did not undertake an
  4
                                         investigation into Unsworth to prove that
  5
                                         he was “just a weird guy looking for
  6
                                         press,” but instead stated that “maybe
  7
                                         there’s actually some merit to this … And
  8
                                         I was like, well, what if this is a real
  9
                                         situation? What if what we have here is
 10
                                         another Jeffrey Epstein… what if we have
 11
                                         another Jeffrey Epstein on our hands? …
 12
                                         When I said ‘pedo guy,’ I didn’t mean that
 13
                                         he was literally a pedophile; it was just an
 14
                                         insult. But after getting this information
 15
                                         from the investigator through Jared, I was
 16
                                         like, well, maybe he is actually a
 17
                                         pedophile.”
 18
                                            • “[Y]ou know, to be totally frank,
 19
                                         [Unsworth] looked sort of like a pedo guy
 20
                                         you know.” According to Musk, a “pedo
 21
                                         guy look” means an “[o]ld angry white
 22
                                         guy living in Thailand … And why is he
 23
                                         talking about shoving a submarine up my
 24
                                         butt. … And why is he living in Thailand
 25
                                         with no apparent job or anything?”
 26
                                           (Wilson Decl. Ex. 1 (Musk Dep. 24:10-
 27
                                         25:21, 27:21-28:5, 30:9-17, 35:25-40:11,
 28

                                           99
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                                 #:1113


  1
                                         42:4-43:8, 51:24-53:5, 62:4-64:15).)
  2
                                           Third, Musk’s contemporaneous tweet
  3
                                         later on July 15 stating “bet ya a signed
  4
                                         dollar its true,” tweeted in direct response
  5
                                         to a tweet stating “he’s calling the guy
  6
                                         who found the children a pedo,” reveals
  7
                                         that Musk was referring to pedophilia in
  8
                                         his tweets. No “bet” was needed if the
  9
                                         words “pedo guy” merely described
 10
                                         Unsworth’s appearance. Moreover, Musk
 11
                                         has never testified to using the lone word
 12
                                         “pedo” as a childhood insult.
 13
                                           (Wilson Decl. Ex. 15.)
 14
                                           Fourth, Musk has admitted and asserted
 15
                                         in judicio in his Motion to Dismiss that:
 16
                                            • He was “[r]eferencing Thailand’s
 17
                                         documented reputation, [when] Musk said
 18
                                         that Unsworth was ‘sus’ for being a
 19
                                         ‘British expat guy who lives in Thailand,”
 20
                                         and “referring back to these suspicions,
 21
                                         Musk dubbed Unsworth ‘pedo guy’”;
 22
                                            • Musk was “trading on Thailand’s
 23
                                         reputation”;
 24
                                            • The Tenth Circuit has cited a
 25
                                         “congressional committee report that
 26
                                         identifies Thailand as a country
 27
                                         experiencing significant problems with
 28

                                          100
Case 2:18-cv-08048-SVW-JC Document 76 Filed 10/07/19 Page 103 of 201 Page ID
                                 #:1114


  1
                                         sex tourism”;
  2
                                            •    “[T]he reasonable reader would
  3
                                         make this connection” citing to a
  4
                                         California case “reasoning that the
  5
                                         ‘prosecution did not [need to] explicitly
  6
                                         tell the jury that defendant may have gone
  7
                                         to Thailand to have sex with children’
  8
                                         because that ‘was implicit in the mere
  9
                                         mention of Thailand’”; and
 10
                                            •    “Musk’s conclusions about
 11
                                         Unsworth were ‘inherently subjective’
 12
                                         because they were based on his personal
 13
                                         judgment and assessment of the fact that
 14
                                         Unsworth was a British expat who lived in
 15
                                         Thailand.” (Emphasis added).
 16
                                           (Wilson Decl. Ex. 47 (Dkt. 30, Musk
 17
                                         Motion to Dismiss, at 4, 7 15-16, 23).)
 18
                                           Fifth, even after the “sus,” “pedo guy,”
 19
                                         and “bet ya a signed dollar its true” tweets,
 20
                                         Musk consistently continued to represent
 21
                                         publicly that he was subjectively
 22
                                         conveying Unsworth was a “pedophile”
 23
                                         when:
 24
                                            • On July 17, 2018, Musk tweeted his
 25
                                         alleged “apology” citing directly to what
 26
                                         he calls a “well written article” which
 27
                                         itself states “the pedophile accusation
 28

                                          101
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                                 #:1115


  1
                                         wasn’t quite random” because “Thailand
  2
                                         has a reputation for sex tourism” and
  3
                                         “Elon Musk called Unsworth a
  4
                                         pedophile,” and contains numerous
  5
                                         comments from readers agreeing that
  6
                                         Musk’s July 15 tweets were an accusation
  7
                                         of pedophilia, and Musk’s “apology” did
  8
                                         not in any way clarify that he allegedly
  9
                                         only meant “weird guy.”
 10
                                           • On August 28, 2018, he tweeted
 11
                                         “You don’t think it’s strange he hasn’t
 12
                                         sued me? He was offered free legal
 13
                                         services.” Musk tweeted this in direct
 14
                                         response to a tweet stating “your
 15
                                         dedication to facts and truth would have
 16
                                         been wonderful if applied to that time
 17
                                         when you called someone a pedo.” Musk
 18
                                         continued tweeting in response: “Did you
 19
                                         investigate at all? I’m guessing answer is
 20
                                         no. Why?” “Did you investigate or not?”
 21
                                         “So you actually did nothing & yet you
 22
                                         imply you are a truth-seeker.” (Emphasis
 23
                                         added)
 24
                                           • Beginning August 29, 2018, Musk
 25
                                         e-mailed to a BuzzFeed reporter, Ryan
 26
                                         Mac, “Have you actually done any
 27
                                         research at all,” and referred to Unsworth
 28

                                          102
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                                 #:1116


  1
                                         as, among other things, a “child rapist”
  2
                                         and “an old, single white guy from
  3
                                         England who’s been traveling to or living
  4
                                         in Thailand for 30 to 40 years, mostly
  5
                                         Pattaya Beach, until moving to Chiang Rai
  6
                                         for a child bride who was about 12 years
  7
                                         old at the time,” and stating that “[t]here’s
  8
                                         only one reason people go to Pattaya
  9
                                         Beach. It isn’t where’d you go for caves,
 10
                                         but it is where you’d go for something
 11
                                         else. Chiang Rai is renowned for child
 12
                                         sex-trafficking.”
 13
                                            • Additionally, after Mr. Mac made
 14
                                         clear the above comments were on the
 15
                                         record and would be published, Musk sent
 16
                                         another e-mail stating “I suggest you ask
 17
                                         Unsworth to describe his whole ~30 year
 18
                                         history of visiting Thailand. What was he
 19
                                         doing in Pattaya Beach for the better part
 20
                                         of a decade when there are no caves of
 21
                                         note in the area?”
 22
                                           (Wilson Decl. Exs. 14, 15, 17, 18, 19,
 23
                                         46.)
 24
                                           Sixth, Musk has privately demonstrated
 25
                                         that he was subjectively serious about his
 26
                                         accusation that Unsworth is a pedophile,
 27
                                         as follows:
 28

                                          103
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                                 #:1117


  1
                                           •    Musk’s chief of staff, Sam Teller,
  2
                                         had never heard prior to reading the media
  3
                                         coverage of Musk’s summary judgment
  4
                                         motion that Musk meant anything other
  5
                                         than “pedophile” by his tweets, despite
  6
                                         working closely alongside Musk during
  7
                                         the time when the tweets were made and
  8
                                         being reported on;
  9
                                           •    A draft internal company e-mail
 10
                                         providing, among other things: “I
 11
                                         understand that my recent behavior has
 12
                                         probably embarrassed you and I’m sorry.
 13
                                         I apologize to Vernon Unsworth and am
 14
                                         reaching out to him to personally convey
 15
                                         this, as well as my deep appreciation for
 16
                                         his work in saving the kids,” without any
 17
                                         reference to his tweets being meant as
 18
                                         anything other than Unsworth being a
 19
                                         pedophile;
 20
                                           •    He hired and paid an investigator,
 21
                                         James Howard (“Howard”), more than
 22
                                         $50,000.00 to surveil and investigate
 23
                                         Unsworth to “get to the bottom of this
 24
                                         situation; find out what is real or not,” out
 25
                                         of alleged concern that “we have another
 26
                                         Jeffrey Epstein on our hands”;
 27
                                           •    Musk instructed his investigator and
 28

                                          104
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                                 #:1118


  1
                                         Jared Birchall (“Birchall”), the manager of
  2
                                         Musk’s family office who Musk put in
  3
                                         charge of the investigation, to plant stories
  4
                                         in the UK and Australian press suggesting
  5
                                         that Unsworth is a pedophile, stating via e-
  6
                                         mail that “[w]e would like you to
  7
                                         immediately move forward with ‘leaking’
  8
                                         this information to the UK press. …:
  9
                                         Thailand is the world capital of
 10
                                         pedophilia[;] This man has frequented
 11
                                         Thailand since the 80’s – eventually
 12
                                         leading to his divorce to his wife in the
 13
                                         UK[;] While the guise of cave exploration
 14
                                         is creative, there are amazing and
 15
                                         extensive caving systems in many places
 16
                                         throughout the world – not just in Thailand
 17
                                         …[;] He eventually [_?__] woman 30
 18
                                         years his minor – whom he met while she
 19
                                         was a teenager[;] He had been going to
 20
                                         Thailand for decades before marrying her.
 21
                                         She wasn’t the first girl he met – and
 22
                                         definitely not the first teenager he
 23
                                         interacted with.”;
 24
                                           •    In an August 24, 2018, e-mail,
 25
                                         Birchall asked Howard, “Was his current
 26
                                         wife the girl he finally settled on after a
 27
                                         period of ‘exploring’ the world of
 28

                                          105
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                                 #:1119


  1
                                            underaged Thai girls?”
  2
                                               •   On August 25, 2018, Birchall e-
  3
                                            mailed Howard offering “for successful
  4
                                            confirmation of nefarious behavior there is
  5
                                            an additional $10k bonus.”
  6
                                               (Wilson Decl. Exs. 165, 21, 22, 25, 33);
  7
                                            id. Ex. 1 (Musk Dep. 62:4-64:15, 66:3-
  8
                                            21); id. Ex. 2 (Birchall Dep. 109:18-110:6,
  9
                                            111:18-24, 114:23-115:21, 119:1-120:25,
 10
                                            125:13-126:3, 129:10-13, 163-64, 273:4-
 11
                                            24); id. Ex. 6 (Teller Dep. 65:15-66:24);
 12
                                            Musk Decl. ¶ 33.).
 13
                                               Seventh, before filing his motion for
 14
                                            summary judgment, Musk had never taken
 15
                                            any public action whatsoever to clarify his
 16
                                            alleged subjective intent that he did not
 17
                                            mean to accuse Unsworth of being a
 18
                                            pedophile, despite rampant public
 19
                                            reporting stating that Musk had in fact
 20
                                            called Unsworth a “pedophile”:
 21
                                               • Musk received numerous “Google
 22
                                            alerts” notifying him of that reporting;
 23
                                               • Musk and his team compiled pages
 24
                                            of internet links to articles describing the
 25
                                            July 15 tweets as an accusation of
 26
                                            “pedophilia” or “pedophile” or “pedo,” but
 27

 28
      5
       Musk has withdrawn the improper confidentiality designation affixed to this
      document.
                                           106
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                                 #:1120


  1
                                           no clarification was issued;
  2
                                              • Musk and his team received
  3
                                           numerous press inquiries describing his
  4
                                           July 15 tweets as an accusation of
  5
                                           “pedophilia” or “pedophile” or “pedo,” but
  6
                                           no clarification was issued and instead
  7
                                           they “ignored these inquiries.”
  8
                                              (Wilson Decl. Ex.1 (Musk Dep. 319:1-
  9
                                           6); id. Ex. 43; id. Ex. 44; id. Ex. 45).)
 10
         39. Mr. Unsworth admitted in         Evidentiary Objection
 11
      deposition that there was nothing       This statement consists of a legal
 12
      about him in Mr. Musk’s first        conclusion rather than a statement of
 13
      alleged defamatory tweet posted on   material fact as required by L.R. 56-1.
 14
      July 15, 2018 that was false.        The cited question called for a legal
 15
         Lifrak Decl. Ex. 1 (Unsworth      conclusion and was expressly withdrawn
 16
      Dep. 260:6-15).                      five lines later in the deposition; Musk
 17
                                           cites to this testimony rather than stating
 18
                                           as an unconverted fact that there is nothing
 19
                                           false in the first defamatory tweet because,
 20
                                           under the law, the tweets must be read
 21
                                           together and in context to ascertain their
 22
                                           meaning, as the Court properly held in its
 23
                                           Order Denying Motion to Dismiss (Dkt.
 24
                                           42 at, e.g., 9, 13 (“Defendant’s tweets
 25
                                           were susceptible of being true or false
 26
                                           because Plaintiff either is a pedophile or
 27
                                           he is not.”)).
 28

                                            107
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                                 #:1121


  1
                                               Response
  2
                                               Disputed.
  3
                                               Musk’s citation does not support the
  4
                                             alleged fact and was chosen to
  5
                                             misrepresent Unsworth’s testimony; the
  6
                                             questions at issue were asked and
  7
                                             withdrawn multiple times in response to
  8
                                             various objections, and the witness
  9
                                             ultimately testified that “pedo” is false,
 10
                                             that “Bet you a signed dollar it’s true” is
 11
                                             false because “I’m not a pedo,” and
 12
                                             specifically that “S-U-S, SUS, suspect,
 13
                                             ‘Sorry, pedo guy,’ and ‘Bet ya a signed
 14
                                             dollar it’s true” are “[a]ll three harmful.”
 15
                                                (Wilson Decl. Ex. 3 (Unsworth Dep.
 16
                                             259:10-266:6); id. Ex. 20 (Unsworth Rog.
 17
                                             No. 1).)
 18
         40. In response to Mr.                Undisputed that Musk published his
 19
      Unsworth’s CNN International           second tweet regarding Unsworth on July
 20
      interview, Mr. Musk posted a           15, 2018 as stated; otherwise disputed.
 21
      second tweet on July 15, 2018 that
 22
      read: “Water level was actually          The citation and the factual record do
 23
      very low & still (not flowing) – you   not support the statement that the tweet
 24
      could literally have swum to Cave      was, at least solely, “in response to Mr.
 25
      5 with no gear, which is obv how       Unsworth’s CNN International interview,”
 26
      the kids got in. If not true, then I   because Musk was already “unhappy with
 27
      challenge this dude to show final      all of the coverage that criticized his
 28

                                              108
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                                 #:1122


  1
      rescue video. Huge credit to pump    efforts with the tube, including the
  2
      & generator team. Unsung heroes      coverage that suggested that it was as PR
  3
      here.”                               stunt,” and “that was before Mr. Unsworth
  4
         (Musk Decl. ¶ 26, Ex. G.)         ever said a word to CNN.”
  5
                                              (Wilson Decl. Ex. 6 (Teller Dep. 53:10-
  6
                                           24, 88:13-21); see also id. Ex. 51; id. Ex.
  7
                                           48; id. Ex. 52; id. Ex. 61 (Musk July 11
  8
                                           tweet stating “This reaction has shaken my
  9
                                           opinion of many people….”).)
 10

 11
         41. Mr. Unsworth admitted in        Undisputed.
 12
      deposition that there was nothing
 13
      about him in Mr. Musk’s second
 14
      alleged defamatory tweet posted on
 15
      July 15, 2018 that was false.
 16
         (Lifrak Decl. Ex. 1 (Unsworth
 17
      Dep. 263:5-264:9).)
 18
         42. In response to Mr.              Undisputed that Musk published his
 19
      Unsworth’s CNN International         third tweet regarding Unsworth on July 15,
 20
      interview, Mr. Musk posted a third   2018 as stated; otherwise disputed.
 21
      tweet on July 15, 2018 that read:
 22
      “You know what, don’t bother           The citation and the factual record do
 23
      showing the video. We will make      not support the statement that the tweet
 24
      one of the mini-sub/pod going all    was, at least solely, “in response to Mr.
 25
      the way to Cave 5 no problem.        Unsworth’s CNN International interview,”
 26
      Sorry pedo guy, you really did ask   because Musk was already “unhappy with
 27
      for it.”                             all of the coverage that criticized his
 28

                                            109
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                                 #:1123


  1
         (Musk Decl. ¶ 27, Ex. H.)        efforts with the tube, including the
  2
                                          coverage that suggested that it was as PR
  3
                                          stunt,” and “that was before Mr. Unsworth
  4
                                          ever said a word to CNN.”
  5
                                             (Wilson Decl. Ex. 6 (Teller Dep. 53:10-
  6
                                          24, 88:13-21); see also id. Ex. 51; id. Ex.
  7
                                          48; id. Ex. 52; id. Ex. 61 (Musk July 11
  8
                                          tweet stating “This reaction has shaken my
  9
                                          opinion of many people….”).)
 10

 11
         43. The term “pedo guy” was a      Disputed, and not a material fact.
 12
      common insult used during Mr.         For the Court’s convenience, Unsworth
 13
      Musk’s youth in South Africa,       incorporates his citations of evidence and
 14
      which he understood was             response to Defendant’s Statement of Fact
 15
      synonymous with “creepy old man”    No. 38, supra, and supplements it as
 16
      and aimed at insulting one’s        follows:
 17
      appearance and demeanor.              Musk did not say “creepy old man,”
 18
         (Lifrak Decl. Ex. 2 (Musk Dep.   which is “aimed at one’s appearance and
 19
      51:21-52:17); Musk Decl. ¶ 28.)     demeanor” – he said “pedo guy,” which
 20
                                          both Musk and the world understood to
 21
                                          mean “pedophile” as more fully set forth
 22
                                          in response to Defendant’s Statement of
 23
                                          Fact No. 38.
 24
                                            Musk’s deposition explanation of why
 25
                                          he called Unsworth a “pedo guy” also
 26
                                          reveals that he meant “pedophile,” and
 27
                                          included that he was “an angry old white
 28

                                           110
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                                 #:1124


  1
                                         man” living in a “dodgy” part of the world
  2
                                         “without a job,” the same part of the world
  3
                                         where people go when they are “up to no
  4
                                         good,” like “Jared, the Subway guy,” who
  5
                                         was “engaged in pedophilia,” and “Gary
  6
                                         Glitter” who “went to Thailand from
  7
                                         England to have sex with underage kids”:
  8

  9                                        •    Q. What did you learn about Mr.
 10                                      Unsworth from that time until the 15th of
 11                                      July when you tweeted about him?
 12                                        •    A. I am not sure of the exact dates
 13                                      here. … is that when I referred to him as a
 14                                      sort of suspicious pedo guy … But I did
 15                                      not really know much of anything of this
 16                                      guy except that he had gone on TV with a
 17                                      major news organization … and you
 18                                      know, to be totally frank, looked sort of
 19                                      like a pedo guy, you know. And then I
 20                                      was like – googled him, oh, he was like,
 21                                      lives in Thailand. Okay, that’s pretty
 22                                      suspicious. English expat, doesn’t seem to
 23                                      be – have been on the dive team, in a very
 24                                      dodgy part of the world.
 25
                                                             ***
 26
 27                                        •    Q. What does a pedo guy look like?
 28                                        •    A. Old angry white guy living in

                                          111
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                                 #:1125


  1
                                         Thailand. … It’s a sort of a look. … And
  2
                                         why is he living in Thailand with no
  3
                                         apparent job or anything? …
  4

  5                                                          ***
  6
                                           •    Q: You used the phrase “dodgy.”
  7
                                         And I thought it was in reference to
  8
                                         Thailand?
  9
                                           •    A. Yes.
 10
                                           •    Q. What did you mean, or what do
 11
                                         you mean when you say that Thailand is
 12
                                         dodgy?
 13
                                           •    A. Thailand is a place where dodgy
 14
                                         people go, in my experience. People who
 15
                                         are often up to no good.
 16
                                           •    Q. And how many people do you
 17
                                         know that have been to Thailand that you
 18
                                         would say were dodgy?
 19
                                           •    A. Well, I would not say “know.”
 20
                                         “Heard of” perhaps is a better word.
 21
                                           •    Q. Tell me how many you have
 22
                                         heard of.
 23
                                           •    A. I mean, there’s like that – Jared,
 24
                                         the Subway guy. You know, he went to
 25
                                         Thailand a lot. … Well, in his case, which
 26
                                         is not to say all cases, he was, you know,
 27
                                         engaged in pedophilia or something.
 28

                                          112
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                                 #:1126


  1

  2                                                          ***
  3
                                           •    Q. Other than Jared the Subway
  4
                                         guy, do you know any other person that
  5
                                         you would classify as a pedophile because
  6
                                         of visits to Thailand?
  7
                                           •    A. Gary Glitter … He went to
  8
                                         Thailand from England to have sex with
  9
                                         underage kids.”
 10

 11                                         (Wilson Decl. Ex. 1 (Musk Dep. 24:10-
 12                                      30:25, 35:25-37:10, 39:15-25).)
 13                                        Also as set forth and cited in response
 14                                      to Defendant’s Statement of Fact No. 38:
 15                                        Musk has testified that he made the
 16                                      accusation only after googling Unsworth
 17                                      and Chiang Rai, which Musk says he then
 18                                      found was “a well-known hot spot for
 19                                      child prostitution and sex trafficking,”
 20                                      expressly took the position in his Motion
 21                                      to Dismiss that in using “sus” and “pedo
 22                                      guy” he was “trading on Thailand’s
 23                                      reputation,” which is, according to Musk,
 24                                      one of “a well-known hot spot for child
 25                                      prostitution and sex trafficking.”
 26                                        When Musk “apologized” via Twitter,
 27                                      he referred to a “well-written article,”
 28                                      which itself states that Musk accused

                                          113
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                                 #:1127


  1
                                             Unsworth of being a pedophile.
  2
                                                Musk made the “pedo guy” accusation,
  3
                                             and then he set out to spend at least
  4
                                             $50,000.00 to prove that Unsworth was in
  5
                                             fact, a pedophile. He went on to declare
  6
                                             that Unsworth is a “child rapist” and
  7
                                             married a “child bride who was about 12
  8
                                             years old at the time” in an e-mail to a
  9
                                             reporter.
 10
                                                Prior to seeking relief from this Court in
 11
                                             his motion for summary judgment, Musk
 12
                                             had never publicly declared that he meant
 13
                                             anything other than “pedophile” despite
 14
                                             many opportunities to do so via press
 15
                                             inquiries stating the accusation to be one
 16
                                             of pedophilia.
 17
         44. The term “pedo guy” as used       Disputed.
 18
      and understood by Mr. Musk is not        Unsworth respectfully incorporates his
 19
      an accusation of acts of pedophilia.   citations to evidence and responses to
 20
         (Id.)                               Defendant’s Statement of Fact Nos. 38 and
 21
                                             43, including that he had never before
 22
                                             used the term publicly and could not recall
 23
                                             a specific occasion on which he had used
 24
                                             the phrase at all, and that the first time
 25
                                             Musk’s then chief of staff, Sam Teller, had
 26
                                             ever heard it supposedly meant something
 27
                                             other than pedophile was reading media
 28

                                              114
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                                 #:1128


  1
                                             about Musk’s motion for summary
  2
                                             judgment.
  3
                                               (Wilson Decl. Ex. 1 (Musk Dep. 52:8-
  4
                                             59:5); id. Ex. 6 (Teller Dep. 65:15-66:24).)
  5
         45. Mr. Musk did not intend to        Disputed, and not a material fact.
  6
      frame the third tweet to imply that      Unsworth respectfully incorporates his
  7
      Mr. Unsworth undertook acts of         citations to evidence and responses to
  8
      pedophila [sic], and instead meant     Defendant’s Statement of Fact Nos. 38 and
  9
      to suggest that Mr. Unsworth           43-44.
 10
      “seem[ed] like a creepy old man.”
 11
        (Lifrak Decl. Ex. 2 (Musk Dep.
 12
      51:21-52:17; 198:3-10); Musk
 13
      Decl. ¶ 29.)
 14
         46. The definition of pedophile,      Disputed, and not a material fact.
 15
      as Mr. Musk understood the term,         Musk also testified that he defines
 16
      includes adults who “derive[]          pedophilia to include “sleeping with
 17
      sexual gratification from sexual       people below an age – below the age of
 18
      fantasies…involving a child.”          consent in the United States, essentially,”
 19
         (Lifrak Decl. Ex. 2 (Musk Dep.      which would include “[h]aving sexual
 20
      38:12-20); Compl. ¶ 78.)               relations, physical relations with a child
 21
                                             under the age of consent.”
 22
                                               (Wilson Decl. Ex. 1 (Musk Dep. 37:11-
 23
                                             38:22).)
 24
         47. In response to a tweet            Undisputed. The full tweet he
 25
      regarding Mr. Musk’s tweets, Mr.       responded to directly stated:
 26
      Musk posted a fourth tweet on July       “Oh, sorry, he’s calling the guy who
 27
      15, 2018 that read: “bet ya a signed   found the children a pedo. Real classy.”
 28

                                              115
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                                 #:1129


  1
      dollar its true.”                      (Emphasis added).
  2
         (Musk Decl. ¶ 30, Ex. I.)             (Wilson Decl. Ex. 15.)
  3
         48. Mr. Musk testified that the       Disputed that Musk did not intend to
  4
      fourth tweet was a “flippant           convey Unsworth is a pedophile, and not a
  5
      comment” meant to convey that he       material fact.
  6
      “was not certain” about the prior        Unsworth respectfully incorporates his
  7
      tweets and found Mr. Unsworth          citations to evidence and responses to
  8
      “suspicious.”                          Defendant’s Statement of Fact Nos. 38,
  9
         (Lifrak Decl. Ex. 2 (Musk Dep.      43-44, and 47.
 10
      141:2-22, 140:16-25).)
 11
         49. Mr. Musk deleted all four         Undisputed, but not a material fact, and
 12
      tweets within hours of their           vague as to the exact number of hours.
 13
      publication
 14
         (Musk Decl. ¶ 31.)
 15
         50. On July 18, 2018, Mr. Musk        Undisputed, but incomplete. Musk
 16
      posted two tweets that read: “As       testified that he was not referring to
 17
      this well- written article suggests,   Unsworth, but instead to his companies,
 18
      my words were spoken in anger          when he stated, “The fault is mine and
 19
      after Mr. Unsworth said several        mine alone,” and in fact agreed that his
 20
      untruths & suggested I engage in a     “apology” in the first July 17 tweet was
 21
      sexual act with the mini-sub, which    “conveying blame on the part of Mr.
 22
      had been built as an act of kindness   Unsworth for what had happened and what
 23
      & according to specifications from     [Musk] had said.”
 24
      the dive team leader,” and               (Wilson Decl. Ex. 1 (Musk Dep.
 25
      “Nonetheless, his actions against      106:10-107:24, 115:10-116:18).)
 26
      me do not justify my actions
 27
      against him, and for that I
 28

                                              116
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  1
          apologize to Mr. Unsworth and to
  2
          the companies I represent as leader.
  3
          The fault is mine and mine alone.”
  4
             (Musk Decl. ¶ 32, Ex J.)
  5
            E.     Mr. Musk Retains an Investigator Who Reports on Mr. Unsworth.
  6

  7
             51. On or around August 15,           Undisputed, but incomplete.

  8
          2018, Jared Birchall, the president      Howard was engaged by Excession,

  9
          of Mr. Musk’s home office,             LLC, Musk’s “family office,” and the

 10
          retained James Howard, a private       investigation was undertaken at Musk’s

 11
          investigator and president of the      request and for his benefit, with Birchall

 12
          investigation firm Jupiter Military    as the point of communication with

 13
          & Tactical Systems, to conduct an      Howard. Birchall6 testified that Musk

 14
          investigation of Mr. Unsworth in       “asked me … to gather information,” that

 15
          the United Kingdom and Thailand        it is “true” that “the reason for hiring Mr.

 16
          on Mr. Musk’s behalf.                  Howard was because it was at the request

 17
             (Declaration of Jared Birchall      and desire of Mr. Musk,” and Musk was

 18
          (“Birchall Decl.”), ¶ 4; Birchall      referred to throughout the investigation by

 19
          Decl. Ex. A.)                          Howard as “the principal” or “the

 20
                                                 beneficiary.”

 21
                                                   (Wilson Decl. Ex. 25; id. Ex. 2

 22
                                                 (Birchall Dep. 20:17-18, 45:15-25, 48:6-

 23
                                                 18, 48:19-21, 82:25-83:10, 118:24-119:3,

 24
                                                 159:2-7, 240:12-241:4); id. Ex. 1 (Musk

 25
                                                 Dep. 67:22-24, 69:1-23, 176:23-177:6).)

 26          52. Mr. Howard represented to          Evidentiary Objection

 27   6
        Musk chose not to rely on Birchall’s deposition at all in this motion, and his
 28   testimony is addressed at length herein and in Plaintiff’s Statement of Additional
      Material Facts Precluding Summary Judgment, infra.
                                               117
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  1
      Mr. Birchall that he served in the      Hearsay to the extent the statement is
  2
      United Kingdom Special Forces for    being submitted for the truth of the matter
  3
      eleven years and the United          asserted therein. (FRE 802).
  4
      Kingdom Security Service                Response
  5
      (commonly known as MI5) for two         Undisputed that Howard represented
  6
      years and had experience             this to Birchall, but not a material fact and
  7
      performing sensitive work for high   incomplete.
  8
      profile clients, including             This was Birchall’s “first investigator
  9
      billionaires Paul Allen and George   role or role in an investigation” and he
 10
      Soros.                               considered himself an “inexperienced
 11
         (Birchall Decl. ¶ 5, Ex. A.)      novice.” According to Birchall, “there
 12
                                           would have maybe been a slightly
 13
                                           different process if someone said go out
 14
                                           and identify the best investigator in the
 15
                                           world to go and find information in
 16
                                           Thailand,” and Birchall never confirmed
 17
                                           whether, in fact, Howard was in the
 18
                                           Special Forces or had performed any work
 19
                                           for Paul Allen or George Soros. His due
 20
                                           diligence into Howard consisted solely of
 21
                                           a Google search of his name and the name
 22
                                           of his company, which Birchall testified to
 23
                                           have been a “rudimentary” due diligence
 24
                                           process. Further, a Google search of
 25
                                           “James Howard Jupiter” (as of August 15,
 26
                                           2018) returns an article demonstrating that
 27
                                           this individual had been sent to prison for
 28

                                            118
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  1
                                             fraud for stealing more than £400,000
  2
                                             from his business.
  3
                                               (Wilson Decl. Ex. 29; id. Ex. 2
  4
                                             (Birchall Dep. 50:16-51:7, 72:9-76:7).)
  5
         53. Mr. Birchall told Mr.              Evidentiary Objection
  6
      Howard in writing that he and Mr.         Hearsay to the extent the statement is
  7
      Musk “aren’t looking to frame          being submitted for the truth of the matter
  8
      anyone. If there is definitively no    asserted therein. (FRE 802).
  9
      smoking gun, then let’s get the          Response
 10
      information necessary to make that       Undisputed that Birchall made the
 11
      determination and it is what it is.”   statements, but not a material fact and
 12
         (Birchall Decl. ¶ 13, Ex. D.)       incomplete. Otherwise, disputed to the
 13
                                             extent the statement is being made for the
 14
                                             truth of the matter asserted therein,
 15
                                             including because Birchall also:
 16
                                               •    told Howard to “keep digging and
 17
                                             dig creatively, extensively, and when
 18
                                             possible, aggressively” “[b]ecause he had
 19
                                             provided a lot of information at that point,
 20
                                             and that information at times varied”;
 21
                                               •    incentivized Howard by offering
 22
                                             him a “$10,000 bonus” “for successful
 23
                                             confirmation of nefarious behavior”;
 24
                                               •    sought information from Howard
 25
                                             relating to Unsworth’s UK counsel and
 26
                                             was aware that Howard purported to
 27
                                             obtain information regarding Unsworth’s
 28

                                              119
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  1
                                              legal counsel through a relationship with
  2
                                              “another partner at the law firm,” and
  3
                                              never tried to stop Howard from “trying to
  4
                                              surveil matters regarding Mr. Unsworth
  5
                                              and his lawyers”; and
  6
                                                •    texted Howard that he and Musk
  7
                                              would not “expose sources or any direct
  8
                                              information that we shouldn’t have.”
  9
                                                (Wilson Decl. Ex. 25; id. Ex. 2
 10
                                              (Birchall Dep. 131:16-25, 133:17-24).)
 11
         54. Through one of Mr. Musk’s          Undisputed, although the actual total
 12
      corporations, Mr. Birchall              amount paid remains undisclosed.
 13
      ultimately paid Mr. Howard more         Further, Birchall testified that he
 14
      than $50,000 to perform the             “absolutely” “had to get Musk’s authority
 15
      investigation.                          to pay” Howard.
 16
         (Birchall Decl. ¶ 8.)                  (Wilson Decl. Ex. 2 (Birchall Dep.
 17
                                              78:10-15).)
 18
         55. On August 17, 2018, Mr.             Evidentiary Objection
 19
      Howard wrote in an email to Mr.            Hearsay to the extent the statement is
 20
      Birchall that “there is indeed an       being submitted for the truth of the matter
 21
      unpleasant undertone to some of his     asserted therein. (FRE 802).
 22
      lifestyle choices” and “[t]here is no     Response
 23
      question that [Mr. Unsworth]              Undisputed that this was stated by
 24
      ‘associates’ locally with Europeans     Howard to Birchall, but not a material fact.
 25
      who enjoy ‘Thai comforts’ that are        On their face, these statements say
 26
      not acceptable in a developed           nothing of pedophilia, child rape, or a
 27
      society.”                               child bride. Moreover, there is no truth to
 28

                                               120
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  1
         (Birchall Decl. ¶ 11, Ex. C.)   these statements, a fact known to Musk,
  2
                                         who testified that “the investigator was not
  3
                                         being truthful” and “these things
  4
                                         subsequently turned out not to be correct.”
  5
                                         And, as Musk testified, Tik being 23 years
  6
                                         younger than Unsworth does not make
  7
                                         him a “pedo guy,” because Musk “doesn’t
  8
                                         think age difference matters. What
  9
                                         matters is whether somebody is a
 10
                                         consenting adult.”
 11
                                           (Wilson Decl. Ex. 3 (Unsworth Dep.
 12
                                         259:10-266:6, id. Ex. 4 (Vanessa Dep.
 13
                                         32:14-21); id. Ex. 1 (Musk Dep. 58:19-
 14
                                         59:1, 62:10-63:1, 253:7-254:22); id. Ex. 5
 15
                                         (Woranan Ratrawiphukkun (“Tik”) Dep.
 16
                                         32:4-15).)
 17
                                           As more fully described in subsequent
 18
                                         responses, Birchall conveyed to Musk
 19
                                         prior to August 30 that they had received
 20
                                         contradictory information from Howard
 21
                                         regarding the age of Unsworth’s
 22
                                         significant other (including that Unsworth
 23
                                         met her when she was 18 or 19 at the
 24
                                         youngest), and that Howard had “given
 25
                                         exactly nothing verified.”
 26
                                           (Wilson Decl. Ex. 25; id. Ex. 24; id. Ex.
 27
                                         2 (Birchall Dep. 133:17-24, 189:2-190:17,
 28

                                          121
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  1
                                             201:14-202:1, 256:13-260:6, 271:7-12).)
  2
                                               Unsworth more fully addresses the
  3
                                             information in Musk’s and Birchall’s
  4
                                             possession proving negligence and actual
  5
                                             malice in Unsworth’s Statement of
  6
                                             Additional Material Facts Precluding
  7
                                             Summary Judgment at ¶¶ 14-64.
  8
         56. On telephone calls, including      Evidentiary Objection
  9
      before August 27, 2018, Mr.               Hearsay to the extent the statement is
 10
      Howard described a Thai news           being submitted for the truth of the matter
 11
      article that quoted Mr. Unsworth’s     asserted therein. (FRE 802). Birchall’s
 12
      Thai wife and reported that Mr.        alleged conversation with Howard about
 13
      Unsworth married his wife when         the contents of an article is not the
 14
      she was 18 or 19 years old, but that   required best evidence of said contents.
 15
      they met seven years earlier, which    (FRE 1002).
 16
      would imply that she was eleven or       Response
 17
      twelve years old at the time.            Undisputed that the youngest age that
 18
         (Birchall Decl. ¶ 12.)              Howard ever reported to Birchall or Musk
 19
                                             for Tik when she married Unsworth was
 20
                                             18 or 19 years old; otherwise disputed.
 21
                                               Musk has failed to provide admissible
 22
                                             evidence of the contents of the purported
 23
                                             article or of its existence, despite it being
 24
                                             the lynchpin of his purported belief that
 25
                                             Unsworth met (but did not begin an
 26
                                             intimate relationship with) Tik when she
 27
                                             was a minor. Moreover, Musk has failed to
 28

                                              122
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  1
                                         adduce any phone records of such a call
  2
                                         taking place.
  3
                                           At all times, Howard’s references to
  4
                                         Unsworth’s “wife” referred to his
  5
                                         significant other, Tik. Unsworth has never
  6
                                         married Tik and met Tik in London in
  7
                                         February 2011 by chance when she was 32
  8
                                         years old. Tik is currently 40 years old.
  9
                                         Unsworth had never been to Thailand
 10
                                         prior to being invited by Tik in July 2011.
 11
                                         Unsworth has never been married to a
 12
                                         child.
 13
                                           (Wilson Decl. Ex. 23; id. Ex. 21; id. Ex.
 14
                                         3 (Unsworth Dep. 69:2-8, 70:3-4, 75:18-
 15
                                         76:3); id. Ex. 20 (Unsworth Rog. No. 1);
 16
                                         id. Ex. 5 (Tik Dep. 7:13-17, 10:5-25,
 17
                                         11:22-12:19, 32:4-15) (Birchall Dep. 16-
 18
                                         19).)
 19
                                           Unsworth more comprehensively and
 20
                                         sequentially addresses the information in
 21
                                         Musk and Birchall’s possession proving
 22
                                         negligence and actual malice in
 23
                                         Unsworth’s Statement of Additional
 24
                                         Material Facts Precluding Summary
 25
                                         Judgment at ¶¶ 14-64.
 26
                                           However, the following information
 27
                                         was in Musk and Birchall’s possession
 28

                                          123
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  1
                                         prior to Musk’s false accusations on
  2
                                         Twitter on August 28 and/or to BuzzFeed
  3
                                         on August 30 that Unsworth is a
  4
                                         pedophile, had married a twelve-year-old
  5
                                         child bride, and was a child rapist:
  6
                                           •    Howard never reported that
  7
                                         Unsworth was a child rapist;
  8
                                           •    Birchall never reported to Musk that
  9
                                         Unsworth was a child rapist;
 10
                                           •    Even if Birchall is being truthful,
 11
                                         Howard told Birchall that Unsworth and
 12
                                         Tik got married, at the earliest, when she
 13
                                         was 18/19 years old;
 14
                                           •    Birchall never told Musk that
 15
                                         Unsworth had a child bride, married Tik
 16
                                         when she was a child or when she was
 17
                                         twelve years old;
 18
                                           •    On August 24, 2018, Howard
 19
                                         reported in writing that “The Target and
 20
                                         [Tik] have been married for 7 years, 28yrs
 21
                                         gap between them both”;
 22
                                           •    On August 27, 2018, in response to
 23
                                         Birchall asking “When did he marry his
 24
                                         wife in Thailand? 2011?” and “When did
 25
                                         he meet his wife in Thailand?” Howard
 26
                                         reported in writing that it was verified that
 27
                                         “Target met his wife in 2008 in her role as
 28

                                          124
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  1
                                         Vice Presi[d]ent of the local commune”;
  2
                                           •    On August 27, 2018, in response to
  3
                                         Birchall asking “What was her age when
  4
                                         they met?” Howard reported in writing
  5
                                         that the “target is 63 years old. His wife
  6
                                         we believe is 30 which would have put her
  7
                                         at 18/19 when they first met.” (Emphasis
  8
                                         added);
  9
                                           •    Thus, based on the August 24 e-
 10
                                         mail, Unsworth would have been 63 years
 11
                                         old and Tik would have been 35 years old
 12
                                         in August 2018, and they would have
 13
                                         married when she was 28 years old;
 14
                                           •    Thus, based on the August 27 e-
 15
                                         mail, Tik would have been “18/19” when
 16
                                         they met “in 2008,” and married when she
 17
                                         was approximately 22-23 years old;
 18
                                           •    On the morning of August 30, 2018,
 19
                                         Howard provided a written report detailing
 20
                                         that Unsworth’s “wife [Tik] we believe is
 21
                                         30 (we will confirm this in the next 48 hrs)
 22
                                         which would have put her at 18/19 when
 23
                                         they first met” (emphasis in original);
 24
                                           •    Birchall testified that he would have
 25
                                         reported to Musk within a day of receiving
 26
                                         the reports on August 27 and August 30,
 27
                                         and recognized that there was a “serious
 28

                                          125
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  1
                                         discrepancy” in what was being reported
  2
                                         regarding Tik’s age when she and
  3
                                         Unsworth allegedly met and married, and
  4
                                         Birchall “would have shared the
  5
                                         information [with Musk] that was shared
  6
                                         with” him on August 28 when he got it;
  7
                                           •    Birchall acknowledged that Howard
  8
                                         was “going back and forth with [him]. He
  9
                                         would say 18 or 19 at one point. Then he
 10
                                         would tell [him] 12 at one point. Then he
 11
                                         would go 18 or 19 at one point. And then
 12
                                         he would go to 12 at one point,” and that
 13
                                         he “would have communicated everything
 14
                                         communicated to me” to Musk; and
 15
                                           •    Birchall’s written communications
 16
                                         with Howard on September 6, 2018, state
 17
                                         that he had not “seen the Thai article you
 18
                                         referenced” and described what he had
 19
                                         been told about it only as: “we were told
 20
                                         numerous times that they were ‘married’
 21
                                         (or formed a relationship) in her late teens
 22
                                         (you said 18), but that she was quoted in a
 23
                                         newspaper saying they met 7 years prior.”
 24
                                           (Wilson Decl. Exs. 22-24; id. Ex. 2
 25
                                         (Birchall Dep. 99:3-100:7, 139:16-141:7,
 26
                                         149:14-23, 224:22-226:5, 242:19-243:17,
 27
                                         246:2-23, 248:23-264:2).)
 28

                                          126
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  1

  2
         57. Within a day of receiving the      Evidentiary Objection
  3
      information, Mr. Birchall orally          Hearsay to the extent the statement is
  4
      reported to Mr. Musk Mr.               being submitted for the truth of the matter
  5
      Howard’s description of a Thai         asserted therein. (FRE 802). Birchall’s
  6
      news article that quoted Mr.           alleged conversation with Howard about
  7
      Unsworth’s Thai wife and reported      the contents of an article is not the
  8
      that Mr. Unsworth married his wife     required best evidence of said contents.
  9
      when she was 18 or 19 years old,       (FRE 1002).
 10
      but that they met seven years            Response
 11
      earlier, which would imply that she      Undisputed that Musk was expressly
 12
      was eleven or twelve years old at      aware that the youngest age that Howard
 13
      the time.                              ever reported for Tik when she married
 14
         (Birchall Decl. ¶ 12; Musk Decl.    Unsworth was 18 or 19 years old;
 15
      ¶ 35.)                                 otherwise disputed.
 16
                                               Unsworth more comprehensively and
 17
                                             sequentially addresses the information in
 18
                                             Musk’s and Birchall’s possession proving
 19
                                             negligence and actual malice in
 20
                                             Unsworth’s Statement of Additional
 21
                                             Material Facts Precluding Summary
 22
                                             Judgment at ¶¶ 14-64.
 23
                                               For the Court’s convenience, Unsworth
 24
                                             incorporates his citations of evidence and
 25
                                             response to Defendant’s Statement of Fact
 26
                                             No. 56, supra, and specifically affirms and
 27
                                             supplements his response to No. 56 with
 28

                                              127
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  1
                                         highlighted evidence as follows:
  2
                                           •    Birchall testified that he would have
  3
                                         reported to Musk within a day of receiving
  4
                                         the reports on August 27 and August 30,
  5
                                         and recognized that there was “conflicting
  6
                                         information” and a “serious discrepancy”
  7
                                         in what was being reported regarding
  8
                                         Tik’s age when she and Unsworth
  9
                                         allegedly met and married, and Birchall
 10
                                         “would have shared the information [with
 11
                                         Musk] that was shared with” him on
 12
                                         August 28 when he got it;
 13
                                           •    Even if Birchall is being truthful,
 14
                                         Howard told Birchall that Unsworth and
 15
                                         Tik got married, at the earliest, when she
 16
                                         was “18 or 19” years old, which Birchall
 17
                                         acknowledged does not make her a child
 18
                                         bride and “certainly not a 12-year-old
 19
                                         child bride”;
 20
                                           •    Birchall acknowledged that
 21
                                         “[s]omeone being married at 18 does not
 22
                                         suggest they are child rapist”;
 23
                                           •    Birchall acknowledged that it is
 24
                                         “true” that “if you go back and assume
 25
                                         that [Tik] was seven years – that they had
 26
                                         met seven years before they were married
 27
                                         at age 18 or 19, that would be evidence
 28

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  1
                                             that they met each other – met each other
  2
                                             when she was 11 or 12 years old,” but
  3
                                             “[t]o meet someone is not to have sexual
  4
                                             intercourse with them,” (emphasis added);
  5
                                               •    Birchall testified that he never
  6
                                             reported to Musk that Unsworth had
  7
                                             married a child bride or was a child rapist;
  8
                                               •    Birchall acknowledged that “if you
  9
                                             first meet … at age 18 or 19, it is
 10
                                             impossible that you got married seven
 11
                                             years earlier than you met;” and
 12
                                               •    Birchall received multiple reports in
 13
                                             writing from Howard stating that
 14
                                             Unsworth “first met” his partner when she
 15
                                             was 18 or 19. (Emphasis added).
 16
                                               (Wilson Decl. Ex. 2 (Birchall Dep.
 17
                                             104:1-105:2, 105:19-108:10, 139:16-
 18
                                             141:7, 150:13-17, 242:19-243:6, 246:2-23,
 19
                                             248:23-252:19).)
 20
 21
         58. On August 27, 2018, Mr.            Evidentiary Objection
 22
      Howard wrote to Mr. Birchall that         Hearsay to the extent the statement is
 23
      Mr. Unsworth “is 63 years old. His     being submitted for the truth of the matter
 24
      wife we believe is 30 which would      asserted therein. (FRE 802).
 25
      have put her at 18/19 when they          Response
 26
      first met. The target would have         Undisputed that Howard wrote said
 27
      been 52 yrs old at the time. This is   statement to Birchall and that the youngest
 28

                                              129
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  1
      NOT verified but will be ASAP.”    age Howard ever reported for Tik when
  2
         (Birchall Decl. ¶ 14, Ex. D.)   she married Unsworth was when she was
  3
                                         18 or 19 years old, but incomplete, and
  4
                                         otherwise disputed to the extent the
  5
                                         statement is being submitted for the truth
  6
                                         of the matter asserted therein. And, indeed,
  7
                                         Unsworth denies that the alleged reports
  8
                                         are true.
  9
                                           Unsworth more comprehensively and
 10
                                         sequentially addresses the information in
 11
                                         Musk and Birchall’s possession proving
 12
                                         negligence and actual malice in
 13
                                         Unsworth’s Statement of Additional
 14
                                         Material Facts Precluding Summary
 15
                                         Judgment at ¶¶ 14-64.
 16
                                           For the Court’s convenience, Unsworth
 17
                                         incorporates his citations of evidence and
 18
                                         response to Defendant’s Statement of Fact
 19
                                         Nos. 56 and 57, supra, but specifically
 20
                                         affirms and supplements his responses
 21
                                         with highlighted evidence as follows:
 22
                                           In the very same e-mail cited in support
 23
                                         of this “uncontroverted fact,” it was
 24
                                         reported “as fact” that Unsworth “met his
 25
                                         wife in 2008 in her role as Vice President
 26
                                         of the local commune.” At no time did
 27
                                         Birchall or Musk ever receive any
 28

                                          130
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  1
                                             information that, in 2008, Tik was a child,
  2
                                             much less 11 or 12 years old, while she
  3
                                             was the “Vice President of the local
  4
                                             commune.” Further, in this very e-mail,
  5
                                             Birchall had asked of Howard as follows,
  6
                                             demonstrating his and Musk’s subjective
  7
                                             state of mind as of August 27: “When did
  8
                                             he marry his wife in Thailand? 2011?”
  9
                                             (Emphasis added).
 10
                                               (Wilson Decl. Ex. 22)
 11

 12
         59. On August 27, 2018, Mr.            Evidentiary Objection
 13
      Howard also wrote to Mr. Birchall         Hearsay to the extent the statement is
 14
      that Mr. Unsworth has been             being submitted for the truth of the matter
 15
      traveling to Thailand since the late   asserted therein. (FRE 802).
 16
      1980s and that Mr. Unsworth’s            Response
 17
      “behaviour is at best described as a     Undisputed that Howard wrote the
 18
      ‘Manther’ – UK slang for the           aforementioned statement, but not a
 19
      opposite of Cougar.”                   material fact and incomplete. Disputed to
 20
         (Id.)                               the extent the statement is being submitted
 21
                                             for the truth of the matter asserted therein.
 22
                                             And, indeed (as with all others), Unsworth
 23
                                             denies that the alleged reports are true.
 24
                                               Unsworth more comprehensively and
 25
                                             sequentially addresses the information in
 26
                                             Musk and Birchall’s possession proving
 27
                                             negligence and actual malice in
 28

                                              131
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  1
                                         Unsworth’s Statement of Additional
  2
                                         Material Facts Precluding Summary
  3
                                         Judgment at ¶¶ 14-64.
  4
                                           For the Court’s convenience, Unsworth
  5
                                         incorporates his citations of evidence and
  6
                                         response to Defendant’s Statement of Fact
  7
                                         Nos. 56-58, supra, but specifically affirms
  8
                                         and supplements his responses with
  9
                                         highlighted evidence as follows:
 10
                                           First, Howard was expressly “in the
 11
                                         process of verifying” the statement
 12
                                         regarding “manther,” and this statement
 13
                                         does not support “child rapist” or “child
 14
                                         bride.”
 15
                                           Second, the statement regarding the
 16
                                         1980s is incomplete, as the Howard e-mail
 17
                                         stated only that “The target has been
 18
                                         traveling on and off to Thailand for cave
 19
                                         exploration since the late 1980s.”
 20
                                         (Emphasis added). In any event, Unsworth
 21
                                         did not travel to Thailand prior to 2011.
 22
                                           Third, contrary to Musk’s e-mail to
 23
                                         BuzzFeed stating that Unsworth has “been
 24
                                         traveling to or living in Thailand for 30 to
 25
                                         40 years,” this same e-mail from Howard
 26
                                         stated as verified fact (albeit incorrectly)
 27
                                         that “[t]he target moved permanently to
 28

                                          132
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  1
                                             Thailand in the [sic] 2010.”
  2
                                               (Wilson Decl. Exs. 22, 19)
  3
         60. Before August 28, 2018, Mr.        Evidentiary Objection
  4
      Birchall orally relayed to Mr. Musk       Hearsay to the extent the statement is
  5
      the contents of Mr. Howard’s           being submitted for the truth of the matter
  6
      phone calls and his August 17 and      asserted therein. (FRE 802).
  7
      August 27, 2018 emails, including        Response
  8
      Mr. Howard’s reports that Mr.            Undisputed that Howard engaged in the
  9
      Unsworth associated with               aforementioned conduct and that Musk
 10
      Europeans who engage in improper       was aware of the information in Howard’s
 11
      sexual conduct in Thailand, and has    August 27 email reporting that Unsworth
 12
      been traveling to Thailand since the   met Tik when she was 18 or 19 years old,
 13
      1980s.                                 but not a material fact and incomplete.
 14
         (Birchall Decl. ¶ 15; Musk Decl.    Disputed to the extent the statement is
 15
      ¶ 35.)                                 being submitted for the truth of the matter
 16
                                             asserted therein. And, indeed, Unsworth
 17
                                             denies that the alleged reports are true.
 18
                                               Unsworth more comprehensively and
 19
                                             sequentially addresses the information in
 20
                                             Musk and Birchall’s possession proving
 21
                                             negligence and actual malice in
 22
                                             Unsworth’s Statement of Additional
 23
                                             Material Facts Precluding Summary
 24
                                             Judgment at ¶¶ 14-64, with lack of verified
 25
                                             information and same being
 26
                                             communicated to Musk specifically
 27
                                             addressed in ¶¶ 33-37.
 28

                                              133
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  1
                                           For the Court’s convenience, Unsworth
  2
                                         incorporates his citations of evidence and
  3
                                         response to Defendant’s Statement of Fact
  4
                                         Nos. 56-59, supra, but specifically affirms
  5
                                         and supplements his responses with
  6
                                         highlighted evidence as follows:
  7
                                           As set forth above, the August 27, 2018,
  8
                                         report fatally condemns Musk’s
  9
                                         accusations of child rape and a child bride;
 10
                                         further, while still categorically false as set
 11
                                         forth above, “improper sexual conduct” is
 12
                                         not ipso facto “child rape” and “child
 13
                                         bride.” While inapplicable to Unsworth,
 14
                                         Birchall acknowledged that “there is a big
 15
                                         difference” “between prostitution and
 16
                                         child prostitution.”
 17
                                           Further, Birchall was subjectively
 18
                                         aware that he had not received any
 19
                                         substantiation for any of Howard’s claims,
 20
                                         even as of September 6, 2018, when he
 21
                                         wrote to Howard:
 22
                                           •    “Some (all?) of this information has
 23
                                         now proven to be wrong”;
 24
                                           •    “It doesn’t seem too difficult to get
 25
                                         something verifying her age … These
 26
                                         things are vital simply for us to know we
 27
                                         are getting legitimate information”;
 28

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  1
                                           •    “[L]et’s focus on what we can do
  2
                                         now to be productive, move toward the
  3
                                         objective and verify some of the key data.
  4
                                         Do you have a definitive way to confirm
  5
                                         her age? Have the guys found anything
  6
                                         new in Pattaya?”
  7
                                           Birchall was subjectively aware that he
  8
                                         had not received any substantiation for any
  9
                                         of Howard’s claims, even as of September
 10
                                         12, 2018, when he wrote to Howard: “It
 11
                                         seems near impossible that this guy has
 12
                                         walked in the circles that he has, spent as
 13
                                         much time there as he has and hasn’t left
 14
                                         some trail of his devious behavior. We
 15
                                         must find that trail.”
 16
                                           Birchall was subjectively aware that he
 17
                                         had not received any substantiation for any
 18
                                         of Howard’s claims, even as of September
 19
                                         17, 2018, when he wrote to Howard:
 20
                                         “Also, what was the information source
 21
                                         that suggested Unsworth has been going to
 22
                                         Thailand since the 80’s?”
 23
                                           Birchall was subjectively aware that he
 24
                                         had not received any substantiation for any
 25
                                         of Howard’s claims, even as of September
 26
                                         18, 2018, when he wrote to Howard: “You
 27
                                         mentioned several days ago that you
 28

                                          135
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  1
                                         would be sitting down with your embassy
  2
                                         contact to get documented proof of
  3
                                         Unsworth’s travel over those 6 years that
  4
                                         you indicated he spent time in Pattaya.
  5
                                         Did that happen? This is an important
  6
                                         piece of verification.”
  7
                                           Birchall was subjectively aware that he
  8
                                         had not received any substantiation for any
  9
                                         of Howard’s claims, even as of September
 10
                                         20, 2018, when he wrote to Howard:
 11
                                         “You’ve made some pretty specific claims
 12
                                         that contradict his legal filing. But at this
 13
                                         point we have nothing to confirm any of
 14
                                         them. We need something, anything that
 15
                                         can support your claims.”
 16
                                           Birchall was subjectively aware that he
 17
                                         had not received any substantiation for any
 18
                                         of Howard’s claims, even as of October 2,
 19
                                         2018, when he wrote to Howard: “James –
 20
                                         go back and review the information
 21
                                         you’ve provided aside from the initial info.
 22
                                         You’ve just about given us nothing. And
 23
                                         you have given exactly nothing verified.”
 24
                                           Birchall admitted that he relayed all
 25
                                         significant information from the
 26
                                         investigation to Musk, including the
 27
                                         unverified nature of the reports.
 28

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  1
                                                (Wilson Decl. Exs. 24-25; see also id.
  2
                                              Ex. 2 (Birchall Dep. 89:1-25, 133:17-24,
  3
                                              173:21-184:12, 201:13-202:1, 232:25-
  4
                                              233:2).)
  5
         61. After Mr. Howard sent the           Evidentiary Objection
  6
      August 27, 2018 email to Mr.               Hearsay to the extent the statement is
  7
      Birchall, he again represented on a     being submitted for the truth of the matter
  8
      phone call to Mr. Birchall that there   asserted therein. (FRE 802). Intentionally
  9
      was evidence suggesting that Mr.        vague and misrepresentative as to “began
 10
      Unsworth met and began a                a relationship with his wife.”
 11
      relationship with his wife when she       Response
 12
      was eleven or twelve. Mr. Birchall        Disputed. Unsworth more sequentially
 13
      reported this information to Mr.        addresses the information in Musk and
 14
      Musk.                                   Birchall’s possession proving negligence
 15
         (Birchall Decl. ¶ 16.)               and actual malice in Unsworth’s Statement
 16
                                              of Additional Material Facts Precluding
 17
                                              Summary Judgment at ¶¶ 14-64.
 18
                                                For the Court’s convenience, Unsworth
 19
                                              incorporates his citations of evidence and
 20
                                              response to Defendant’s Statement of Fact
 21
                                              Nos. 56-60, supra, but specifically affirms
 22
                                              and supplements his responses with
 23
                                              highlighted evidence as follows:
 24
                                                First, this unequivocal statement in
 25
                                              Birchall’s September 13, 2019, declaration
 26
                                              is inconsistent with his sworn deposition
 27
                                              testimony just three days earlier on
 28

                                               137
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  1
                                         September 10, 2019, when he stated that
  2
                                         he and Musk shared the “same concern” as
  3
                                         to “whether they were getting the truth
  4
                                         from Mr. Howard,” and they “had had that
  5
                                         concern ever since his data being provided
  6
                                         to [Birchall] started to change,” but that
  7
                                         Howard’s information as to Tik’s age
  8
                                         “continued to waffle even after the
  9
                                         27th.” (Emphasis added).
 10
                                           Second, the August 30, 2018, written
 11
                                         report is entirely consistent with the
 12
                                         August 24, 2018, and August 27, 2018,
 13
                                         written report providing that Tik was
 14
                                         18/19 when she first met Unsworth:
 15
                                           •    On August 24 it was reported that
 16
                                         “The target and Woranun [Tik] have been
 17
                                         married for 7years, 27 yrs gap between
 18
                                         them both.”
 19
                                           •    On August 27 it was reported “as
 20
                                         fact” that Unsworth “met his wife in 2008
 21
                                         in her role as Vice President of the local
 22
                                         commune” and that it was believed Tik “is
 23
                                         30 which would have put her at 18/19
 24
                                         when they first met.”
 25
                                           •    On August 30, it was reported that
 26
                                         Tik is “we believe 30 (we will confirm this
 27
                                         in the next 48hrs) which would have put
 28

                                          138
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  1
                                         her at 18/19 when they first met.”
  2
                                         (Emphasis in original).
  3
                                           Third, even Birchall’s written
  4
                                         statements to Howard on August 27, 2018,
  5
                                         and after the BuzzFeed article on
  6
                                         September 4, 2018, demonstrate his
  7
                                         subjective awareness that, even if he had
  8
                                         heard Tik and Unsworth might have met
  9
                                         when she was twelve or thirteen years old,
 10
                                         they did not “form a relationship” until she
 11
                                         was, at the earliest, 18 or 19 years old:
 12
                                           •    On August 27, in the same email
 13
                                         where it was reported that Unsworth met
 14
                                         Tik in 2008 and she is believed to
 15
                                         currently be 30 years old, Birchall had
 16
                                         asked Howard “When did he marry his
 17
                                         wife in Thailand? 2011?”
 18
                                           •    On September 6, Birchall recounted
 19
                                         what he allegedly had previously been told
 20
                                         by phone by Howard, stating “we were
 21
                                         told numerous times that they were
 22
                                         ‘married’ (or formed a relationship) in
 23
                                         her late teens (you said 18), but that she
 24
                                         was quoted in a newspaper saying they
 25
                                         met 7 years prior.” (Emphasis added).
 26
                                           Again, as Birchall acknowledged, and
 27
                                         while it was never substantiated that
 28

                                          139
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  1
                                            Unsworth met Tik when she was 11, 12, or
  2
                                            13, and he was in fact told on numerous
  3
                                            occasions they met when she was 18 or 19,
  4
                                            meeting someone is not the same thing as
  5
                                            marrying or raping someone.
  6
                                              (Wilson Decl. Exs. 22-24; id. Ex. 2
  7
                                            Birchall Dep. 137:10-138:4, 150:13-17).)
  8

  9
                         F.      Mr. Musk’s August 28, 2018 Tweet
 10
         62. On August 28, 2018, in           Undisputed.
 11
      response to a tweet from Drew
 12
      Olanoff, a reporter for TechCrunch,
 13
      that Mr. Musk’s “dedication to
 14
      facts and truth would have been
 15
      wonderful if applied to that time
 16
      when you called someone a pedo,”
 17
      Mr. Musk tweeted “You don’t
 18
      think it’s strange he hasn’t sued
 19
      me? He was offered free legal
 20
      services.”
 21
         (Musk Decl. ¶ 38, Ex. K.)
 22
         63. At the time he sent the           Evidentiary Objection
 23
      August 28, 2018 tweet, Mr. Musk         Hearsay to the extent the statement is
 24
      had knowledge of Mr. Howard’s         being submitted for the truth of the matter
 25
      initial findings, as they were        asserted therein. (FRE 802). Mr.
 26
      relayed to him by Mr. Birchall,       Brichall’s alleged conversation with
 27
      including Mr. Howard’s reports        Howard about the contents of an article or
 28

                                             140
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  1
      that that Mr. Unsworth associated    report is not the required best evidence of
  2
      with Europeans who engage in         said contents. (FRE 1002). Intentionally
  3
      improper sexual conduct in           vague as to what “findings” means with
  4
      Thailand, has been traveling to      respect to verified information and the use
  5
      Thailand since the 1980s, and that   of “began a relationship.”
  6
      there was a report Mr. Unsworth        Response
  7
      met and began a relationship with      Disputed.
  8
      his wife when she was eleven or        Unsworth more comprehensively and
  9
      twelve.                              sequentially addresses the information in
 10
         (Musk Decl. ¶ 39.)                Musk and Birchall’s possession proving
 11
                                           negligence and actual malice in
 12
                                           Unsworth’s Statement of Additional
 13
                                           Material Facts Precluding Summary
 14
                                           Judgment at ¶¶ 14-64.
 15
                                             For the Court’s convenience, Unsworth
 16
                                           incorporates his citations of evidence and
 17
                                           response to Defendant’s Statement of Fact
 18
                                           Nos. 56-61, supra, but specifically affirms
 19
                                           and supplements his responses with
 20
                                           highlighted evidence as follows:
 21
                                             While Musk may have received some
 22
                                           vague, false, and unsubstantiated
 23
                                           information amounting, at most, to an
 24
                                           unverified report that Unsworth met Tik
 25
                                           when she was approximately 12 years old,
 26
                                           Musk was also told about a litany of
 27
                                           written information from Howard that
 28

                                            141
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  1
                                         Unsworth met Tik when was was 18 or
  2
                                         19:
  3
                                           •    Birchall testified that he would have
  4
                                         reported to Musk within a day of receiving
  5
                                         the reports on August 27 and August 30,
  6
                                         and recognized that there was at least
  7
                                         “conflicting information” and a “serious
  8
                                         discrepancy” in what was being reported
  9
                                         regarding Tik’s age when she and
 10
                                         Unsworth allegedly met and married, and
 11
                                         Birchall “would have shared the
 12
                                         information [with Musk] that was shared
 13
                                         with” him on August 28 when he got it;
 14
                                         and
 15
                                           •    As a result, both Birchall and Musk
 16
                                         shared the “same concern” as to “whether
 17
                                         they were getting the truth from Mr.
 18
                                         Howard,” and they “had had that concern
 19
                                         ever since his data being provided to
 20
                                         [Birchall] started to change.”
 21
                                           In short, in addition to both Musk’s
 22
                                         subjective doubts of the truth and
 23
                                         possession of at least conflicting
 24
                                         information, the information identified in
 25
                                         this purportedly “uncontroverted fact” that
 26
                                         Unsworth met and began a relationship
 27
                                         with his wife when she was eleven or
 28

                                          142
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  1
                                           twelve years old does not establish the
  2
                                           accusations in this case.
  3
                                             (Wilson Decl. Ex. 2 (Birchall Dep.
  4
                                           105:19-108:10, 137:10-138:4, 139:16-
  5
                                           141:7).)
  6
           G.     The Investigator Reports More Detailed Findings to Birchall
  7
         64. In late August 2018, Mr.        Evidentiary Objection
  8
      Howard told Mr. Birchall in            Vague and irrelevant (FRE 401).
  9
      telephone conversations that he      Hearsay to the extent the statement is
 10
      learned that Mr. Unsworth spent      being submitted for the truth of the matter
 11
      significant time in Pattaya Beach,   asserted therein. (FRE 802).
 12
      which is well known for                Response
 13
      prostitution and sex tourism, that     Disputed, incomplete, and not a
 14
      Mr. Unsworth associated with other   material fact.
 15
      European expatriates who engaged       Unsworth more comprehensively and
 16
      in inappropriate sexual conduct in   sequentially addresses the information in
 17
      Thailand, and that that Mr.          Musk and Birchall’s possession proving
 18
      Unsworth was unpopular at the        negligence and actual malice in
 19
      Thai Cave Rescue because others      Unsworth’s Statement of Additional
 20
      regarded him as “creepy.”            Material Facts Precluding Summary
 21
         (Birchall Decl. ¶ 17.)            Judgment at ¶¶ 14-64, with lack of verified
 22
                                           information and same being
 23
                                           communicated to Musk specifically
 24
                                           addressed in ¶¶ 33-37.
 25
                                             For the Court’s convenience, Unsworth
 26
                                           incorporates his citations of evidence and
 27
                                           response to Defendant’s Statement of Fact
 28

                                            143
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  1
                                         Nos. 56-61 and 63, supra, but specifically
  2
                                         affirms and supplements his responses
  3
                                         with highlighted evidence as follows:
  4
                                           First, all of these accusations are false.
  5
                                         Unsworth has never been to Pattaya or
  6
                                         Pattaya Beach, does not associate with
  7
                                         European expatriates who engage in
  8
                                         inappropriate sexual conduct in Thailand,
  9
                                         and was not unpopular during the Thai
 10
                                         Cave Rescue.
 11
                                           (Wilson Decl. Ex. 3 (Unsworth Dep.
 12
                                         77:10-24); id. Ex. 20 (Unsworth Rog. 13);
 13
                                         id. Ex. 5 (Tik Dep. 14:12-18, 35:9-36:4);
 14
                                         id. Ex. 4 (Vanessa Dep. 14:11-21, 32:14-
 15
                                         21).)
 16
                                           Second, this portion of Birchall’s
 17
                                         September 13, 2019 declaration
 18
                                         contradicts his sworn deposition testimony
 19
                                         from just three days earlier on September
 20
                                         10, 2019, in material respects:
 21
                                           •     Birchall testified that while alleged
 22
                                         conversations with Howard regarding
 23
                                         Pattaya Beach occurred “prior to the email
 24
                                         preliminary report on August 30th,” he
 25
                                         acknowledged that it is “right” “there is no
 26
                                         written reference in any of his emails or
 27
                                         reports, prior to the August 30th, report that
 28

                                          144
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  1
                                         references Pattaya Beach,” and he cannot
  2
                                         “with certainty” “give you that date” that
  3
                                         he claims to have “had a conversation
  4
                                         about Pattaya Beach prior to August the
  5
                                         30th.”
  6
                                           (Wilson Decl. Ex. 2 (Birchall Dep.
  7
                                         183:4-185:22).)
  8
                                           Third, all written reports with respect to
  9
                                         whether Unsworth spent time in Pattaya
 10
                                         were expressly unverified and equivocal,
 11
                                         this was known to Musk and Birchall, and
 12
                                         they were in fact still seeking any
 13
                                         corroborative information after Musk’s
 14
                                         accusations to BuzzFeed:
 15
                                           •      Birchall acknowledged that he is
 16
                                         unaware of receiving more than one
 17
                                         written report regarding Unsworth and
 18
                                         Pattaya Beach;
 19
                                           •      Birchall acknowledged that the only
 20
                                         information Musk could have received
 21
                                         came directly from him;
 22
                                           •      The sole written report on the issue
 23
                                         stated that “Prior to meeting his current
 24
                                         wife we believe that Mr Unsworth was
 25
                                         living in the Pattaya Beach … We are in
 26
                                         the process of verifying this
 27
                                         information.” (Emphasis added).
 28

                                          145
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  1
                                           •    The sole written report on the issue
  2
                                         stated that “If this is the case that Mr
  3
                                         Unsworth chose to live in Pattaya Beach
  4
                                         before moving to Northern Thailand . . . .”
  5
                                         (Emphasis added).
  6
                                           •    The sole written report on the issue
  7
                                         stated, “Can we confirm that Mr
  8
                                         Unsworth was a frequent visitor to Pattaya
  9
                                         – This can be established by checking old
 10
                                         visa applications that he would have made
 11
                                         on entering Thailand.” (Emphasis added).
 12
                                           •    Birchall acknowledged that when
 13
                                         the August 30, 2018, report was sent,
 14
                                         Howard “did state that they were in the
 15
                                         process of verifying that,” i.e., the travel of
 16
                                         Unsworth;
 17
                                           •    Birchall acknowledged that “there
 18
                                         had been no confirmation as a matter of
 19
                                         fact that Unsworth lived in Pattaya
 20
                                         Beach,” stating that “it definitely questions
 21
                                         the veracity of that. Though his – the
 22
                                         conversations you had with him much
 23
                                         more affirmative [sic].”
 24
                                           •    Birchall acknowledged that Howard
 25
                                         had “[n]ot unequivocally” “prior to August
 26
                                         30th … stated … ‘We know that Vernon
 27
                                         Unsworth lived in Pattaya Beach most of
 28

                                          146
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  1
                                         the time that he visited Thailand.’”
  2
                                           •    Birchall acknowledged that “[t]here
  3
                                         were inconsistences” regarding Howard’s
  4
                                         “portrayal of Unsworth’s activity in
  5
                                         Pattaya Beach and other activities ….”
  6
                                           •    Even as of September 3, 2018,
  7
                                         Howard wrote to Birchall: “Jim I have
  8
                                         deployed 3x investigators to Pattaya …
  9
                                         My plan is to wait for the Pattaya evidence
 10
                                         then package it up for the x2 journalist in
 11
                                         Australia & x 2 in the UK … Pattaya will
 12
                                         take some time probably 7 days … Can
 13
                                         you authorise a further 20k USD? This is
 14
                                         to cover the UK surveillance and Pattaya
 15
                                         investigation.”
 16
                                           •    As of September 4, 2018, Birchall
 17
                                         demonstrated his awareness that
 18
                                         Unsworth’s (false) travel to Pattaya was
 19
                                         unverified and that any specific conduct
 20
                                         remained unknown, stating, “Can you
 21
                                         confirm the hotel names in Pattaya? And
 22
                                         you said 2 of them are considered standard
 23
                                         destinations for expats with bad intentions,
 24
                                         correct?”
 25
                                           •    Howard responded that “our goal is
 26
                                         to get evidence from the penthouse which
 27
                                         is obviously a big win. I’ll keep you
 28

                                          147
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  1
                                            updated.”
  2
                                              •    Birchall acknowledged during his
  3
                                            deposition that as of “early September”
  4
                                            records about “hotel stays in Pattaya and
  5
                                            all that stuff … didn’t materialize …”
  6
                                              •    Birchall acknowledged that as of
  7
                                            August 30, it was “[t]rue that Howard had
  8
                                            “not stated as a matter of fact that Vernon
  9
                                            Unsworth ever lived in Pattaya Beach,”
 10
                                            while insisting that “there are numerous
 11
                                            phones calls between each of these
 12
                                            [written] correspondence where he is
 13
                                            much more affirmative in his beliefs of her
 14
                                            age and of Unsworth’s activities and of his
 15
                                            time spent in Pattaya Beach.”
 16
                                              •    Birchall acknowledged that it was
 17
                                            not until September 4, 2018, that Howard
 18
                                            claimed to have “contacts in the British
 19
                                            Embassy that had … travel records for Mr.
 20
                                            Unsworth having frequented” certain
 21
                                            alleged hotels in Pattaya.
 22
                                              (Wilson Decl. Ex. 2 (Birchall Dep.
 23
                                            136:6-21, 169:1-170:22, 176:12-177:1,
 24
                                            177:19-181:23, 183:4-190:24, 201:13-
 25
                                            202:1); id. Ex. 23, 25.
 26
 27
         65. Before the evening of August     Evidentiary Objection
 28

                                             148
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  1
      30, 2018, Mr. Birchall had also        Vague and irrelevant (FRE 401).
  2
      relayed to Mr. Musk Mr. Howard’s     Hearsay to the extent the statement is
  3
      findings that Mr. Unsworth met his   being submitted for the truth of the matter
  4
      wife when she was eleven or          asserted therein. (FRE 802). Birchall’s
  5
      twelve, that Mr. Unsworth traveled   alleged conversation with Howard about
  6
      to Thailand since the 1980s and      the contents of an article is not the
  7
      that he frequented Pattaya Beach     required best evidence of said contents.
  8
      which is well known for              (FRE 1002).
  9
      prostitution and sex tourism, and      Response
 10
      that Mr. Unsworth was unpopular        Disputed, incomplete, and not a
 11
      at the rescue site because other     material fact.
 12
      rescue workers thought that he was     Unsworth more comprehensively and
 13
      “creepy.”                            sequentially addresses the information in
 14
         (Birchall Decl. ¶¶ 14-17, 19;     Musk and Birchall’s possession proving
 15
      Musk Decl. ¶ 35.)                    negligence and actual malice in
 16
                                           Unsworth’s Statement of Additional
 17
                                           Material Facts Precluding Summary
 18
                                           Judgment at ¶¶ 14-64.
 19
                                             For the Court’s convenience, Unsworth
 20
                                           incorporates his citations of evidence and
 21
                                           response to Defendant’s Statement of Fact
 22
                                           Nos. 56-61 and 63-64, supra, but
 23
                                           specifically affirms and supplements his
 24
                                           responses with highlighted evidence as
 25
                                           follows:
 26
                                             The cited evidence does not support the
 27
                                           contention that Howard had made any
 28

                                            149
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  1
                                            “findings” regarding these purported facts,
  2
                                            including that Unsworth met his wife
  3
                                            when she was eleven or twelve, that he
  4
                                            had long traveled to Thailand or Pattaya,
  5
                                            or that he was unpopular at the rescue.
  6
                                            Thus, the evidence likewise does not
  7
                                            support that Birchall communicated the
  8
                                            non-existent findings to Musk.
  9

 10
         66. On August 30, 2018, Mr.          Undisputed.
 11
      Howard sent to Mr. Birchall a
 12
      formal preliminary report of his
 13
      investigation of Mr. Unsworth.
 14
         (Birchall Decl. ¶ 18, Ex. E.)
 15      67. Mr. Howard’s August               Evidentiary Objection
 16   30, 2018 preliminary report              Hearsay to the extent the statement is
 17   included the following                being submitted for the truth of the matter
 18   statements:                           asserted therein. (FRE 802).
 19
         • “Mr. Unsworth has been a           Response
 20   frequent visitor to Thailand since      Undisputed to the extent the
 21   the 1980’s. Prior to meeting his      preliminary report made the
 22   current wife we believe that Mr.      aforementioned statements (at least in
 23   Unsworth was living in the Pattaya    part), but a gross distortion of the written
 24   Beach…Pattaya Beach is                report, incomplete, and not a material fact.
 25   synonymous with prostitution and      Disputed to the extent the contents of the
 26   scam artists. We are in the process   statements are being submitted for the
 27   of verifying this information which   truth of the matter asserted therein.
 28

                                             150
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  1   was mentioned to the lead               Unsworth more comprehensively and
  2   investigator by Mr. Unsworth’s        sequentially addresses the information in
  3   mother-in-law.”                       Musk and Birchall’s possession proving
  4      • “Mr. Unsworth has been           negligence and actual malice in
  5   described to our investigation team   Unsworth’s Statement of Additional
  6   by other UK volunteers attached to    Material Facts Precluding Summary
  7   the Cave Rescue team as a             Judgment at ¶¶ 14-64.
  8   ‘Manther’ slang for an older man        For the Court’s convenience, Unsworth
  9   with a taste for younger women.”      incorporates his citations of evidence and
 10      • “The sexpat whore-mongers        response to Defendant’s Statement of Fact
 11   his way through the go-go bars of     Nos. 56-61 and 63-64 but further states as
 12   Thailand. His only other friends      follows:
 13   are his sexpat peers. Peek-density      First, each of these claims are
 14   occurs in and around Pattaya –        categorically false.
 15   Thailand’s sin city.”                      (Wilson Decl. Ex. 3 (Unsworth Dep.
 16      • “[S]ome of the UK and            69:2-8, 70:3-4, 75:18-76:3); id. Ex. 20
 17   Dutch divers who also volunteered     (Unsworth Rog. Nos. 1, 13); id. Ex. 5 (Tik
 18   stated that Mr. Unsworth was not a    Dep. 14:12-18, 35:9-36:4); id. Ex. 4
 19   popular or particularly liked man     (Vanessa Dep. 14:11-21, 32:14-21)); id.
 20   in the Cave Rescue Team. When         Ex. 10 (Harper Decl. ¶ 8); id. Ex. 11 (Ellis
 21   pushed as to why, they simply         Decl. ¶¶ 9, 12); id. Ex. 12 (Stanton Decl.
 22   replied ‘Creepy’.”                    ¶¶ 5, 8); id. Ex. 13 (Svasti Decl. ¶¶ 4-5).
 23      • “Mr. Unsworth is an
 24   unpopular loner.”                        Second, Musk falsely conveys to the
 25
         (Birchall Decl. ¶ 19, Ex. E.)      Court that Howard stated that Unsworth
 26
                                            was a “sexpat [who] whore-mongers his
 27
                                            way through the go-go bars of Thailand.
 28

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  1
                                          His only other friends are his sexpat
  2
                                          peers.” That is false. Howard’s August
  3
                                          30 report states as follows: “If this is the
  4
                                          case that Mr Unsworth choose [sic] to
  5
                                          live in Pattaya Beach … then it would
  6
                                          be a strong indicator as to his lifestyle
  7
                                          interests. If we can establish that Mr
  8
                                          Unsworth was a regular visitor to this
  9
                                          part of Thailand which is not known for
 10
                                          its extensive cave networks then this is
 11
                                          something that may support the
 12
                                          assumption that he is a ‘Sexpat.’” In the
 13
                                          next paragraph, the report defined that
 14
                                          concept, explaining that “The sexpat
 15
                                          whore-mongers …” (Emphasis added).
 16
                                            (Wilson Decl. Ex. 23.)
 17
         68. An employee of one of Mr.      Evidentiary Objection
 18
      Musk’s companies who was              Vague and irrelevant (FRE 401).
 19
      present at the Thai Cave Rescue,    Hearsay to the extent the statement is
 20
      informed Mr. Musk that the dive     being submitted for the truth of the matter
 21
      team did not want Mr. Unsworth at   asserted therein. (FRE 802).
 22
      the rescue site.                      Response
 23
         (Lifrak Decl. Ex. 2 (Musk Dep.     Undisputed, but not a material fact.
 24
      247:24-248:16); Musk Decl. ¶ 37.)   Disputed to the extent the statement is
 25
                                          being submitted for the truth of the matter
 26
                                          asserted therein.
 27
                                            First, these claims are categorically
 28

                                           152
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  1
                                            false.
  2
                                              (Wilson Decl. Ex. 10 (Harper Decl. ¶ 8);
  3
                                            id. Ex. 11 (Ellis Decl. ¶¶ 9, 12); id. Ex. 12
  4
                                            (Stanton Decl. ¶¶ 5, 8); id. Ex. 13 (Svasti
  5
                                            Decl. ¶¶ 4-5).)
  6
                                               Second, this has no connection with
  7
                                            alleged pedophilia, child rape, or child
  8
                                            brides.
  9
                      A. Mr. Musk’s “Off-the-Record” Emails to BuzzFeed
 10
         69. On August 6, 2018, counsel        Undisputed, excepting “allegedly.”
 11
      for Mr. Unsworth allegedly sent a
 12
      demand letter to Mr. Musk.               (Wilson Decl. Ex. 60.)
 13
         (Compl. Ex. H.)
 14
         70. On August 29, 2018, counsel       Undisputed, but not a material fact.
 15
      for Mr. Unsworth publicly tweeted
 16
      a copy of his demand letter to Mr.
 17
      Musk’s twitter account.
 18
         (Lifrak Decl. Ex. 22.)
 19
         71. On August 29, 2018, Ryan          Undisputed.
 20
      Mac, a reporter with BuzzFeed
 21
      News, emailed Mr. Musk seeking a
 22
      comment for a story about a
 23
      demand letter sent by Mr.
 24
      Unworth’s [sic] counsel to Mr.
 25
      Musk.
 26
         (Musk Decl. ¶ 40, Ex. L.)
 27
         72. On the evening of August 30,      Undisputed.
 28

                                             153
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  1
      2018 Mr. Mac sent a follow up
  2
      email to Mr. Musk.
  3
         (Musk Decl. ¶ 41, Ex. L.)
  4
         73. On August 30, 2018, Mr.           Undisputed.
  5
      Musk sent two emails to Mr. Mac.
  6
         (Musk Decl. ¶ 42, Exs. L-M.)
  7
         74. Mr. Musk’s first email to Mr.     Disputed, and not a material fact.
  8
      Mac stated “Off the record” at the       The e-mail referenced is dated August
  9
      top of the message.                    30, 2018. Contrary to Musk’s testimony,
 10
         (Musk Decl. ¶ 43, Ex. L.)           Musk’s first e-mail to Mr. Mac was on
 11
                                             August 29, 2018, never stated “Off the
 12
                                             record,” and instead stated:
 13
                                               “Have you actually done any research at
 14
                                             all? For example, you incorrectly state
 15
                                             that he is a diver, which shows that you
 16
                                             know essentially nothing and have not
 17
                                             even bothered to research basic facts.”
 18
                                               (Musk Decl. Ex. L; Wilson Decl. Ex.
 19
                                             19).
 20
         75. Mr. Musk did not authorize        Disputed.
 21
      BuzzFeed to publish his email or its     Unsworth more comprehensively and
 22
      contents.                              sequentially addresses Musk’s
 23
         (Lifrak Decl. Ex. 2 (Musk Dep.      authorization, encouragement, and
 24
      173:23-175:11); Musk Decl. ¶ 43.)      intention, as well as the foreseeability, that
 25
                                             Mr. Mac would publish his e-mails or their
 26
                                             contents in Unsworth’s Statement of
 27
                                             Additional Material Facts Precluding
 28

                                              154
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  1
                                            Summary Judgment at ¶¶ 65-84.
  2
                                              Prior to publication of Musk’s e-mails
  3
                                            or their contents by Mr. Mac or BuzzFeed,
  4
                                            Mr. Mac responded to Musk’s “child
  5
                                            rapist” and “child bride” e-mail, advising
  6
                                            that he “didn’t agree for the conversation
  7
                                            to be off the record, but appreciate the
  8
                                            response,” and asked a series of follow up
  9
                                            questions.
 10
                                              Rather than advise Mr. Mac that he was
 11
                                            “not authorize[d]” to publish Musk’s
 12
                                            unilaterally designated e-mail as “off the
 13
                                            record,” Musk stated: “If you want to
 14
                                            publish off the record comments and
 15
                                            destroy your journalistic credibility, that’s
 16
                                            up to you.” (Emphasis added).
 17
                                              (Musk Decl. Ex. L; Wilson Decl. ¶ Ex.
 18
                                            19.)
 19
         76. Mr. Musk did not intend for      Disputed, and whether Musk wanted it
 20
      BuzzFeed to publish the contents of   investigated before being published is not
 21
      his email, especially without         a material fact.
 22
      independent verification.               Unsworth more comprehensively and
 23
         (Lifrak Decl. Ex. 2 (Musk Dep.     sequentially addresses Musk’s
 24
      173:23-175:11); Musk Decl. ¶ 43.)     authorization, encouragement, and
 25
                                            intention, as well as the foreseeability, that
 26
                                            Mr. Mac would publish his e-mails or their
 27
                                            contents in Unsworth’s Statement of
 28

                                             155
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  1
                                         Additional Material Facts Precluding
  2
                                         Summary Judgment at ¶¶ 65-84.
  3
                                            For the Court’s convenience, Unsworth
  4
                                         incorporates his citations of evidence and
  5
                                         response to Defendant’s Statement of Fact
  6
                                         No. 75, but further states as follows:
  7
                                            First, Musk testified that he expected
  8
                                         and intended that the accusations he made
  9
                                         would be published whether true or false:
 10
                                            •     Q: … I’ve gotten this information
 11
                                         from the investigator. I don’t know
 12
                                         whether it’s true or not. But you wanted
 13
                                         Ryan Mac to investigate it. Is that a fair
 14
                                         characterization of your testimony?
 15
                                            •     A. Yeah.
 16
                                            •     Q. And if he discovered that it was
 17
                                         true, you fully would have expected him to
 18
                                         publish that, true? (Emphasis added)
 19
                                            •     A. I have expected him to, yes, take
 20
                                         some action if – if this – you know,
 21
                                         Unsworth was up to no good, to bring that
 22
                                         to light.
 23
                                            •     Q. Publish it and let folks know,
 24
                                         right?
 25
                                            •     A. If true.
 26
                                            •     Q. That’s what you thought when
 27
                                         you sent it to him?
 28

                                          156
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                                 #:1170


  1
                                           •    A. Yes.
  2
                                           •    Q. And if he did not find any
  3
                                         evidence to support it, did you likewise
  4
                                         expect that he would report that. That he
  5
                                         had looked into it and could not find any
  6
                                         substantiation?
  7
                                           •    A. Yes.
  8
                                           (Wilson Decl. Ex. 1 (Musk Dep. 189:7-
  9
                                         190:6) (emphasis added).)
 10
                                           Second, Musk was contemporaneously
 11
                                         attempting to plant stories in the UK and
 12
                                         Australian press suggesting Unsworth was
 13
                                         a pedophile:
 14
                                           •    On August 28, 2019, Birchall e-
 15
                                         mailed to Howard as follows: “We would
 16
                                         like you to immediately move forward
 17
                                         with ‘leaking’ this information to the UK
 18
                                         press. Obviously must be done very
 19
                                         carefully. The line of thinking at this point
 20
                                         is as follows: [1] Thailand is the world
 21
                                         capital of pedophilia [2] This man has
 22
                                         frequented Thailand since the 80’s –
 23
                                         eventually leading to his divorce to his
 24
                                         wife in the UK. [3] While the guise of
 25
                                         cave exploration is creative, there are
 26
                                         amazing and extensive caving systems in
 27
                                         many places throughout the world – not
 28

                                          157
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                                 #:1171


  1
                                         just in Thailand. Even the most ardent
  2
                                         supporter of Thai food doesn’t eat Thai
  3
                                         food every day. [4] He eventually woman
  4
                                         [sic] 30 years his minor – whom he met
  5
                                         while she was a teenager. [5] He had been
  6
                                         going to Thailand for decades before
  7
                                         marrying her. She wasn’t the first girl he
  8
                                         met – and definitely not the first teenager
  9
                                         he interacted with. Share the facts and as
 10
                                         you said, that should be enough for a
 11
                                         story. But we’d like to make this happen
 12
                                         immediately.” (Emphasis added)
 13
                                           •    On August 28-29, 2018, Birchall
 14
                                         and Howard texted, in relevant part, as
 15
                                         follows:
 16
                                                 -       Birchall: “What is the
 17
                                               timeline?”
 18
                                                 -       Howard: “Jim timeline is
 19
                                               ASAP … It has to appear organic &
 20
                                               not contrived. Priority is to divert the
 21
                                               story away from the principal and let
 22
                                               the UK tabloids develop there [sic]
 23
                                               story.”
 24
                                                 -       Birchall: “Would be ideal to
 25
                                               have more than one publisher receive
 26
                                               the info.”
 27
                                                 -       Howard: “100 %[.] Plan is to
 28

                                          158
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                                 #:1172


  1
                                               reach out indirectly to ¾ different
  2
                                               newspapers & print & online. … This
  3
                                               will begin in 90 mins & then be
  4
                                               pushed out today. The difficulties
  5
                                               will be getting the editors to ok that
  6
                                               line of enquiry & for them to feel this
  7
                                               is a better story that [sic] the
  8
                                               principles [sic] activities.”
  9
                                                  -     Howard: “Jim example of
 10
                                               what we are doing with all the daily
 11
                                               newspapers and Sunday papers”
 12
                                                  -     Birchall: “So nothing out yet
 13
                                               has your info?”
 14
                                                  -     Howard: “Daily Mail are
 15
                                               now interested through Mick Smith.
 16
                                               Thats [sic] the paper that will have the
 17
                                               biggest impact”
 18
                                                  -     Birchall: “Ok, good …
 19
                                               Please let me know when you have
 20
                                               word of a story with your narrative
 21
                                               being published. One other thought,
 22
                                               maybe we consider the Australian
 23
                                               press as well. The UK press may be
 24
                                               prone to protect one of their own.”
 25
                                           •    Birchall testified that Musk was
 26
                                         likely involved in forming the information
 27
                                         for planting in the UK and Australian
 28

                                          159
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                                 #:1173


  1
                                         press, and that he and Musk authorized
  2
                                         and encouraged Howard to plant those
  3
                                         stories:
  4
                                                    -   The “we” in the above
  5
                                              August 28, 2019, e-mail is Birchall
  6
                                              and Musk.
  7
                                                    -   Birchall testified that “Yeah,”
  8
                                              in response to being asked whether
  9
                                              “you wanted that story to be
 10
                                              published, and Mr. Musk wanted it to
 11
                                              be published too. True?”
 12
                                                    -   Birchall stated “I believe so,
 13
                                              yes,” in response to being asked
 14
                                              whether “Mr. Musk wanted this
 15
                                              information leaked to the UK press.”
 16
                                                    -   Birchall stated “Yes,” in
 17
                                              response to being asked, “you said
 18
                                              ‘We agree to it,’ and Mr. Musk said
 19
                                              that ‘I agree to it being leaked,’
 20
                                              right?”
 21
                                                    -   Birchall testified “Yes,” in
 22
                                              response to being asked that “you are
 23
                                              saying [in the August 28 email to
 24
                                              Howard above] that you and Mr.
 25
                                              Musk did want these leaks to happen
 26
                                              immediately, true?”
 27
                                                    -   In response to being asked
 28

                                          160
Case 2:18-cv-08048-SVW-JC Document 76 Filed 10/07/19 Page 163 of 201 Page ID
                                 #:1174


  1
                                             whether he was “[h]oping to get a
  2
                                             story about Vernon Unsworth,”
  3
                                             published, Birchall testified that
  4
                                             “wherever the cards would fall in
  5
                                             investigative work, gathering
  6
                                             information – but yes, something that
  7
                                             would be – would have people
  8
                                             question the motive for being in
  9
                                             Thailand” and that “pedophilia”
 10
                                             “would be among the things that
 11
                                             people would question …”
 12
                                                -    Birchall testified that there
 13
                                             were “many people who seek to
 14
                                             discredit him [Musk] … and my
 15
                                             instinct to protect was that we needed
 16
                                             to somehow balance, because there
 17
                                             was a clear imbalance in what was in
 18
                                             the media.”
 19
                                                -    Birchall testified “Yes” in
 20
                                             response to being asked whether the
 21
                                             “fact of the matter is you and Elon
 22
                                             Musk wanted this information
 23
                                             contained in Exhibit 66 and
 24
                                             forwarded to the Sun as reflected on
 25
                                             Exhibit 67, you and Mr. Musk wanted
 26
                                             this information to be public; to be
 27
                                             written about by the media, true?”
 28

                                          161
Case 2:18-cv-08048-SVW-JC Document 76 Filed 10/07/19 Page 164 of 201 Page ID
                                 #:1175


  1
                                                -     Birchall testified that it was
  2
                                             “Likely” that “Mr. Musk would have
  3
                                             known that you were suggesting the
  4
                                             avenue of also publishing in
  5
                                             Australia,” too.
  6
                                                -     Birchall testified that it is
  7
                                             “true” that the information planted in
  8
                                             the press was intended to be made
  9
                                             “without any disclosure that it was
 10
                                             coming from Elon Musk or one of his
 11
                                             investigators.”
 12
                                           (Wilson Decl. Exs, 25, 33; id. Ex. 2
 13
                                         (Birchall Dep. 109:18-110:6, 111:18-24,
 14
                                         114:23-115:21, 119:1-120:25, 125:13-
 15
                                         126:3, 129:10-13, 163-64, 273:4-24).)
 16
                                           And rather than stating that they wanted
 17
                                         the claims made through the investigator
 18
                                         to the UK and Australian press to be
 19
                                         investigated, Birchall stated that “it should
 20
                                         be enough for a story.”
 21
                                           (Wilson Decl. Ex 33).
 22
                                           Third, despite claiming he wanted his
 23
                                         statements investigated and that he gave
 24
                                         them to the media prior to receiving a
 25
                                         “final report” because “it could be literally
 26
                                         a crime in progress,” Musk did not alert
 27
                                         any member of law enforcement.
 28

                                          162
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  1
                                           (Wilson Decl. Ex. 1 (Musk Dep. 192:2-
  2
                                         19; 242:12-21).)
  3
                                           Fourth, both Musk and Mr. Mac agree
  4
                                         that Musk did not seek an agreement that
  5
                                         the information would be “off the record”
  6
                                         prior to Musk’s accusatory e-mail on
  7
                                         August 30, 2018.
  8
                                           (Wilson Decl. Ex. 1 (Musk Dep.
  9
                                         181:12-16), id. (Mac. Decl. ¶¶ 5-6); see
 10
                                         also id. (Arnold Dep. 130:25-131:8,
 11
                                         143:15-17).)
 12
                                           Fifth, Dave Arnold, Tesla’s global
 13
                                         communications director at the relevant
 14
                                         time, confirmed that “[i]t was up to
 15
                                         [BuzzFeed] if they want to publish” the
 16
                                         email” that Musk unilaterally labeled off
 17
                                         the record.
 18
                                           (Wilson Decl. Ex. 7 (Arnold Dep. 10:7-
 19
                                         15, 102:5-14).)
 20
                                           Sixth, Arnold had no knowledge that
 21
                                         “BuzzFeed and/or Ryan Mac had ever in
 22
                                         the past respected a communication from
 23
                                         Elon Musk that was unilaterally sent with
 24
                                         an ‘off the record’ statement and there
 25
                                         being no agreement by the reporter.”
 26
                                           (Wilson Decl. Ex. 7 (Arnold Dep.
 27
                                         100:16-101:2).)
 28

                                          163
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                                 #:1177


  1
                                           Seventh, Arnold confirmed that Musk:
  2
                                         was “taking a chance” attempting to
  3
                                         “unilateral[ly] dictate” that the email be
  4
                                         off the record; “could . . . have been more
  5
                                         careful and . . . asked in advance for . . . a
  6
                                         formal agreement,” which is “what
  7
                                         [Arnold] would have done as a
  8
                                         communications person”; and has “a
  9
                                         higher duty to . . . do what he can to
 10
                                         ensure it’s not printed.”
 11
                                            (Wilson Decl. Ex. 7 (Arnold Dep.
 12
                                         103:6-24, 104:13-105:4, 119:19-120:11)
 13
                                         (emphasis added).)
 14
                                           Eighth, Arnold confirmed that Musk
 15
                                         failed to do the “prudent thing” and was
 16
                                         “taking a risk” in unilaterally stating “off
 17
                                         the record” when making a “heinous
 18
                                         accusation” to Mac who has a history of
 19
                                         being critical of Musk, particularly given
 20
                                         that Musk decided to repeatedly insult
 21
                                         Mac, who in return, was making
 22
                                         reasonable requests. “Mr. Musk knows
 23
                                         that when he says something, it is
 24
                                         potentially news” and “therefore, Mr.
 25
                                         Musk has to be careful both in what he
 26
                                         says and who he says it to.” And under the
 27
                                         circumstances, in which when Musk talks
 28

                                          164
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  1
                                         “it’s news” and he has “to be careful,” and
  2
                                         he is making “a heinous accusation” to a
  3
                                         reporter “who has, within two months,
  4
                                         produced an article profiling Mr. Musk
  5
                                         and his companies in a way that is critical
  6
                                         of all four,” the “prudent thing to do”
  7
                                         would have been to first contact Mac and
  8
                                         ask “can we have an off the record
  9
                                         conversation.” Instead, Musk sent Mac a
 10
                                         string of emails that were “demeaning”
 11
                                         and “insulting” in response to Mac’s
 12
                                         “reasonable request[s],” leading to the
 13
                                         email stating “off the record” and then in
 14
                                         the very next sentence calling Mac a
 15
                                         “fucking asshole.” Arnold confirmed that
 16
                                         “even if you’ve got some level of
 17
                                         confidence that somebody’s, from a
 18
                                         historical standpoint, going to keep your
 19
                                         confidence, you’re pushing the line when
 20
                                         you call them a fucking asshole in the first
 21
                                         sentence,” and “[i]t makes it harder” “to
 22
                                         keep the information unilaterally off the
 23
                                         record,” and “increased the chances that
 24
                                         Ryan Mac might publish that
 25
                                         information.” Arnold confirmed that if he,
 26
                                         himself, had sent the email “[i]t’s hard to
 27
                                         envision anybody reasonably expecting
 28

                                          165
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  1
                                         that a reporter who he has no established
  2
                                         relationship of trust with is going to keep
  3
                                         information confidential and off the record
  4
                                         at his unilateral request when he starts off
  5
                                         giving the information in the first sentence
  6
                                         calling the reporter a fucking asshole . . . .”
  7
                                         Arnold further confirmed that “when it
  8
                                         comes from Elon Musk on a subject matter
  9
                                         that has been out front as one of the most
 10
                                         covered news events in recent weeks and
 11
                                         months, the chances of that being news to
 12
                                         be published are significantly higher than
 13
                                         it’s just from the average Joe [sic] . . . .”
 14
                                            (Wilson Decl. Ex. 7 (Arnold Dep.
 15
                                         111:17-112:3; 114:12-115:18, 116:4-16;
 16
                                         116:19-117:3; 117:12-118:6, 120:16-
 17
                                         121:2, 124:2-125:10, 126:1-127:6, 128:10-
 18
                                         129:13, 129:20-130:1, 143:20-144:11); id.
 19
                                         Ex. 19).)
 20
                                            Ninth, Arnold also acknowledge that
 21
                                         the BuzzFeed editor, Ben Smith, with
 22
                                         whom he spoke about the “off the record”
 23
                                         issue disagreed with Arnold that Musk
 24
                                         could unilaterally make the email “off the
 25
                                         record.” Arnold spoke highly of Smith,
 26
                                         whom he had known for ten years, with
 27
                                         whom he personally had a good
 28

                                          166
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  1
                                              relationship, and whom he believes to be
  2
                                              “a solid journalist.” Smith conveyed that
  3
                                              Arnold had “been doing this to long
  4
                                              enough to know that you agree to the
  5
                                              terms of a conversation in advance.” Smith
  6
                                              was not swayed by Arnold’s attempts to
  7
                                              argue otherwise.
  8
                                                (Wilson Decl. Ex. 7 (Arnold Dep. 53:4-
  9
                                              16; 144:22-145:4, 165:25-166:4, 168:11-
 10
                                              20, 168:24-169:6; id. Ex. 42).)
 11
         77. In his first email to Mr. Mac,     Undisputed, but not a material fact and
 12
      Mr. Musk told him to “call people       incomplete. The e-mail speaks for itself,
 13
      you know in Thailand, find out          but Musk never stated in his
 14
      what’s actually going on.”              correspondence to Mr. Mac that he did not
 15
         (Musk Decl. Ex. L.)                  know this information to be true but
 16
                                              wanted it to be investigated.
 17
                                                (Musk Decl. Ex. L.; Wilson Decl. Ex.
 18
                                              33).
 19
         78. Mr. Musk wrote in the first         Evidentiary Objection
 20
      email to Mr. Mac “stop defending           Hearsay to the extent the statement is
 21
      child rapists.”                         being submitted for the truth of the matter
 22
         (Musk Decl. ¶ 44, Ex. L.)            asserted therein. (FRE 802).
 23
                                                Response
 24
                                                Undisputed that Musk wrote this.
 25
                                              Disputed to the extent the statement is
 26
                                              being submitted for the truth of the matter
 27
                                              asserted therein. For the Court’s
 28

                                               167
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  1
                                          convenience, Unsworth incorporates his
  2
                                          citations of evidence and response to
  3
                                          Defendant’s Statement of Fact Nos. 56-61,
  4
                                          63-64, and 67, and 79.
  5
         79. Mr. Musk’s statement that       Evidentiary Objection
  6
      Mr. Unsworth was a “child rapist”      Hearsay to the extent the statement is
  7
      was based on information relayed    being submitted for the truth of the matter
  8
      to him by Mr. Birchall.             asserted therein. (FRE 802).
  9
         (Musk Decl. ¶ 44; Lifrak Decl.     Response
 10
      Ex. 2 (Musk Dep. 176:4-24).)          Disputed. As explained in further detail
 11
                                          below, Birchall’s testimony during his
 12
                                          deposition, as well as his email to Howard,
 13
                                          was that he never told Musk that Unsworth
 14
                                          was a “child rapist.” Additionally,
 15
                                          Howard wrote to Birchall that “I do not
 16
                                          know how anyone could come to that
 17
                                          conclusion as neither of us have ever
 18
                                          mentioned children or rape in our
 19
                                          conversations. . . .”
 20
                                            Unsworth more comprehensively and
 21
                                          sequentially addresses the information in
 22
                                          Musk and Birchall’s possession proving
 23
                                          negligence and actual malice in
 24
                                          Unsworth’s Statement of Additional
 25
                                          Material Facts Precluding Summary
 26
                                          Judgment at ¶¶ 14-64.
 27
                                            For the Court’s convenience, Unsworth
 28

                                           168
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  1
                                         incorporates his citations of evidence and
  2
                                         response to Defendant’s Statement of Fact
  3
                                         Nos. 56-61, 63-64, and 67, but he
  4
                                         specifically affirms and supplements those
  5
                                         responses as follows:
  6
                                           First, the accusation that Unsworth is a
  7
                                         “child rapist” is categorically false.
  8
                                           (Wilson Decl. Ex. 3 (Unsworth Dep.
  9
                                         69:2-8, 70:3-4, 75:18-76:3); id. Ex. 20
 10
                                         (Unsworth Rog. No. 1); id. Ex. 5 (Tik
 11
                                         Dep. 7:13-17, 10:5-25, 11:22-12:19, 32:4-
 12
                                         15).)
 13
                                           Second, Birchall relayed to Musk, at
 14
                                         most, conflicting information regarding
 15
                                         how old Tik was when she met Unsworth,
 16
                                         which included 12/13 years old, 18/19
 17
                                         years old, and 28 years old.
 18
                                           On August 24, 2018, Howard reported
 19
                                         that Unsworth and Tik “have been married
 20
                                         for 7 years, 28yrs gap between them both.”
 21
                                           As of August 27, 2018, Howard stated
 22
                                         as verified fact that Unsworth “met his
 23
                                         wife in 2008 in her role as Vice President
 24
                                         of the local commune” and as confirmed
 25
                                         that Unsworth “is 63 years old. His wife
 26
                                         we believe is 30 which would have put her
 27
                                         at 18/19 when they first met.”
 28

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  1
                                           In this regard nothing changed in
  2
                                         Howard’s written report on the morning of
  3
                                         August 30, 2018, which stated that “His
  4
                                         wife we believe is 30, (we will confirm
  5
                                         this in the next 48hrs) which would have
  6
                                         put her at 18/19 when they first met.”
  7
                                         (Emphasis in original).
  8
                                           (Wilson Decl. Exs. 21-24; id. Ex. 2
  9
                                         (Birchall Dep. 99:3-100:7, 139:16-141:7,
 10
                                         149:14-23, 224:22-226:5, 242:19-243:17,
 11
                                         246:2-23, 248:23-264:2).)
 12
                                           More pointedly, although Musk
 13
                                         testified that Birchall said Unsworth had a
 14
                                         child bride, Birchall expressly contradicted
 15
                                         Musk and never told him, or told him that
 16
                                         Howard reported, that Unsworth was a
 17
                                         child rapist:
 18
                                           •    Q. So you’re telling me that Mr.
 19
                                         Howard told you they were married when
 20
                                         she was how old?
 21
                                           •    A. 18 or 19.
 22
                                           •    Q. Not that they met when she was
 23
                                         18 or 19, but that they were married when
 24
                                         she was 18 or 19, true?
 25
                                           •    A. That’s correct. True.
 26
                                                               ***
 27
                                           •    Q. Nobody ever told him [Musk] –
 28

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  1
                                         not you, not Mr. Howard, nobody – that in
  2
                                         fact Tik and Vernon were married when
  3
                                         she was 12 years old, true?
  4
                                           •    A. That is true.
  5
                                                              ***
  6
                                           •    Q. You didn’t communicate to Elon
  7
                                         Musk that Vernon Unsworth’s a child
  8
                                         rapist, right?
  9
                                           •    A. That’s right.
 10
                                           •    Q. And you didn’t communicate to
 11
                                         Elon Musk that Mr. Howard said that
 12
                                         Vernon was a child rapist, did you?
 13
                                           •    A. No, I did not communicate that.
 14
                                           •    Q. And you didn’t communicate to
 15
                                         Elon Musk that Vernon Unsworth married
 16
                                         Tik when she was 12 years old, did you?
 17
                                           •    A. No.
 18
                                           •    Q. And Mr. Howard never
 19
                                         communicated to you at any time, that in
 20
                                         fact, Tik and Vernon were married when
 21
                                         she was 12 years old, right?
 22
                                           •    A. Correct.
 23
                                           (Wilson Decl. Ex. 2 (Birchall Dep.
 24
                                         242:19-243:17, 248:23-249:16); compare
 25
                                         id. Ex. 1 (Musk Dep. 62:4-64:15, 198:11-
 26
                                         23 (“The investigator who merely was, in
 27
                                         retrospect, just taking us for a ride …
 28

                                          171
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  1
                                              claimed that Unsworth had a 12-year-old
  2
                                              bride. … That is my recollection of what
  3
                                              Jared told me, yes.”).)
  4
                                                 Musk also agreed that Birchall did not
  5
                                              tell Mr. Musk that Unsworth was a child
  6
                                              rapist:
  7
                                                 •      Q. Who told you that Mr. Unsworth
  8
                                              was a child rapist? Did Jared tell you that?
  9
                                                 •      A. No. I didn’t say that he was. I
 10
                                              think I said we need to find out if he is.
 11
                                                 •      Q. Why did you use the term “child
 12
                                              rapist”? Who had used that term with you
 13
                                              that made you repeat it in your email to
 14
                                              Mr. Mac?
 15
                                                 •      A. Well, I think anyone who is – if
 16
                                              somebody is sleeping with someone who
 17
                                              is 12 years old, I would say that person is a
 18
                                              child rapist.
 19
                                                 (Wilson Decl. Ex. 1 (Musk Dep. 176:4-
 20
                                              14).)
 21
         80. In his first email to Mr. Mac,      Evidentiary Objection
 22
      Mr. Musk wrote that Mr. Unsworth           Hearsay to the extent the statement is
 23
      had been “traveling to or living in     being submitted for the truth of the matter
 24
      Thailand for 30 to 40 years, mostly     asserted therein. (FRE 802).
 25
      Pattaya Beach, until moving to             Response
 26
      Chiang Rai for a child bride that          Undisputed that Musk wrote this.
 27
      was about 12 years old at the time.”    Disputed to the extent the statement is
 28

                                               172
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  1
         (Musk Decl. ¶ 45, Ex. L.)            being submitted for the truth of the matter
  2
                                              asserted therein. And, indeed, Unsworth
  3
                                              denies that the alleged reports are true.
  4
         81. Mr. Musk’s statement that           Evidentiary Objection
  5
      Mr. Unsworth had been “traveling           Hearsay to the extent the statement is
  6
      to or living in Thailand for 30 to 40   being submitted for the truth of the matter
  7
      years, mostly Pattaya Beach, until      asserted therein. (FRE 802). Birchall’s
  8
      moving to Chiang Rai for a child        alleged conversation with Howard about
  9
      bride that was about 12 years old at    the contents of an article is not the
 10
      the time” was based on information      required best evidence of said contents.
 11
      relayed to him by Mr. Birchall.         (FRE 1002).
 12
         (Musk Decl. ¶ 45; Lifrak Decl.         Response
 13
      Ex. 2 (Musk Dep. 62:8-64:15).)             Disputed. Birchall never
 14
                                              communicated to Musk that Unsworth
 15
                                              moved “to Chiang Rai for a child bride
 16
                                              that was about 12 years old at the time”
 17
                                              and never communicated to Musk that any
 18
                                              information about Unsworth was
 19
                                              confirmed. Also disputed to the extent the
 20
                                              purported facts about Unsworth are being
 21
                                              communicated for the truth of the matter
 22
                                              asserted therein.
 23
                                                 Unsworth more comprehensively and
 24
                                              sequentially addresses the information in
 25
                                              Musk and Birchall’s possession proving
 26
                                              negligence and actual malice in
 27
                                              Unsworth’s Statement of Additional
 28

                                               173
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  1
                                         Material Facts Precluding Summary
  2
                                         Judgment at ¶¶ 14-64.
  3
                                           For the Court’s convenience, Unsworth
  4
                                         incorporates his citations of evidence and
  5
                                         response to Defendant’s Statement of Fact
  6
                                         Nos. 56-61, 63-64, 67, and 79 but he
  7
                                         specifically affirms and supplements those
  8
                                         responses as follows:
  9
                                           First, as extensively set forth herein,
 10
                                         none of these claims are true.
 11
                                           (Wilson Decl. Ex. 3 (Unsworth Dep.
 12
                                         69:2-8, 70:3-4, 75:18-76:3); id. Ex. 20
 13
                                         (Unsworth Rog Nos. 1, 13); id. Ex. 5 (Tik
 14
                                         Dep. 7:13-17, 10:5-25, 11:22-12:19, 32:4-
 15
                                         15).)
 16
                                           Second, having established above that
 17
                                         Birchall never conveyed that Unsworth
 18
                                         had a “child bride” in response to response
 19
                                         to Statement of Fact No. 79, all written
 20
                                         reports with respect to whether Unsworth
 21
                                         spent time in Pattaya were expressly
 22
                                         unverified and equivocal, and this was
 23
                                         known to Musk and Birchall, and they
 24
                                         were in fact still seeking any corroborative
 25
                                         information after Musk’s accusations to
 26
                                         BuzzFeed:
 27
                                           •     Birchall acknowledged that he is
 28

                                          174
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  1
                                         unaware of receiving more than one
  2
                                         written report regarding Unsworth and
  3
                                         Pattaya Beach;
  4
                                           •    Birchall acknowledged that the only
  5
                                         information Musk could have received
  6
                                         came directly from him;
  7
                                           •    The sole written report on the issue
  8
                                         stated, “Prior to meeting his current wife
  9
                                         we believe that Mr Unsworth was living in
 10
                                         the Pattaya Beach … We are in the
 11
                                         process of verifying this information.”
 12
                                         (Emphasis added).
 13
                                           •    The sole written report on the issue
 14
                                         stated, “If this is the case that Mr
 15
                                         Unsworth chose to live in Pattaya Beach
 16
                                         before moving to Northern Thailand ….”
 17
                                         (Emphasis added).
 18
                                           •    The sole written report on the issue
 19
                                         stated, “Can we confirm that Mr
 20
                                         Unsworth was a frequent visitor to Pattaya
 21
                                         – This can be established by checking old
 22
                                         visa applications that he would have made
 23
                                         on entering Thailand.” (Emphasis added).
 24
                                           •    Birchall acknowledged that when
 25
                                         the August 30, 2018, report was sent,
 26
                                         Howard “did state that they were in the
 27
                                         process of verifying that,” i.e., the travel of
 28

                                          175
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  1
                                         Unsworth;
  2
                                           •    Birchall acknowledged that “there
  3
                                         had been no confirmation as a matter of
  4
                                         fact that Unsworth lived in Pattaya
  5
                                         Beach,” stating that “it definitely questions
  6
                                         the veracity of that. Though his – the
  7
                                         conversations you had with him much
  8
                                         more affirmative. [sic].”
  9
                                           •    Birchall acknowledged that Howard
 10
                                         had “[n]ot unequivocally” “prior to August
 11
                                         30th, … stated … ‘We know that Vernon
 12
                                         Unsworth lived in Pattaya Beach most of
 13
                                         the time that he visited Thailand.”
 14
                                           •    Birchall acknowledged that “[t]here
 15
                                         were inconsistences” regarding Howard’s
 16
                                         “portrayal of Unsworth’s activity in
 17
                                         Pattaya Beach and other activities …”
 18
                                           •    Even as of September 3, 2018,
 19
                                         Howard wrote to Birchall: “Jim I have
 20
                                         deployed 3x investigators to Pattaya …
 21
                                         My plan is to wait for the Pattaya evidence
 22
                                         then package it up for the x2 journalist in
 23
                                         Australia & x 2 in the UK … Pattaya will
 24
                                         take some time probably 7 days … Can
 25
                                         you authorise a further 20k USD? This is
 26
                                         to cover the UK surveillance and Pattaya
 27
                                         investigation.”
 28

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  1
                                           •    As of September 4, 2018, Birchall
  2
                                         demonstrated his awareness that
  3
                                         Unsworth’s (false) travel to Pattaya was
  4
                                         unverified and that any specific conduct
  5
                                         remained unknown, stating “Can you
  6
                                         confirm the hotel names in Pattaya? And
  7
                                         you said 2 of them are considered standard
  8
                                         destinations for expats with bad intentions,
  9
                                         correct?”
 10
                                           •    Howard responded that “our goal is
 11
                                         to get evidence from the penthouse which
 12
                                         is obviously a big win. I’ll keep you
 13
                                         updated.”
 14
                                           •    Birchall acknowledged during his
 15
                                         deposition that as of “early September”
 16
                                         records about “hotel stays in Pattaya and
 17
                                         all that stuff … didn’t materialize …”
 18
                                           •    Birchall acknowledged that as of
 19
                                         August 30, it was “[t]rue that Howard had
 20
                                         “not stated as a matter of fact that Vernon
 21
                                         Unsworth ever lived in Pattaya Beach,”
 22
                                         while insisting that “there are numerous
 23
                                         phones calls between each of these
 24
                                         [written] correspondence where he is
 25
                                         much more affirmative in his beliefs of her
 26
                                         age and of Unsworth’s activities and of his
 27
                                         time spent in Pattaya Beach.”
 28

                                          177
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  1
                                               •    Birchall acknowledged that it was
  2
                                             not until September 4, 2018, that Howard
  3
                                             claimed to have “contacts in the British
  4
                                             Embassy that had … travel records for Mr.
  5
                                             Unsworth having frequented” certain
  6
                                             alleged hotels in Pattaya.
  7
                                               (Wilson Decl. Ex. 2 (Birchall Dep.
  8
                                             136:6-21, 169:1-170:22, 176:12-177:1,
  9
                                             177:19-181:23, 183:4-190:24, 201:13-
 10
                                             202:1); id. Ex. 23; id. Ex. 25).)
 11
                                               Finally, although Musk testified that
 12
                                             Birchall relayed Howard’s purported
 13
                                             statement that Unsworth had a child bride
 14
                                             (although Birchall expressly denied and
 15
                                             refuted that claim), Musk stops short of
 16
                                             stating that in his sworn declaration and
 17
                                             instead vaguely states it “was based on
 18
                                             Mr. Birchall’s summary of the
 19
                                             investigator’s findings.”
 20
         82. Mr. Musk also wrote in his        Undisputed that Musk wrote this in his
 21
      first email to Mr. Mac on August       email to Mr. Mac. Disputed to the extent
 22
      30, 2018 that “there’s only one        that it is being offered for the truth of the
 23
      reason people go to Pattaya Beach.     matter asserted or that it has any relevance
 24
      It isn’t where you go for caves, but   to the issues before the Court.
 25
      it is where you’d go for something       Additionally, Musk received in a
 26
      else.”                                 written report dated September 1 – prior to
 27
         (Musk Decl. ¶ 46, Ex. L.)           the publication of the BuzzFeed article on
 28

                                              178
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  1
                                           September 4 – a report from Howard that
  2
                                           specifically indicated that there are
  3
                                           “extensive local cave networks” in Chiang
  4
                                           Rai, which is why Unsworth was there,
  5
                                           and that “Chiang Rai has plenty of
  6
                                           interesting caves.”
  7
                                             (Wilson Decl. Ex. 26).
  8
         83. Mr. Musk’s statement that       Disputed, but not a material fact.
  9
      “there’s only one reason people go     For the Court’s convenience, Unsworth
 10
      to Pattaya Beach. It isn’t where     incorporates his citations of evidence and
 11
      you go for caves, but it is where    response to Defendant’s Statement of Fact
 12
      you’d go for something else” was     Nos. 60, 64, and 81 with regard to the
 13
      based on information relayed to      falsity, and lack of verification from
 14
      him by Mr. Birchall.                 Howard, of Unsworth’s alleged travel to
 15
         (Musk Decl. ¶ 46; Lifrak Decl.    Pattaya; response to Defendant’s
 16
      Ex. 2 (Musk Dep. 62:8-64:15).)       Statement of Fact No. 56 with regard to
 17
                                           Birchall’s relaying of this information to
 18
                                           Musk; and Defendant’s Statement of Fact
 19
                                           No. 82 with respect to this area of
 20
                                           Thailand.
 21
         84. Mr. Musk also wrote             Undisputed that Musk wrote this to Mr.
 22
      “Chiang Rai is renowned for child    Mac. Disputed to the extent that it is
 23
      sex-trafficking.”                    being offered for the truth of the matter
 24
         (Musk Decl. ¶ 47, Ex. L.)         asserted or that it has any relevance to the
 25
                                           issues before this Court.
 26
                                             For the Court’s convenience, Unsworth
 27
                                           incorporates his citations of evidence and
 28

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  1
                                            response to Defendant’s Statement of Fact
  2
                                            No. 82 with respect to this area of
  3
                                            Thailand.
  4

  5
         85. Mr. Musk’s statement was         Undisputed that Musk included a
  6
      supported by and consistent with a    citation in his email to Mr. Mac. Disputed
  7
      Google search that he also provided   to the extent that it is being offered for the
  8
      in the email.                         truth of the matter asserted or that it has
  9
         (Musk Decl. ¶ 47, Ex. L.)          any relevance to the issues before this
 10
                                            Court.
 11
                                              Musk’s Google search included the
 12
                                            terms “Chiang Rai” and “child trafficking”
 13
                                            and therefore he received search results
 14
                                            related to sex trafficking in Chiang Rai –
 15
                                            just as a Google search of “Los Angeles”
 16
                                            and “child trafficking” provides search
 17
                                            results related to child sex trafficking in
 18
                                            Los Angeles, which is considered a “hub”
 19
                                            for such activity. See, e.g.,
 20
                                            http://lahumantrafficking.com/about-
 21
                                            human-trafficking/ (last visited Oct. 6,
 22
                                            2019).
 23
                                              Indeed, a Google search for “Chiang
 24
                                            Rai” without adding “child trafficking”
 25
                                            reveals that it is a popular tourist
 26
                                            destination, highly recommended by well-
 27
                                            known tourist websites such as
 28

                                             180
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  1
                                         TripAdvisor, which says that “Chiang Rai
  2
                                         is a community not to be missed” because
  3
                                         of its “cooking classes, beautiful views,
  4
                                         markets, resorts and restaurants” and for
  5
                                         its “true northern Thai culture.” See
  6
                                         https://www.tripadvisor.com/Tourism-
  7
                                         g297920-
  8
                                         Chiang_Rai_Chiang_Rai_Province-
  9
                                         Vacations.html (last visited Oct. 6, 2019).
 10
         86. Mr. Musk also wrote that       Evidentiary Objection
 11
      “most of the actual dive team         Hearsay to the extent the statement is
 12
      refused to hang out with [Mr.      being submitted for the truth of the matter
 13
      Unsworth].”                        asserted therein. (FRE 802).
 14
         (Musk Decl. ¶ 48, Ex. L.)         Response
 15
                                           Undisputed that Musk wrote this.
 16
                                         Disputed to the extent the statement is
 17
                                         being submitted for the truth of the matter
 18
                                         asserted therein. And, indeed, Unsworth
 19
                                         denies that the alleged reports are true.
 20
                                           (Wilson Decl. Ex. 10 (Harper Decl. ¶ 8);
 21
                                         id. Ex. 11 (Ellis Decl. ¶¶ 9, 12); id. Ex. 12
 22
                                         (Stanton Decl. ¶¶ 5, 8); id. Ex. 13 (Svasti
 23
                                         Decl. ¶¶ 4-5).)
 24
         87. Mr. Musk’s statement that      Evidentiary Objection
 25
      “most of the actual dive team         Hearsay to the extent the statement is
 26
      refused to hang out with [Mr.      being submitted for the truth of the matter
 27
      Unsworth]” was consistent with     asserted therein. (FRE 802).
 28

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  1
      and based on information relayed to     Response
  2
      him by Mr. Birchall and his              Undisputed that Musk wrote this
  3
      employee.                             statement. Disputed to the extent the
  4
         (Musk Decl. ¶ 48.)                 statement is being submitted for the truth
  5
                                            of the matter asserted therein. And, indeed,
  6
                                            Unsworth denies that the alleged reports
  7
                                            are true. Disputed that Musk did not make
  8
                                            this up out of whole cloth.
  9
                                              Further disputed because this statement
 10
                                            conflicts with Musk’s and Harris’s sworn
 11
                                            testimony on the issue. For Musk:
 12
                                              •      A. I had heard from some of the
 13
                                            SpaceX engineers that he – that they had
 14
                                            talked to somebody who had said that he
 15
                                            had – they – his name didn’t come up.
 16
                                            And he was not – you know, they either
 17
                                            hadn’t – didn’t know who he was, or if
 18
                                            they did know who he was, they said they
 19
                                            didn’t want him there. That was my
 20
                                            recollection.
 21
                                              •      Q. If they didn’t know who he was,
 22
                                            they did not want him there?
 23
                                              •      A. Some people didn’t know who
 24
                                            he was, and the others didn’t want him
 25
                                            there.
 26
                                              •      Q. Who were these people? First,
 27
                                            who were the SpaceX employees that
 28

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  1
                                         reported that to you?
  2
                                           •     A. I believe it was a conversation
  3
                                         with Armor Harris.
  4
                                           •     Q. Anybody else besides Mr.
  5
                                         Harris?
  6
                                           •     A. I think I asked a couple people.
  7
                                         I’m not sure who else.
  8
                                           •     Q. Mr. Harris, though, was
  9
                                         somebody you definitely know said that to
 10
                                         you?
 11
                                           •     A. I believe – that’s my
 12
                                         recollection.
 13
                                           (Wilson Decl. Ex.1 (Musk Dep. 248:2-
 14
                                         22).)
 15
                                           Armor Harris denied ever telling this to
 16
                                         Musk in his deposition:
 17
                                            • Q. So did you ever talk to Mr.
 18
                                         Musk about Vernon Unsworth?
 19
                                            • A. No.
 20
                                            • Q. No communication with him at
 21
                                         all about Vernon?
 22
                                            • A. No.
 23
                                            • Q. Did he ever – he never asked
 24
                                         you for information about Vernon
 25
                                         Unsworth?
 26
                                            • A. No.
 27
                                            • Q. He never asked you if you had
 28

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  1
                                           heard whether he was kicked off the
  2
                                           rescue or asked to leave?
  3
                                              • A. No. Not from Elon.
  4
                                              • Q. Did anybody ever asked you on
  5
                                           his behalf what you knew about Vernon?
  6
                                              • A. No. Well –
  7
                                              • Q. I mean, besides the litigation,
  8
                                           obviously. This is all binding you up in
  9
                                           that.
 10
                                              • A. Yeah.
 11
                                              • Q. Did you say anything about
 12
                                           “Oh, I think he got kicked off the rescue or
 13
                                           asked to leave” or anything like that?
 14
                                              • A. No.
 15
                                              (Wilson Decl. Ex. 9 (Harris Dep.
 16
                                           153:13-155:16).)
 17
         88. Mr. Musk did not know or         Disputed.
 18
      believe that any statements in his      Musk’s first email to Mr. Mac stated
 19
      first email to Mr. Mac were false;   only “Have you actually done any research
 20
      nor did he entertain any serious     at all? For example, you incorrectly state
 21
      doubts as to their truth.            that he is a diver, which shows that you
 22
         (Musk Decl. ¶ 49.)                know essentially nothing and have not
 23
                                           even bothered to research basic facts.”
 24
                                              (Wilson Decl. Ex. 19).
 25
                                              To the extent this fact is intended to
 26
                                           refer to Musk’s August 30, 2018, “child
 27
                                           rapist” and “child bride” e-mail, disputed.
 28

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  1
                                           Unsworth more comprehensively and
  2
                                         sequentially addresses the information in
  3
                                         Musk and Birchall’s possession proving
  4
                                         negligence and actual malice in
  5
                                         Unsworth’s Statement of Additional
  6
                                         Material Facts Precluding Summary
  7
                                         Judgment at ¶¶ 14-64.
  8
                                           For the Court’s convenience, Unsworth
  9
                                         incorporates his citations of evidence and
 10
                                         response to Defendant’s Statement of Fact
 11
                                         Nos. 56-61, 63-64, 67, 79, and 81, but
 12
                                         Unsworth specifically supplements those
 13
                                         fulsome responses with the following.
 14
                                           Musk testified that he did not know at
 15
                                         the time of his “child rapist” and “child
 16
                                         bride” e-mail whether the information was
 17
                                         true or false:
 18
                                           •      Q. Why did you want the
 19
                                         information that you sent to Mr. Mac to be
 20
                                         off the record?
 21
                                           •      A. Because I was not sure that it
 22
                                         was accurate. …
 23
                                                                ***
 24
                                           •      Q. So but at the time you wrote this
 25
                                         information to Mr. Mac, you tell me you
 26
                                         didn’t know whether it was true or not,
 27
                                         right?
 28

                                          185
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  1
                                             •   A. Yes. I specifically said try to
  2
                                          find out if this is true. I had been told
  3
                                          directly that there were very suspicious
  4
                                          situations, that there was – I had been told
  5
                                          by Jared that this investigator had said that
  6
                                          – that it looked quite bad, and that, you
  7
                                          know, what he is up to in Thailand
  8
                                          sounded pretty bad, so it seems like, if you
  9
                                          are a journalist and you care about doing
 10
                                          the right thing, you should go ahead and
 11
                                          find out if it’s true, and if it is, then take
 12
                                          action.
 13
                                             •   Q. But sir, the point is, you didn’t
 14
                                          know whether the investigator’s
 15
                                          information was true or not or had been
 16
                                          verified, right? Isn’t that right?
 17
                                             •   A. That’s right. That’s why I said
 18
                                          “Please go and investigate.”
 19
                                             (Wilson Decl. Ex. 1 (Musk Dep.
 20
                                          173:23-175:16).)
 21
         89. Mr. Musk’s second email to      Undisputed that Musk sent an e-mail
 22
      Mr. Mac on August 30, 2018 stated   labeled “on background” but it was not his
 23
      “On background” at the top of the   second e-mail, and not a material fact.
 24
      message.                            Disputed that the notation for “on
 25
         (Musk Decl. ¶ 50, Ex. M.)        background” demonstrated any intent by
 26
                                          Musk that the information in his email
 27
                                          should not be republished.
 28

                                           186
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  1
         90. Mr. Musk wrote in the             Evidentiary Objection
  2
      second email to Mr. Mac on August        Hearsay to the extent the statement is
  3
      30, 2018 that he “[n]ever saw Mr.     being submitted for the truth of the matter
  4
      Unsworth at any point. Was told he    asserted therein. (FRE 802).
  5
      was banned from the site.”              Response
  6
         (Musk ¶ 51, Ex. M.)                  Undisputed that Musk wrote this
  7
                                            statement. Disputed to the extent the
  8
                                            statement is being submitted for the truth
  9
                                            of the matter asserted therein. And, indeed,
 10
                                            Unsworth denies that the alleged reports
 11
                                            are true.
 12
                                              (Wilson Decl. Ex. 10 (Harper Decl. ¶ 8);
 13
                                            id. Ex. 11 (Ellis Decl. ¶¶ 9, 12); id. Ex. 12
 14
                                            (Stanton Decl. ¶¶ 5, 8); id. Ex. 13 (Svasti
 15
                                            Decl. ¶¶ 4-5).)
 16
         91. Mr. Musk’s statement that he      Evidentiary Objection
 17
      “[n]ever saw Mr. Unsworth at any         Hearsay to the extent the statement is
 18
      point. Was told he was banned         being submitted for the truth of the matter
 19
      from the site” was consistent with    asserted therein. (FRE 802).
 20
      his own observations and based on       Response
 21
      information told to him by an            Undisputed that Musk wrote this
 22
      employee of one of his companies.     statement. Disputed to the extent the
 23
         (Lifrak Decl. Ex. 2 (Musk Dep.     statement is being submitted for the truth
 24
      247:24-248:16); Musk Decl. ¶ 51.)     of the matter asserted therein. And, indeed,
 25
                                            Unsworth denies that the alleged reports
 26
                                            are true. Further disputed as to what Musk
 27
                                            was told by an employee, who expressly
 28

                                             187
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  1
                                             denied this occurred, and not a material
  2
                                             fact. Disputed that Musk did not make
  3
                                             this up out of whole cloth.
  4
                                               For the Court’s convenience, Unsworth
  5
                                             incorporates his citations of evidence and
  6
                                             response to Defendant’s Statement of Fact
  7
                                             No. 87.
  8
         92. Mr. Musk did not know or           Evidentiary Objection
  9
      believe that the statement that he        Hearsay to the extent the statement is
 10
      “[n]ever saw Mr. Unsworth at any       being submitted for the truth of the matter
 11
      point. Was told he was banned          asserted therein. (FRE 802).
 12
      from the site” was false; nor did he     Response
 13
      entertain any serious doubts as to       Undisputed that Musk wrote this
 14
      its truth.                             statement.
 15
         (Musk Decl. ¶ 52.)                    Disputed to the extent the statement is
 16
                                             being submitted for the truth of the matter
 17
                                             asserted therein. And, indeed, Unsworth
 18
                                             denies that the alleged reports are true.
 19
                                             Disputed that Musk did not make this up
 20
                                             out of whole cloth.
 21
                                               For the Court’s convenience, Unsworth
 22
                                             incorporates his citations of evidence and
 23
                                             response to Defendant’s Statement of Fact
 24
                                             No. 87.
 25
         93. Mr. Musk sent the                  Evidentiary Objection
 26
      information that he learned through       Hearsay to the extent the statement is
 27
      Mr. Birchall and Mr. Howard to         being submitted for the truth of the matter
 28

                                              188
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  1
      BuzzFeed so that BuzzFeed could      asserted therein. (FRE 802). Birchall’s
  2
      conduct its own investigation into   alleged conversation with Howard about
  3
      Mr. Unsworth to corroborate the      the contents of an article is not the
  4
      information.                         required best evidence of said contents.
  5
         (Lifrak Decl. Ex. 2 (Musk Dep.    (FRE 1002).
  6
      173:23-175:11); Musk Decl. ¶ 53.)      Response
  7
                                             Undisputed that Musk sent information
  8
                                           to Mr. Mac. Disputed that Musk sent any
  9
                                           information he received from Birchall or
 10
                                           Howard or even advised Mr. Mac that was
 11
                                           his basis. Disputed that this information
 12
                                           was learned through Birchall and Howard,
 13
                                           including because the information that
 14
                                           Musk sent included allegations that
 15
                                           Unsworth was a child rapist who married a
 16
                                           12-year-old child bride, which was never
 17
                                           communicated to Musk, as discussed in
 18
                                           Unsworth’s response to Defendant’s
 19
                                           Statement of Fact Nos. 56-61 and 63-64,
 20
                                           which is incorporated herein for the
 21
                                           Court’s convenience. Disputed that Musk
 22
                                           sent the information to BuzzFeed “so that”
 23
                                           BuzzFeed could conduct its own
 24
                                           investigation because the evidence is that
 25
                                           Musk wanted those statements about
 26
                                           Unsworth published.
 27
                                              Further disputed to the extent that
 28

                                            189
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  1
                                              Musk seeks an inference that if he wanted
  2
                                              an investigation, he did not want, intend,
  3
                                              encourage, authorize, or foresee that his e-
  4
                                              mails or their contents would be
  5
                                              republished. In this regard, for the Court’s
  6
                                              convenience, Unsworth incorporates his
  7
                                              citations of evidence and response to
  8
                                              Defendant’s Statement of Fact Nos. 75-76.
  9
                                                Responding further, Unsworth more
 10
                                              comprehensively and sequentially
 11
                                              addresses Musk’s authorization,
 12
                                              encouragement, and intention, as well as
 13
                                              the foreseeability, that Mr. Mac would
 14
                                              publish his e-mails or their contents in
 15
                                              Unsworth’s Statement of Additional
 16
                                              Material Facts Precluding Summary
 17
                                              Judgment at ¶¶ 65-84.
 18
         94. On September 4, 2018, Mr.          Undisputed.
 19
      Mac responded to Mr. Musk’s
 20
      August 30, 2018 emails.
 21
         (Musk Decl. ¶ 54, Ex. L.)
 22
         95. In his first email to Mr. Musk     Undisputed.
 23
      on September 4, 2018, Mr. Mac
 24
      stated, among other things, that he
 25
      “didn’t agree for the conversation
 26
      to be off the record” and he “tried
 27
      to report out some of the
 28

                                               190
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                                 #:1204


  1
      accusations on [his] own but have
  2
      not found anything to corroborate
  3
      the claims.”
  4
         (Id.)
  5
         96. On September 4, 2018, Mr.           Undisputed that Musk made these
  6
      Musk responded in an email to Mr.        statements in the email. Disputed to the
  7
      Mac that “We haven’t had a               extent Musk is asserting his unilateral
  8
      conversation at all. I sent you an off   designation of “off the record” indeed
  9
      the record email, which very             made the email off the record, or
 10
      clearly and unambiguously said,          otherwise established that he did not want,
 11
      ‘off the record.’ If you want to         intend, encourage, authorize, or reasonably
 12
      publish off the record comments          foresee that his e-mails or their contents
 13
      and destroy your journalistic            would be republished.
 14
      credibility, that’s up to you. As for      In this regard, Unsworth more fully
 15
      answering more questions, I would        addresses Musk’s authorization,
 16
      be happy to do so, but not with          encouragement, and intention, as well as
 17
      someone who just told me that they       the foreseeability, that Mr. Mac would
 18
      will not honor accepted rules of         publish his e-mails or their contents in
 19
      journalism.”                             Unsworth’s Statement of Additional
 20
         (Musk Decl. ¶ 55, Ex. L.)             Material Facts Precluding Summary
 21
                                               Judgment at ¶¶ 65-84.
 22
                                                 Responding further, for the Court’s
 23
                                               convenience, Unsworth incorporates his
 24
                                               citations of evidence and response to
 25
                                               Defendant’s Statement of Fact Nos. 75-76,
 26
                                               but specifically supplements those fulsome
 27
                                               responses as follows:
 28

                                                191
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  1
                                           First, Musk’s influence is such that
  2
                                         what he says and does is news, as
  3
                                         demonstrated by the reporting surrounding
  4
                                         his tube and his false accusations in this
  5
                                         case prior to the August 30, 2018,
  6
                                         BuzzFeed e-mails.
  7
                                           (Wilson Decl. Ex. 1 (Musk Dep. 320:4-
  8
                                         321:19, 85:2-9 (“I mean, it’s a torrent of
  9
                                         media. And I don’t know. The media, to
 10
                                         be very frank, is – especially over the last
 11
                                         few years, has caused me to lose some
 12
                                         faith in humanity. Not good.”); id. Ex. 2
 13
                                         (Birchall Dep. 120:5-12 (“Yeah, I mean, in
 14
                                         general you have someone who has
 15
                                         disrupted many industries, and [who] as a
 16
                                         result has many people who seek to
 17
                                         discredit him, and therefore any data point,
 18
                                         good or bad, is blown extremely out of
 19
                                         proportion in the media …”); id. Ex. 7
 20
                                         (Arnold Dep. 116:19-117:3; 117:12-118:6)
 21
                                         (It is “true” that “the chances of that being
 22
                                         news to be published are significantly
 23
                                         higher than it’s just [sic] from the average
 24
                                         joe or Dave Arnold or Lin Wood”).)
 25
                                           Second, Musk was responding to a
 26
                                         reporter’s request for comment with
 27
                                         explosive accusations against an
 28

                                          192
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  1
                                         individual who was vital in saving thirteen
  2
                                         lives in what had become a topic of
  3
                                         worldwide interest, and from a reporter
  4
                                         and news outlet who had already covered
  5
                                         this story with several articles.
  6
                                           (Wilson Decl. Ex. 19; id. Exs. 37-40).
  7
                                           Third, Musk was responding to a
  8
                                         reporter who had only two months earlier
  9
                                         written a scathing article regarding Musk,
 10
                                         with whom he had no prior relationship or
 11
                                         knowledge, and with a media outlet for
 12
                                         whom he had no respect.
 13
                                           (Wilson Decl. Ex. 1 (Musk Dep. 167:5-
 14
                                         169:25 (Musk did not know anything
 15
                                         about Mr. Mac other than “[t]here was the
 16
                                         email correspondence, obviously. Apart
 17
                                         from that, no,” and does “[n]ot
 18
                                         particularly” “have a great deal of
 19
                                         journalistic respect for BuzzFeed”); id. Ex.
 20
                                         35 (Mac Decl. ¶ 6).)
 21
                                           Fourth, Musk’s first sentence to Mr.
 22
                                         Mac called him a “fucking asshole.” This
 23
                                         insult and the other insults in Musk’s
 24
                                         emails to Mr. Mac made it more likely that
 25
                                         Mr. Mac would publish the emails
 26
                                         notwithstanding Musk’s unilateral
 27
                                         designation of “off the record.”
 28

                                          193
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  1
                                                (Wilson Decl. Ex. 19; id. Ex. 7 (Arnold
  2
                                              Dep. 116:19-117:3; 117:12-118:6).)
  3

  4
                                                Fifth, when told by Mr. Mac that his
  5
                                              unilaterally designated “off the record” e-
  6
                                              mail was not, in fact, off the record, Musk
  7
                                              told Mr. Mac “If you want to publish off
  8
                                              the record comments and destroy your
  9
                                              journalistic credibility, that’s up to you,”
 10
                                              without ever clarifying that he did not
 11
                                              know the truth or falsity of his accusations
 12
                                              or providing the information on which his
 13
                                              claims were based.
 14
                                                (Wilson Decl. Ex.19).
 15
         97. Mr. Mac’s suggestion that          Not a material fact and disputed to the
 16
      that a positive confirmation from a     extent that Musk seeks an inference that
 17
      reporter is required before a           his unilateral designation of “off the
 18
      communication can be deemed off         record” establishes that he did not want,
 19
      the record is “not consistent” with     intend, encourage, authorize, or reasonably
 20
      Mr. Musk’s prior numerous off-the- foresee that his e-mails or their contents
 21
      record interactions with reporters in   would be republished.
 22
      the past.                                  Responding further, for the Court’s
 23
         (Lifrak Decl. Ex. 2 (Musk Dep.       convenience, Unsworth incorporates his
 24
      171:2-172:16); Musk Decl. ¶ 56-         citations of evidence and response to
 25
      57.)                                    Defendant’s Statement of Fact Nos. 75-76,
 26
                                              and 96.
 27
         98. Mr. Musk believed and              Not a material fact and disputed to the
 28

                                               194
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  1
      understood, based on numerous off- extent that Musk seeks an inference that
  2
      the-record interactions with           his unilateral designation of “off the
  3
      reporters in the past, that by         record” establishes that he did not want,
  4
      designating his emails to Mr. Mac      intend, encourage, authorize, or reasonably
  5
      as “off the record” or “on             foresee that his e-mails or their contents
  6
      background” their contents would       would be republished – particularly
  7
      not be published.                      because there is evidence that Musk did
  8
         (Musk Decl. ¶ 56.)                  want the information contained in his
  9
                                             emails republished.
 10
                                               Responding further, for the Court’s
 11
                                             convenience, Unsworth incorporates his
 12
                                             citations of evidence and response to
 13
                                             Defendant’s Statement of Fact Nos. 75-76,
 14
                                             and 96-97.
 15
         99. On July 15, 2018, Mr.             Undisputed, but not a material fact.
 16
      Unsworth forwarded an email              As set forth in Unsworth’s citations of
 17
      between himself and Richard            evidence and response to Defendant’s
 18
      Stanton to a BBC reporter. The first   Statement of Fact Nos. 75-76, and 97, this
 19
      line of Mr. Unsworth’s email to the    has no bearing on the issue before the
 20
      BBC reporter stated “[f]or your        Court: whether Musk intended,
 21
      eyes only and not to be reported       authorized, encouraged, or reasonably
 22
      on!!!” In deposition, Mr. Unsworth     foresaw that his e-mails or their contents
 23
      agreed that by including this          would be published.
 24
      language he was “telling [the BBC
 25
      reporter] that he was not to include
 26
      this information in a story.”
 27
         (Lifrak Decl. Ex. 2 (Unsworth
 28

                                              195
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  1
      Dep. 78:13-79:19); Ex. 23.)
  2
         100.      The BuzzFeed News            Not a material fact and disputed to the
  3
      Standards and Ethics Guide in           extent that Musk seeks an inference that
  4
      effect on August 30, 2018 and           his unilateral designation of “off the
  5
      September 4, 2018 did not require       record” establishes that he did not want,
  6
      that a reporter and source reach an     intend, encourage, authorize, or reasonably
  7
      agreement before information is         foresee that his e-mails or their contents
  8
      treated as “off-the-record.”            would be republished.
  9
         (Lifrak Decl. Ex. 24.)                 This policy also does not permit a
 10
                                              source to unilaterally designate comments
 11
                                              off the record, and there is no evidence
 12
                                              that Musk had any knowledge of this
 13
                                              policy.
 14
                                                (Lifrak Decl. Ex. 24.)
 15
         101.      In November 2018,            Undisputed, but not a material fact.
 16
      two months after Mr. Musk
 17
      exchanged emails with Mr. Mac,
 18
      BuzzFeed updated the BuzzFeed
 19
      News Standards and Ethics Guide
 20
      to add the following language to its
 21
      section on anonymous sources:
 22
      “Interviews are always on the
 23
      record until a reporter agrees to go
 24
      off the record or on background.”
 25
      This policy did not exist at the time
 26
      that Mr. Musk exchanged emails
 27
      with Mr. Mac.
 28

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  1
         (Lifrak Decl. Ex. 25.)
  2
         102.       BuzzFeed’s Standards      Not a material fact and disputed to the
  3
      and Ethics Guide in effect on         extent that Musk seeks an inference that
  4
      August 30, 2018 and September 4,      his unilateral designation of “off the
  5
      2018 stated: “Information —           record” establishes that he did not want,
  6
      excluding common knowledge —          intend, encourage, authorize, or reasonably
  7
      should come from a verified           foresee that his e-mails or their contents
  8
      source.”                              would be republished.
  9
         (Lifrak Decl. Ex. 24.)               This section of BuzzFeed’s Standards
 10
                                            and Ethics Guide speaks to the use of such
 11
                                            websites as “Wikipedia, IMDb, and other
 12
                                            websites that anyone can edit” versus
 13
                                            “[a]cceptable verified sources,” which
 14
                                            “include interviews, legal documents,
 15
                                            research by experts, academic journals,
 16
                                            databases, and, with attribution, stories
 17
                                            from trusted news organizations.”
 18
                                            (Emphasis added).
 19
                                              (Lifrak Decl. Ex. 24.)
 20
                                              Further, there is no evidence that Musk
 21
                                            had any knowledge of this policy.
 22
         103.       On September 4, 2018,     Undisputed that BuzzFeed published a
 23
      BuzzFeed published a story that       story on September 4, 2018, that
 24
      reprinted Mr. Musk’s off-the-         republished Musk’s emails to Mr. Mac;
 25
      record and on background emails in    disputed that those emails were properly
 26
      their entirety.                       considered “off-the-record” or “on
 27
         (Compl., Ex. K; Lifrak Decl. Ex.   background” based only on a unilateral
 28

                                             197
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  1
      26.)                                     designation by Musk, because those
  2
                                               designations require an agreement with the
  3
                                               reporter to be binding.
  4

  5
                                                 Responding further, for the Court’s
  6
                                               convenience, Unsworth incorporates his
  7
                                               citations of evidence and response to
  8
                                               Defendant’s Statement of Fact Nos. 75-76,
  9
                                               96-97, and 100-102.
 10
         104.      On September 17,              Undisputed.
 11
      2018, Mr. Unsworth filed the
 12
      instant action in this Court.
 13
         (See generally, Compl.)
 14
                                      H.    Mr. Unsworth Sues
 15
         105.      Mr. Unsworth’s                Disputed to the extent Musk seeks an
 16
      September 17, 2018 Complaint –           inference that Unsworth did not expressly
 17
      the operative pleading in this case –    plead Musk’s e-mails to Mr. Mac as an
 18
      lists the following exhibits to the      independent cause of action, separate and
 19
      Complaint as the “false and              apart from the increased damages caused
 20
      defamatory accusations” published        by BuzzFeed’s authorized, intended,
 21
      by Mr. Musk: “Exhibits B [first          encouraged, and reasonably foreseeable
 22
      July 15 tweet], C [second July 15        republication of Musk’s e-mails and/or
 23
      tweet], D [third July 15 tweet], E       their contents. Even on an issue as simple
 24
      [fourth July 15 tweet], F [July 18       as this, Musk cannot help but fail to notify
 25
      apology tweet], G [July 18 apology       the Court that he is not setting forth the
 26
      tweet], I [July 28 tweet], and K         critical part of the operative paragraph at
 27
      [BuzzFeed September 4 article].”         issue by use of ellipses (or otherwise).
 28

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  1
         (Compl. ¶ 113.)                 Unsworth expressly sued Musk for his
  2
                                         publications, as well as for all damages
  3
                                         arising from his publications and from
  4
                                         republications of his publications.
  5
                                           Compl. ¶¶ 88 (setting forth Musk’s
  6
                                         defamatory e-mail to BuzzFeed), 113
  7
                                         (“Musk’s publications in Exhibits B, C,
  8
                                         D, E, F, G, I, and K, as referenced in
  9
                                         paragraphs … 88 of this Complaint, are
 10
                                         hereinafter referred to as the “False and
 11
                                         Defamatory Accusations.”). (Emphasis
 12
                                         added).
 13

 14
      Dated: October 7, 2019            L. LIN WOOD, P.C.
 15

 16
                                        By: /s/L. Lin Wood
 17
                                        L. Lin Wood
 18

 19
                                        Attorneys for Plaintiff
 20
                                        VERNON UNSWORTH
 21

 22

 23

 24

 25

 26
 27

 28

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